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                                                 EXHIBIT A
                                          Sound Recordings at Issue
#                  Artist                                  Title                       Rights Owner
1    "Little" Jimmy Dickens              A Ribbon And A Rose                       Sony Music Entertainment
2    "Little" Jimmy Dickens              A Rose From The Bride'S Bouquet           Sony Music Entertainment
3    "Little" Jimmy Dickens              Blackeyed Joe'S                           Sony Music Entertainment
4    "Little" Jimmy Dickens              Country Boy                               Sony Music Entertainment
5    "Little" Jimmy Dickens              Hillbilly Fever                           Sony Music Entertainment
6    "Little" Jimmy Dickens              I'Ll Be Back A-Sunday                     Sony Music Entertainment
7    "Little" Jimmy Dickens              I'M Little But I'M Loud                   Sony Music Entertainment
8    "Little" Jimmy Dickens              Just When I Needed You                    Sony Music Entertainment
9    "Little" Jimmy Dickens              My Heart'S Bouquet                        Sony Music Entertainment
10   "Little" Jimmy Dickens              Out Behind The Barn                       Sony Music Entertainment
11   "Little" Jimmy Dickens              Out Of Business                           Sony Music Entertainment
12   "Little" Jimmy Dickens              Salty Boogie                              Sony Music Entertainment
13   "Little" Jimmy Dickens              Take Me As I Am (Or Let Me Go)            Sony Music Entertainment
14   "Little" Jimmy Dickens              We Could                                  Sony Music Entertainment
15   "Little" Jimmy Dickens              You All Come                              Sony Music Entertainment
16   Allyn Mclerie;Miss Liberty Ensemble Give Me Your Tired, Your Poor             Sony Music Entertainment

17   Benny Goodman                       Benny Rides Again                         Sony Music Entertainment
18   Benny Goodman                       Dizzy Spells                              Sony Music Entertainment
19   Benny Goodman                       I'M Always Chasing Rainbows               Sony Music Entertainment
20   Benny Goodman                       Killer Diller                             Sony Music Entertainment
21   Benny Goodman                       Somebody Stole My Gal                     Sony Music Entertainment
22   Benny Goodman & His Orchestra       Solo Flight                               Sony Music Entertainment
23   Benny Goodman & His Orchestra       Whispering                                Sony Music Entertainment
     Benny Goodman & His Orchestra
24                                       Yours                                     Sony Music Entertainment
     With Helen Forrest
     Benny Goodman & His Orchestra
25                                       Yours Is My Heart Alone                   Sony Music Entertainment
     With Helen Forrest
     Benny Goodman & His Orchestra;
26   Vocal By Helen Forrest; Arranged By Nobody                                    Sony Music Entertainment
     Eddie Sauter
     Benny Goodman & His Orchestra;
27   Vocal By Helen Forrest; Arranged By Busy As A Bee (I'M Buzz, Buzz, Buzzin')   Sony Music Entertainment
     Fletcher Henderson
     Benny Goodman & His
28                                       Bei Mir Bist Du Schön                     Sony Music Entertainment
     Orchestra;Martha Tilton
29   Benny Goodman And His Orchestra Goodbye                                       Sony Music Entertainment
30   Benny Goodman And His Orchestra King Porter Stomp                             Sony Music Entertainment
31   Benny Goodman And His Orchestra King Porter Stomp                             Sony Music Entertainment
32   Benny Goodman And His Orchestra Let'S Dance                                   Sony Music Entertainment
     Benny Goodman And His Orchestra
33                                       All I Need Is You                         Sony Music Entertainment
     With Peggy Lee
     Benny Goodman And His Orchestra
34                                       Elmer'S Tune                              Sony Music Entertainment
     With Peggy Lee
     Benny Goodman And His Orchestra
35                                       How Deep Is The Ocean                     Sony Music Entertainment
     With Peggy Lee
     Benny Goodman And His Orchestra I See A Million People (But All I Can See
36                                                                                 Sony Music Entertainment
     With Peggy Lee                      Is You)



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                                         Sound Recordings at Issue
     Benny Goodman And His Orchestra
37                                      I Threw A Kiss In The Ocean             Sony Music Entertainment
     With Peggy Lee
     Benny Goodman And His Orchestra
38                                      If You Build A Better Mousetrap         Sony Music Entertainment
     With Peggy Lee
     Benny Goodman And His Orchestra
39                                      Let'S Do It (Let'S Fall In Love)        Sony Music Entertainment
     With Peggy Lee
     Benny Goodman And His Orchestra
40                                      My Little Cousin                        Sony Music Entertainment
     With Peggy Lee
     Benny Goodman And His Orchestra
41                                      Not Mine                                Sony Music Entertainment
     With Peggy Lee
     Benny Goodman And His Orchestra
42                                      Shady Lady Bird                         Sony Music Entertainment
     With Peggy Lee
     Benny Goodman And His Orchestra
43                                      Somebody Else Is Taking My Place        Sony Music Entertainment
     With Peggy Lee
     Benny Goodman And His Orchestra
44                                      Somebody Nobody Loves                   Sony Music Entertainment
     With Peggy Lee
     Benny Goodman And His Orchestra
45                                      That Did It, Marie                      Sony Music Entertainment
     With Peggy Lee
46   Benny Goodman Feat. Peggy Lee      How Long Has This Been Going On?        Sony Music Entertainment
47   Benny Goodman Quartet              The World Is Waiting For The Sunrise    Sony Music Entertainment
48   Benny Goodman Quintet              Ev'Ry Time We Say Goodbye               Sony Music Entertainment
49   Benny Goodman Sextet               Flying Home                             Sony Music Entertainment
50   Benny Goodman Sextet               I Got Rhythm                            Sony Music Entertainment
     Benny Goodman Sextet Feat. Benny
51                                      Rose Room                               Sony Music Entertainment
     Goodman & Charlie Christian
     Benny Goodman Sextet Feat. Charlie
52                                      Memories Of You                         Sony Music Entertainment
     Christian
53   Bing Crosby                        Young And Healthy                       Sony Music Entertainment
54   Buddy Clark                        Ballerina                               Sony Music Entertainment
55   Buddy Clark                        Peg O' My Heart                         Sony Music Entertainment
56   Buddy Clark;Doris Day              Someone Like You                        Sony Music Entertainment
57   Buddy Clark;Harry Zimmerman        You'Re Breaking My Heart                Sony Music Entertainment
58   Carol Channing;Jack Mccauley       Gentlemen Prefer Blondes                Sony Music Entertainment
     Dick Haymes;Harry James With Dick
59                                      I'Ll Get By (As Long As I Have You)     Sony Music Entertainment
     Haymes
60   Dinah Shore                        (I Love You) For Sentimental Reasons    Sony Music Entertainment
61   Dinah Shore                        All That Glitters Is Not Gold           Sony Music Entertainment
62   Dinah Shore                        Anniversary Song                        Sony Music Entertainment
63   Dinah Shore                        Buttons And Bows                        Sony Music Entertainment
64   Dinah Shore                        Dear Hearts And Gentle People           Sony Music Entertainment
65   Dinah Shore                        Doin' What Comes Natur'Lly              Sony Music Entertainment
66   Dinah Shore                        Far Away Places                         Sony Music Entertainment
67   Dinah Shore                        Forever And Ever                        Sony Music Entertainment
68   Dinah Shore                        Golden Earrings                         Sony Music Entertainment
69   Dinah Shore                        How Soon (Will I Be Seeing You)         Sony Music Entertainment
70   Dinah Shore                        I Wish I Didn'T Love You So             Sony Music Entertainment
71   Dinah Shore                        I'M Yours                               Sony Music Entertainment
                                        It'S So Nice To Have A Man Around The
72   Dinah Shore                                                                Sony Music Entertainment
                                        House



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                                          Sound Recordings at Issue
                                         Laughing On The Outside (Crying On The
73    Dinah Shore                                                                    Sony Music Entertainment
                                         Inside)
74    Dinah Shore                        Lavender Blue (Dilly Dilly)                 Sony Music Entertainment
75    Dinah Shore                        Little White Lies                           Sony Music Entertainment
76    Dinah Shore                        So In Love                                  Sony Music Entertainment
77    Dinah Shore                        Tess'S Torch Song (I Had A Man)             Sony Music Entertainment
78    Dinah Shore                        The Best Things In Life Are Free            Sony Music Entertainment
79    Dinah Shore                        The Gentleman Is A Dope                     Sony Music Entertainment
80    Dinah Shore                        The Gypsy                                   Sony Music Entertainment
81    Dinah Shore                        Two Silhouettes                             Sony Music Entertainment
82    Dinah Shore                        You Do                                      Sony Music Entertainment
83    Dinah Shore                        You Keep Coming Back Like A Song            Sony Music Entertainment
84    Dinah Shore                        You'D Be So Nice To Come Home To            Sony Music Entertainment
85    Dinah Shore And Buddy Clark        Baby, It'S Cold Outside                     Sony Music Entertainment
      Dinah Shore And Doris Day With
86    Orchestra Under The Direction Of   You Can Have Him                            Sony Music Entertainment
      Hugo Winterhalter
                                         (Why Did I Tell You I Was Going To)
87    Doris Day                                                                      Sony Music Entertainment
                                         Shanghai
88    Doris Day                          A Guy Is A Guy                              Sony Music Entertainment
89    Doris Day                          A Guy Is A Guy                              Sony Music Entertainment
90    Doris Day                          Anyone Can Fall In Love                     Sony Music Entertainment
91    Doris Day                          At The Cafe Rendezvous                      Sony Music Entertainment
92    Doris Day                          Canadian Capers (Cuttin' Capers)            Sony Music Entertainment
93    Doris Day                          Come To Baby, Do!                           Sony Music Entertainment
94    Doris Day                          Darn That Dream                             Sony Music Entertainment
95    Doris Day                          Fine And Dandy                              Sony Music Entertainment
                                         Here Comes Santa Claus (Down Santa
96    Doris Day                                                                      Sony Music Entertainment
                                         Claus Lane)
97    Doris Day                          Hold Me In Your Arms                        Sony Music Entertainment
98    Doris Day                          I Got The Sun In The Morning                Sony Music Entertainment
99    Doris Day                          I Only Have Eyes For You                    Sony Music Entertainment
100   Doris Day                          I'Ve Never Been In Love Before              Sony Music Entertainment
101   Doris Day                          I'Ve Only Myself To Blame                   Sony Music Entertainment
102   Doris Day                          If I Could Be With You (One Hour Tonight)   Sony Music Entertainment

103   Doris Day                          If I Give My Heart To You                   Sony Music Entertainment
104   Doris Day                          Imagination                                 Sony Music Entertainment
105   Doris Day                          In A Shanty In Old Shanty Town              Sony Music Entertainment
106   Doris Day                          It'S A Lovely Day Today                     Sony Music Entertainment
107   Doris Day                          It'S Magic                                  Sony Music Entertainment
108   Doris Day                          It'S You Or No One                          Sony Music Entertainment
109   Doris Day                          Julie                                       Sony Music Entertainment
110   Doris Day                          Just One Of Those Things                    Sony Music Entertainment
111   Doris Day                          Lullaby Of Broadway                         Sony Music Entertainment
112   Doris Day                          Make It Soon                                Sony Music Entertainment
113   Doris Day                          My Dream Is Yours                           Sony Music Entertainment
                                         My Dreams Are Getting Better All The
114   Doris Day                                                                      Sony Music Entertainment
                                         Time
115   Doris Day                          Never Look Back                             Sony Music Entertainment


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116   Doris Day                           Ol' Saint Nicholas                        Sony Music Entertainment
117   Doris Day                           Papa, Won'T You Dance With Me?            Sony Music Entertainment
                                          Please Don'T Talk About Me When I'M
118   Doris Day                                                                     Sony Music Entertainment
                                          Gone
                                          Put 'Em In A Box, Tie 'Em With A Ribbon
119   Doris Day                                                                     Sony Music Entertainment
                                          (And Throw 'Em In The Deep Blue Sea)
120   Doris Day                           Secret Love                               Sony Music Entertainment
121   Doris Day                           Sentimental Journey                       Sony Music Entertainment
122   Doris Day                           Silver Bells                              Sony Music Entertainment
123   Doris Day                           Somebody Loves Me                         Sony Music Entertainment
124   Doris Day                           Somebody Somewhere                        Sony Music Entertainment
125   Doris Day                           Something Wonderful                       Sony Music Entertainment
126   Doris Day                           Sometimes I'M Happy                       Sony Music Entertainment
                                          Ten Thousand Four Hundred Thirty-Two
127   Doris Day                                                                     Sony Music Entertainment
                                          Sheep
128   Doris Day                           That Old Feeling                          Sony Music Entertainment
                                          The Blue Bells Of Broadway (Are Ringing
129   Doris Day                                                                     Sony Music Entertainment
                                          Tonight)
130   Doris Day                           The Everlasting Arms                      Sony Music Entertainment
131   Doris Day                           There'S A Rising Moon                     Sony Music Entertainment
132   Doris Day                           Till My Love Comes To Me                  Sony Music Entertainment
133   Doris Day                           Till The End Of Time                      Sony Music Entertainment
134   Doris Day                           Till We Meet Again                        Sony Music Entertainment
135   Doris Day                           We'Ll Love Again                          Sony Music Entertainment
136   Doris Day                           What Every Girl Should Know               Sony Music Entertainment
                                          Whatever Will Be, Will Be (Que Sera,
137   Doris Day                                                                     Sony Music Entertainment
                                          Sera)
138   Doris Day                           When I Fall In Love                       Sony Music Entertainment
139   Doris Day                           With A Song In My Heart                   Sony Music Entertainment
140   Doris Day                           You Go To My Head                         Sony Music Entertainment
141   Doris Day                           You Love Me                               Sony Music Entertainment
142   Doris Day                           You'Re Getting To Be A Habit With Me      Sony Music Entertainment
143   Doris Day                           You'Re My Thrill                          Sony Music Entertainment
      Doris Day With Harry James & His
144                                      Would I Love You                           Sony Music Entertainment
      Orchestra
145   Doris Day With Orchestra           A Bushel And A Peck                        Sony Music Entertainment
      Doris Day With Paul Weston & His
146   Orchestra And The Norman Luboff Christmas Story                               Sony Music Entertainment
      Choir
      Doris Day With Paul Weston And His
147   Orchestra And The Norman Luboff I'Ll See You In My Dreams                     Sony Music Entertainment
      Choir
      Doris Day With Percy Faith & His
148                                      I'Ll Never Stop Loving You                 Sony Music Entertainment
      Orchestra
      Doris Day With The Harry James
149                                      Too Marvelous For Words                    Sony Music Entertainment
      Quintet
      Doris Day With The Mellomen -
150   Orchestra Under The Direction Of   It'S A Great Feeling                       Sony Music Entertainment
      John Rarig
151   Doris Day;Frankie Laine            Sugarbush                                  Sony Music Entertainment


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      Doris Day;Norman Luboff;The
152                                      April In Paris                            Sony Music Entertainment
      Norman Luboff Choir
153   Doris Day;The Mellomen             Again                                     Sony Music Entertainment
154   Duke Ellington                     Country Gal                               Sony Music Entertainment
155   Duke Ellington                     In A Mellotone                            Sony Music Entertainment
156   Duke Ellington                     Jam With Sam                              Sony Music Entertainment
157   Duke Ellington                     Mood Indigo                               Sony Music Entertainment
158   Duke Ellington                     Ring Dem Bells                            Sony Music Entertainment
159   Duke Ellington                     Rockin' In Rhythm                         Sony Music Entertainment
160   Duke Ellington                     Saddest Tale                              Sony Music Entertainment
161   Duke Ellington                     Showboat Shuffle                          Sony Music Entertainment
      Duke Ellington & His Famous
162                                      Mood Indigo                               Sony Music Entertainment
      Orchestra
      Duke Ellington & His Famous
163                                      Solitude                                  Sony Music Entertainment
      Orchestra
164   Duke Ellington & His Orchestra     Jeep'S Blues                              Sony Music Entertainment
165   Duke Ellington & His Orchestra     The Mooche                                Sony Music Entertainment
166   Duke Ellington And His Orchestra   Echoes Of Harlem                          Sony Music Entertainment
      Eddie Albert;Allyn Mclerie;Miss
167                                      Let'S Take An Old-Fashioned Walk          Sony Music Entertainment
      Liberty Ensemble
168   Erroll Garner                      On The Street Where You Live              Sony Music Entertainment
      Ethel Griffies;Eddie Albert;Miss
169                                      Only For Americans                        Sony Music Entertainment
      Liberty Ensemble
      Eugene Ormandy;Oscar Levant;The
170                                      Rhapsody In Blue                          Sony Music Entertainment
      Philadelphia Orchestra
171   Frank Sinatra                      (On The Island Of) Stromboli              Sony Music Entertainment
172   Frank Sinatra                      (Once Upon) A Moonlight Night             Sony Music Entertainment
173   Frank Sinatra                      A Fella With An Umbrella                  Sony Music Entertainment
174   Frank Sinatra                      A Fellow Needs A Girl                     Sony Music Entertainment
175   Frank Sinatra                      All Of Me                                 Sony Music Entertainment
176   Frank Sinatra                      All Through The Day                       Sony Music Entertainment
177   Frank Sinatra                      Almost Like Being In Love                 Sony Music Entertainment
178   Frank Sinatra                      Always                                    Sony Music Entertainment
179   Frank Sinatra                      American Beauty Rose                      Sony Music Entertainment
180   Frank Sinatra                      Among My Souvenirs                        Sony Music Entertainment
181   Frank Sinatra                      April In Paris                            Sony Music Entertainment
182   Frank Sinatra                      Autumn In New York                        Sony Music Entertainment
183   Frank Sinatra                      Bali Ha'I                                 Sony Music Entertainment
184   Frank Sinatra                      Begin The Beguine                         Sony Music Entertainment
185   Frank Sinatra                      Bim Bam Baby                              Sony Music Entertainment
186   Frank Sinatra                      Bop! Goes My Heart                        Sony Music Entertainment
187   Frank Sinatra                      But Beautiful                             Sony Music Entertainment
188   Frank Sinatra                      But None Like You                         Sony Music Entertainment
189   Frank Sinatra                      Bye Bye Baby                              Sony Music Entertainment
                                         Christmas Dreaming (A Little Early This
190   Frank Sinatra                                                                Sony Music Entertainment
                                         Year)
191   Frank Sinatra                      Close To You                              Sony Music Entertainment
192   Frank Sinatra                      Day By Day                                Sony Music Entertainment
193   Frank Sinatra                      Don'T Ever Be Afraid To Go Home           Sony Music Entertainment
194   Frank Sinatra                      Ever Homeward                             Sony Music Entertainment


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195   Frank Sinatra              Every Man Should Marry                   Sony Music Entertainment
196   Frank Sinatra              Everybody Loves Somebody                 Sony Music Entertainment
197   Frank Sinatra              Feet Of Clay                             Sony Music Entertainment
198   Frank Sinatra              Five Minutes More                        Sony Music Entertainment
199   Frank Sinatra              For Every Man There'S A Woman            Sony Music Entertainment
200   Frank Sinatra              From This Day Forward                    Sony Music Entertainment
201   Frank Sinatra              Full Moon And Empty Arms                 Sony Music Entertainment
202   Frank Sinatra              Goodnight Irene                          Sony Music Entertainment
203   Frank Sinatra              Have Yourself A Merry Little Christmas   Sony Music Entertainment
204   Frank Sinatra              Hello, Young Lovers                      Sony Music Entertainment
205   Frank Sinatra              How Cute Can You Be?                     Sony Music Entertainment
206   Frank Sinatra              I Believe                                Sony Music Entertainment
207   Frank Sinatra              I Could Write A Book                     Sony Music Entertainment
208   Frank Sinatra              I Couldn'T Sleep A Wink Last Night       Sony Music Entertainment
209   Frank Sinatra              I Fall In Love Too Easily                Sony Music Entertainment
210   Frank Sinatra              I Fall In Love With You Ev'Ry Day        Sony Music Entertainment
211   Frank Sinatra              I Have But One Heart (O Marenariello)    Sony Music Entertainment
212   Frank Sinatra              I Love You                               Sony Music Entertainment
213   Frank Sinatra              I Only Have Eyes For You                 Sony Music Entertainment
214   Frank Sinatra              I Should Care                            Sony Music Entertainment
215   Frank Sinatra              I Want To Thank Your Folks               Sony Music Entertainment
216   Frank Sinatra              I Went Down To Virginia                  Sony Music Entertainment
217   Frank Sinatra              I Whistle A Happy Tune                   Sony Music Entertainment
218   Frank Sinatra              I'M A Fool To Want You                   Sony Music Entertainment
219   Frank Sinatra              I'M Glad There Is You                    Sony Music Entertainment
220   Frank Sinatra              I'Ve Got A Crush On You                  Sony Music Entertainment
221   Frank Sinatra              If I Loved You                           Sony Music Entertainment
222   Frank Sinatra              If I Only Had A Match                    Sony Music Entertainment
223   Frank Sinatra              If I Steal A Kiss                        Sony Music Entertainment
224   Frank Sinatra              It All Came True                         Sony Music Entertainment
225   Frank Sinatra              It All Depends On You                    Sony Music Entertainment
226   Frank Sinatra              It Came Upon A Midnight Clear            Sony Music Entertainment
227   Frank Sinatra              It Happens Every Spring                  Sony Music Entertainment
228   Frank Sinatra              It Never Entered My Mind                 Sony Music Entertainment
229   Frank Sinatra              It Only Happens When I Dance With You    Sony Music Entertainment
                                 It'S A Long Way (From Your House To My
230   Frank Sinatra                                                       Sony Music Entertainment
                                 House)
231   Frank Sinatra              Just An Old Stone House                  Sony Music Entertainment
232   Frank Sinatra              Just For Now                             Sony Music Entertainment
233   Frank Sinatra              Kiss Me Again                            Sony Music Entertainment
234   Frank Sinatra              Kisses And Tears                         Sony Music Entertainment
235   Frank Sinatra              Let It Snow Let It Snow Let It Snow      Sony Music Entertainment
236   Frank Sinatra              London By Night                          Sony Music Entertainment
237   Frank Sinatra              Lost In The Stars                        Sony Music Entertainment
238   Frank Sinatra              Love Me                                  Sony Music Entertainment
239   Frank Sinatra              Mad About You                            Sony Music Entertainment
240   Frank Sinatra              Mam'Selle                                Sony Music Entertainment
241   Frank Sinatra              Mighty Lak' A Rose                       Sony Music Entertainment
242   Frank Sinatra              My Blue Heaven                           Sony Music Entertainment
243   Frank Sinatra              My Cousin Louella                        Sony Music Entertainment


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244   Frank Sinatra              My Girl                                     Sony Music Entertainment
245   Frank Sinatra              My Melancholy Baby                          Sony Music Entertainment
246   Frank Sinatra              My Shawl                                    Sony Music Entertainment
247   Frank Sinatra              Nancy (With The Laughing Face)              Sony Music Entertainment
248   Frank Sinatra              Night After Night                           Sony Music Entertainment
249   Frank Sinatra              Night And Day                               Sony Music Entertainment
250   Frank Sinatra              Night And Day                               Sony Music Entertainment
251   Frank Sinatra              No Orchids For My Lady                      Sony Music Entertainment
252   Frank Sinatra              None But The Lonely Heart                   Sony Music Entertainment
253   Frank Sinatra              Oh, What A Beautiful Mornin'                Sony Music Entertainment
254   Frank Sinatra              Oh! What It Seemed To Be                    Sony Music Entertainment
255   Frank Sinatra              Ol' Man River                               Sony Music Entertainment
256   Frank Sinatra              Once In Love With Amy                       Sony Music Entertainment
257   Frank Sinatra              One Finger Melody                           Sony Music Entertainment
258   Frank Sinatra              One Love                                    Sony Music Entertainment
259   Frank Sinatra              Poinciana (Song Of The Tree)                Sony Music Entertainment
260   Frank Sinatra              Put Your Dreams Away (For Another Day)      Sony Music Entertainment

261   Frank Sinatra              Remember Me In Your Dreams                  Sony Music Entertainment
262   Frank Sinatra              S'Posin'                                    Sony Music Entertainment
                                 Saturday Night (Is The Loneliest Night In
263   Frank Sinatra                                                          Sony Music Entertainment
                                 The Week)
                                 Saturday Night (Is The Loneliest Night Of
264   Frank Sinatra                                                          Sony Music Entertainment
                                 The Week)
265   Frank Sinatra              September Song                              Sony Music Entertainment
266   Frank Sinatra              Sheila                                      Sony Music Entertainment
267   Frank Sinatra              So Far                                      Sony Music Entertainment
268   Frank Sinatra              Some Enchanted Evening                      Sony Music Entertainment
269   Frank Sinatra              Somewhere In The Night                      Sony Music Entertainment
270   Frank Sinatra              Stars In Your Eyes                          Sony Music Entertainment
271   Frank Sinatra              Stella By Starlight                         Sony Music Entertainment
272   Frank Sinatra              Stormy Weather                              Sony Music Entertainment
273   Frank Sinatra              Strange Music                               Sony Music Entertainment
274   Frank Sinatra              Sunflower                                   Sony Music Entertainment
275   Frank Sinatra              Take My Love                                Sony Music Entertainment
                                 That Lucky Old Sun (Just Rolls Around
276   Frank Sinatra                                                          Sony Music Entertainment
                                 Heaven All Day)
277   Frank Sinatra              The Birth Of The Blues                      Sony Music Entertainment
278   Frank Sinatra              The Brooklyn Bridge                         Sony Music Entertainment
279   Frank Sinatra              The Charm Of You                            Sony Music Entertainment
                                 The Coffee Song (They'Ve Got An Awful
280   Frank Sinatra                                                          Sony Music Entertainment
                                 Lot Of Coffee In Brazil)
281   Frank Sinatra              The Girl That I Marry                       Sony Music Entertainment
282   Frank Sinatra              The House I Live In                         Sony Music Entertainment
283   Frank Sinatra              The Music Stopped                           Sony Music Entertainment
284   Frank Sinatra              The Night We Called It A Day                Sony Music Entertainment
285   Frank Sinatra              The Right Girl For Me                       Sony Music Entertainment
286   Frank Sinatra              The Song Is You                             Sony Music Entertainment
287   Frank Sinatra              The Stars Will Remember (So Will I)         Sony Music Entertainment
288   Frank Sinatra              There But For You Go I                      Sony Music Entertainment


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289   Frank Sinatra                        There'S No You                             Sony Music Entertainment
                                           These Foolish Things (Remind Me Of
290   Frank Sinatra                                                                   Sony Music Entertainment
                                           You)
291   Frank Sinatra                        They Say It'S Wonderful                    Sony Music Entertainment
292   Frank Sinatra                        This Is The Night                          Sony Music Entertainment
293   Frank Sinatra                        Time After Time                            Sony Music Entertainment
294   Frank Sinatra                        Time After Time                            Sony Music Entertainment
295   Frank Sinatra                        Try A Little Tenderness                    Sony Music Entertainment
296   Frank Sinatra                        Two Hearts Are Better Than One             Sony Music Entertainment
297   Frank Sinatra                        Walking In The Sunshine                    Sony Music Entertainment
298   Frank Sinatra                        We'Re Just A Kiss Apart                    Sony Music Entertainment
299   Frank Sinatra                        When Is Sometime?                          Sony Music Entertainment
300   Frank Sinatra                        When Your Lover Has Gone                   Sony Music Entertainment
301   Frank Sinatra                        Where Or When                              Sony Music Entertainment
                                           While The Angelus Was Ringing (Les
302   Frank Sinatra                                                                   Sony Music Entertainment
                                           Trois Cloches)
303   Frank Sinatra                        White Christmas                            Sony Music Entertainment
304   Frank Sinatra                        Why Shouldn'T I?                           Sony Music Entertainment
305   Frank Sinatra                        Why Try To Change Me Now?                  Sony Music Entertainment
306   Frank Sinatra                        Without A Song                             Sony Music Entertainment
307   Frank Sinatra                        You Are Too Beautiful                      Sony Music Entertainment
308   Frank Sinatra                        You Go To My Head                          Sony Music Entertainment
309   Frank Sinatra                        You'Re My Girl                             Sony Music Entertainment
310   Frank Sinatra With Male Chorus       Hush-A-Bye Island                          Sony Music Entertainment
      Frank Sinatra With The Ken Lane
311                                        Jingle Bells                               Sony Music Entertainment
      Singers
      Frank Sinatra With The Ken Lane
312                                        Silent Night, Holy Night                   Sony Music Entertainment
      Singers
      Frank Sinatra With The Metronome
313                                        Sweet Lorraine                             Sony Music Entertainment
      All-Stars
314   Frank Sinatra With The Pied Pipers   Ain'Tcha Ever Comin' Back                  Sony Music Entertainment
      Frank Sinatra; Arranged &
315                                        If You Are But A Dream                     Sony Music Entertainment
      Conducted By Axel Stordahl
      Frank Sinatra;Harry James & His
316                                        It'S Funny To Everyone But Me              Sony Music Entertainment
      Orchestra
317   Frank Yankovic & His Yanks           Milwaukee Polka                            Sony Music Entertainment
318   Frankie Laine                        Strange Lady In Town                       Sony Music Entertainment
319   Frankie Yankovic                     Just Because                               Sony Music Entertainment
320   Frankie Yankovic And His Yanks       Andy'S Jolly Hop Polka                     Sony Music Entertainment
321   Frankie Yankovic And His Yanks       Charm Of Your Beautiful Dark Eyes          Sony Music Entertainment
322   Frankie Yankovic And His Yanks       Jolly Polka                                Sony Music Entertainment
323   Frankie Yankovic And His Yanks       Mark Polka                                 Sony Music Entertainment
324   Frankie Yankovic And His Yanks       Nightingale Polka                          Sony Music Entertainment
325   Frankie Yankovic And His Yanks       Smile, Sweetheart, Smile                   Sony Music Entertainment
326   Frankie Yankovic And His Yanks       The Girl I Left Behind                     Sony Music Entertainment
                                           When Banana Skins Are Falling (I'Ll Come
327   Frankie Yankovic And His Yanks                                                  Sony Music Entertainment
                                           Sliding Back To You)
328   Gene Autry                           Amapola (Pretty Little Poppy)              Sony Music Entertainment
329   Gene Autry                           At Mail Call Today                         Sony Music Entertainment
330   Gene Autry                           Back In The Saddle Again                   Sony Music Entertainment


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331   Gene Autry                        Back In The Saddle Again                   Sony Music Entertainment
332   Gene Autry                        Be Honest With Me                          Sony Music Entertainment
333   Gene Autry                        Bimbo                                      Sony Music Entertainment
334   Gene Autry                        Blue Yodel No. 5                           Sony Music Entertainment
335   Gene Autry                        Blueberry Hill                             Sony Music Entertainment
336   Gene Autry                        Broomstick Buckaroo                        Sony Music Entertainment
337   Gene Autry                        Buttons And Bows                           Sony Music Entertainment
338   Gene Autry                        Deep In The Heart Of Texas                 Sony Music Entertainment
339   Gene Autry                        Do Right Daddy Blues                       Sony Music Entertainment
340   Gene Autry                        Don'T Fence Me In                          Sony Music Entertainment
341   Gene Autry                        Frankie And Johnny                         Sony Music Entertainment
342   Gene Autry                        Frosty The Snowman                         Sony Music Entertainment
343   Gene Autry                        Gallivantin' Galveston Gal                 Sony Music Entertainment
344   Gene Autry                        God Bless America                          Sony Music Entertainment
345   Gene Autry                        Goodnight Irene                            Sony Music Entertainment
346   Gene Autry                        Have I Told You Lately That I Love You     Sony Music Entertainment
347   Gene Autry                        I Hang My Head And Cry                     Sony Music Entertainment

348   Gene Autry                        I Wish My Mom Would Marry Santa Claus      Sony Music Entertainment
349   Gene Autry                        I'M Thinking Tonight Of My Blue Eyes       Sony Music Entertainment
350   Gene Autry                        It Makes No Difference Now                 Sony Music Entertainment
351   Gene Autry                        Jingle Jangle Jingle                       Sony Music Entertainment
352   Gene Autry                        Left My Gal In The Mountains               Sony Music Entertainment
353   Gene Autry                        Mexicali Rose                              Sony Music Entertainment
354   Gene Autry                        Peter Cottontail                           Sony Music Entertainment
355   Gene Autry                        Ridin' Down The Canyon                     Sony Music Entertainment
356   Gene Autry                        Roly Poly                                  Sony Music Entertainment
357   Gene Autry                        Santa Claus Is Comin' To Town              Sony Music Entertainment
358   Gene Autry                        Smokey The Bear                            Sony Music Entertainment
359   Gene Autry                        South Of The Border (Down Mexico Way)      Sony Music Entertainment

360   Gene Autry                        Take Me Back To My Boots And Saddle        Sony Music Entertainment
361   Gene Autry                        The Convict'S Dream                        Sony Music Entertainment
                                        The Funny Little Bunny (With The Powder
362   Gene Autry                                                                   Sony Music Entertainment
                                        Puff Tail)
363   Gene Autry                        The Life Of Jimmie Rodgers                 Sony Music Entertainment
364   Gene Autry                        Tumbling Tumbleweeds                       Sony Music Entertainment
365   Gene Autry                        When It'S Springtime In The Rockies        Sony Music Entertainment
366   Gene Autry                        You Are My Sunshine                        Sony Music Entertainment
367   Gene Autry                        You'Re The Only Star (In My Blue Heaven)   Sony Music Entertainment

      Gene Autry & Rosemary Clooney;
368                                      Look Out The Window                       Sony Music Entertainment
      Orchestra Conducted By Carl Cotner
369   Gene Autry & The Pinafores         He'S A Chubby Little Fellow               Sony Music Entertainment
                                         Here Comes Santa Claus (Down Santa
370   Gene Autry With Vocal Group                                                  Sony Music Entertainment
                                         Claus Lane)
      Gene Autry; Orchestra Conducted By
371                                      Sleigh Bells                              Sony Music Entertainment
      Carl Cotner
      Gene Autry; Orchestra Conducted By
372                                      When Santa Claus Gets Your Letter         Sony Music Entertainment
      Carl Cotner


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373   Guy Mitchell                         Belle, Belle, My Liberty Belle           Sony Music Entertainment
374   Guy Mitchell                         Chicka-Boom                              Sony Music Entertainment
375   Guy Mitchell                         My Truly, Truly Fair                     Sony Music Entertainment
376   Guy Mitchell                         She Wears Red Feathers                   Sony Music Entertainment
377   Guy Mitchell                         Sparrow In The Tree Top                  Sony Music Entertainment
378   Guy Mitchell                         There'S Always Room At Our House         Sony Music Entertainment
      Guy Mitchell; Orchestra And Chorus
379                                       Pretty Little Black-Eyed Susie            Sony Music Entertainment
      Under The Direction Of Mitch Miller

380   Harold Arlen                         Blues In The Night                       Sony Music Entertainment
381   Harry James & His Orchestra          Ciribiribin (They'Re So In Love)         Sony Music Entertainment
382   Harry James & His Orchestra          It'S Been A Long, Long Time              Sony Music Entertainment
                                           You Made Me Love You (I Didn'T Want To
383   Harry James & His Orchestra                                                   Sony Music Entertainment
                                           Do It)
      Harry James & His Orchestra;;Dick
384                                        Yes Indeed!                              Sony Music Entertainment
      Haymes & Band, Vocal
      Harry James & His Orchestra;;Dick
385                                        A Sinner Kissed An Angel                 Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
386                                        Aurora                                   Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
387                                        Braggin'                                 Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
388                                        Day Dreaming                             Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
389                                        Dolores                                  Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
390                                        Don'T Cry, Cherie                        Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
391                                        For Want Of A Star                       Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
392                                        I Guess I'Ll Have To Dream The Rest      Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
393                                        I Never Purposely Hurt You               Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
394                                        I'Ll Never Let A Day Pass By             Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
395                                        It'S So Peaceful In The Country          Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
396                                        Lament To Love                           Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
397                                        Lost In Love                             Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
398                                        Minka                                    Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
399                                        My Silent Love                           Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
400                                        Rancho Pillow                            Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
401                                        The Man With The Lollypop Song           Sony Music Entertainment
      Haymes, Vocal


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      Harry James & His Orchestra;;Dick
402                                        Walkin' By The River                         Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;;Dick
403                                        You Don'T Know What Love Is                  Sony Music Entertainment
      Haymes, Vocal
      Harry James & His Orchestra;Dick
404   Haymes;Helen Forrest;Dalton          The Devil Sat Down And Cried                 Sony Music Entertainment
      Rizzotto & Orchestra
      Harry James & His Orchestra;Frank
405                                        All Or Nothing At All                        Sony Music Entertainment
      Sinatra
      Harry James & His Orchestra;Frank
406                                        Every Day Of My Life                         Sony Music Entertainment
      Sinatra
      Harry James & His Orchestra;Frank
407                                        Here Comes The Night                         Sony Music Entertainment
      Sinatra
      Harry James & His Orchestra;Frank
408                                        Melancholy Mood                              Sony Music Entertainment
      Sinatra
      Harry James & His Orchestra;Frank
409                                        My Buddy                                     Sony Music Entertainment
      Sinatra
      Harry James & His Orchestra;Frank
410                                        On A Little Street In Singapore              Sony Music Entertainment
      Sinatra
      Harry James & His Orchestra;Frank
411                                        Who Told You I Cared?                        Sony Music Entertainment
      Sinatra
      Harry James & His Orchestra;Frank
412                                        Ciribiribin (They'Re So In Love)             Sony Music Entertainment
      Sinatra, Vocal
      Harry James & His Orchestra;Helen
413                                        I'Ve Heard That Song Before                  Sony Music Entertainment
      Forrest
      Harry James & His Orchestra;Willie
414                                        Who'S Sorry Now?                             Sony Music Entertainment
      Smith
415   Harry James And His Orchestra        I Don'T Care Who Knows It                    Sony Music Entertainment
416   Harry James And His Orchestra        Melancholy Rhapsody                          Sony Music Entertainment
      Harry James And The Rhythm
417                                        Limehouse Blues                              Sony Music Entertainment
      Section
      Harry James And The Rhythm
418                                        The Man I Love                               Sony Music Entertainment
      Section
419   Igor Stravinsky;Joseph Szigeti       Russian Maiden'S Song                        Sony Music Entertainment
420   Jimmy Dorsey                         Green Eyes                                   Sony Music Entertainment
421   Johnnie Ray                          Let'S Walk That-A-Way                        Sony Music Entertainment
                                           A Little Bit Of Heaven (Sure, They Call It
422   Kate Smith                                                                        Sony Music Entertainment
                                           Ireland)
423   Kate Smith                           Embraceable You                              Sony Music Entertainment
424   Kate Smith                           I'Ve Got A Gal In Kalamazoo                  Sony Music Entertainment
425   Kate Smith                           Imagination                                  Sony Music Entertainment
426   Kate Smith                           Mother Machree                               Sony Music Entertainment
427   Kate Smith                           My Buddy                                     Sony Music Entertainment
428   Kate Smith                           My Melancholy Baby                           Sony Music Entertainment
429   Kate Smith                           One Dozen Roses                              Sony Music Entertainment
430   Kate Smith                           Somebody Loves Me                            Sony Music Entertainment
431   Kate Smith                           The Last Time I Saw Paris                    Sony Music Entertainment
432   Kate Smith                           Time Was                                     Sony Music Entertainment
433   Kate Smith                           Tumbling Tumbleweeds                         Sony Music Entertainment
434   Kate Smith                           We'Ll Meet Again                             Sony Music Entertainment


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                                           When The Moon Comes Over The
435   Kate Smith                                                                      Sony Music Entertainment
                                           Mountain
436   Kate Smith                           When You Wish Upon A Star                  Sony Music Entertainment
437   Leonard Bernstein                    Facsimile                                  Sony Music Entertainment
                                           My Dreams Are Getting Better All The
438   Les Brown                                                                       Sony Music Entertainment
                                           Time
439   Louis Armstrong                      (What Did I Do To Be So) Black And Blue    Sony Music Entertainment
440   Louis Armstrong                      Back O' Town Blues                         Sony Music Entertainment
441   Louis Armstrong                      Basin Street Blues                         Sony Music Entertainment
442   Louis Armstrong                      Dear Old Southland                         Sony Music Entertainment
                                           Do You Know What It Means To Miss
443   Louis Armstrong                                                                 Sony Music Entertainment
                                           New Orleans?
444   Louis Armstrong                      I'Ve Got The World On A String             Sony Music Entertainment
445   Louis Armstrong                      Knockin' A Jug                             Sony Music Entertainment
446   Louis Armstrong                      Mack The Knife                             Sony Music Entertainment
447   Louis Armstrong                      Mahogany Hall Stomp                        Sony Music Entertainment
448   Louis Armstrong                      St. Louis Blues                            Sony Music Entertainment
449   Louis Armstrong                      Struttin' With Some Barbecue               Sony Music Entertainment
450   Louis Armstrong                      Tight Like This                            Sony Music Entertainment
451   Louis Armstrong                      West End Blues                             Sony Music Entertainment
452   Louis Armstrong                      When It'S Sleepy Time Down South           Sony Music Entertainment
453   Louis Armstrong & His Hot Five       Fireworks                                  Sony Music Entertainment
454   Louis Armstrong & His Hot Five       West End Blues                             Sony Music Entertainment
455   Louis Armstrong & His Orchestra      Ain'T Misbehavin'                          Sony Music Entertainment
456   Louis Armstrong & His Orchestra      St. Louis Blues                            Sony Music Entertainment
457   Louis Armstrong And His Hot Seven    Potato Head Blues                          Sony Music Entertainment
458   Louis Armstrong And His Orchestra    (What Did I Do To Be So) Black And Blue    Sony Music Entertainment
      Louis Armstrong Hot Seven Sic -
459                                        I Can'T Give You Anything But Love         Sony Music Entertainment
      Big Band
460   Louis Armstrong;Jack Teagarden       Ain'T Misbehavin'                          Sony Music Entertainment

461   Machito & His Afro-Cuban Orchestra Oboe Mambo                                   Sony Music Entertainment

462   Marian Anderson                      Sometimes I Feel Like A Motherless Child   Sony Music Entertainment

463   Mario Lanza                          Because You'Re Mine                        Sony Music Entertainment
464   Mario Lanza                          The Loveliest Night Of The Year            Sony Music Entertainment
465   Mario Lanza                          The Loveliest Night Of The Year            Sony Music Entertainment
466   Mario Lanza                          You Do Something To Me                     Sony Music Entertainment
467   Mario Lanza;Ray Sinatra              Because                                    Sony Music Entertainment
468   Mario Lanza;Ray Sinatra              For You Alone                              Sony Music Entertainment
469   Mario Lanza;Ray Sinatra              My Song, My Love                           Sony Music Entertainment
      Mario Lanza;Ray Sinatra;Rca Victor
470                                        I Love Thee                                Sony Music Entertainment
      Orchestra
      Mario Lanza;Rca Victor
471                                        Ave Maria                                  Sony Music Entertainment
      Orchestra;Constantine Callinicos
      Mario Lanza;Rca Victor
472                                        Ave Maria                                  Sony Music Entertainment
      Orchestra;Constantine Callinicos
                                           I'M Gonna Wash That Man Right Outa
473   Mary Martin                                                                     Sony Music Entertainment
                                           My Hair



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474   Mary Martin;South Pacific Ensemble A Wonderful Guy                           Sony Music Entertainment
475   Mary Mccarty                         Falling Out Of Love Can Be Fun          Sony Music Entertainment
476   Mary Mccarty                         Homework                                Sony Music Entertainment
477   Mary Mccarty;Allyn Mclerie           You Can Have Him                        Sony Music Entertainment
478   Mitch Miller                         The Yellow Rose Of Texas                Sony Music Entertainment
479   Paul Robeson                         Joshua Fit De Battle Of Jericho         Sony Music Entertainment
480   Paul Robeson Jr.;Lawrence Brown      By An' By                               Sony Music Entertainment
481   Paul Robeson Jr.;Lawrence Brown      Cradle Song                             Sony Music Entertainment
482   Paul Robeson Jr.;Lawrence Brown      Water Boy                               Sony Music Entertainment
483   Paul Robeson Jr.;Lawrence Brown      Within Four Walls                       Sony Music Entertainment
484   Peggy Lee                            On The Sunny Side Of The Street         Sony Music Entertainment
485   Peggy Lee                            The Way You Look Tonight                Sony Music Entertainment
486   Ray Noble And His Orchestra          Linda                                   Sony Music Entertainment
487   Risë Stevens;Robert Merrill          The Chocolate Soldier                   Sony Music Entertainment
488   Rosemary Clooney                     Botch-A-Me (Ba-Ba-Baciami Piccina)      Sony Music Entertainment
489   Rosemary Clooney                     C-H-R-I-S-T-M-A-S                       Sony Music Entertainment
490   Rosemary Clooney                     Come On-A My House                      Sony Music Entertainment
491   Rosemary Clooney                     Come Rain Or Come Shine                 Sony Music Entertainment
492   Rosemary Clooney                     Count Your Blessings Instead Of Sheep   Sony Music Entertainment
493   Rosemary Clooney                     Hey There!                              Sony Music Entertainment
494   Rosemary Clooney                     I Could Have Danced All Night           Sony Music Entertainment
495   Rosemary Clooney                     Mambo Italiano                          Sony Music Entertainment
496   Rosemary Clooney                     This Ole House                          Sony Music Entertainment
497   Rosemary Clooney                     Where Will The Dimple Be?               Sony Music Entertainment
498   Rosemary Clooney                     White Christmas                         Sony Music Entertainment
499   Rosemary Clooney                     You Started Something                   Sony Music Entertainment
      Rosemary Clooney With Percy Faith
500                                        Tenderly                                Sony Music Entertainment
      & His Orchestra
501   Ted Lewis And His Band               Royal Garden Blues                      Sony Music Entertainment
502   Ted Lewis And His Band               There'S A New Day Comin'                Sony Music Entertainment
503   Xavier Cugat And His Orchestra       South America, Take It Away!            Sony Music Entertainment
504   All Star Band                        Blue Lou                                      Arista Music
      Barney Bigard & His Orchestra;Duke
505                                        A Lull At Dawn                                Arista Music
      Ellington
506   Benny Goodman                        Air Mail Special                              Arista Music
507   Benny Goodman                        Seven Come Eleven                             Arista Music
508   Benny Goodman                        Stealin' Apples                               Arista Music
      Benny Goodman & His
509                                        I'Ve Got A Gal In Kalamazoo                   Arista Music
      Orchestra;Dick Haymes
      Benny Goodman & His
510                                        Take Me                                       Arista Music
      Orchestra;Dick Haymes
511   Benny Goodman And His Orchestra      (I Would Do) Anything For You                 Arista Music
512   Benny Goodman And His Orchestra      Alexander'S Ragtime Band                      Arista Music
513   Benny Goodman And His Orchestra      Ballad In Blue                                Arista Music
514   Benny Goodman And His Orchestra      Basin Street Blues                            Arista Music
515   Benny Goodman And His Orchestra      Blue Skies                                    Arista Music
516   Benny Goodman And His Orchestra      Bugle Call Rag                                Arista Music
517   Benny Goodman And His Orchestra      Bumble Bee Stomp                              Arista Music
518   Benny Goodman And His Orchestra      Changes                                       Arista Music


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519   Benny Goodman And His Orchestra   Christopher Columbus                    Arista Music
520   Benny Goodman And His Orchestra   Don'T Be That Way                       Arista Music
521   Benny Goodman And His Orchestra   Farewell Blues                          Arista Music
522   Benny Goodman And His Orchestra   Get Happy                               Arista Music
523   Benny Goodman And His Orchestra   House Hop                               Arista Music
524   Benny Goodman And His Orchestra   I Want To Be Happy                      Arista Music
525   Benny Goodman And His Orchestra   I'Ve Found A New Baby                   Arista Music
526   Benny Goodman And His Orchestra   Idaho                                   Arista Music
527   Benny Goodman And His Orchestra   Jam Session                             Arista Music
528   Benny Goodman And His Orchestra   Japanese Sandman                        Arista Music
529   Benny Goodman And His Orchestra   Life Goes To A Party                    Arista Music
530   Benny Goodman And His Orchestra   Love Me Or Leave Me                     Arista Music
531   Benny Goodman And His Orchestra   Lullaby In Rhythm                       Arista Music
532   Benny Goodman And His Orchestra   Madhouse                                Arista Music
533   Benny Goodman And His Orchestra   Riffin' At The Ritz                     Arista Music
534   Benny Goodman And His Orchestra   Roll 'Em                                Arista Music
535   Benny Goodman And His Orchestra   Rosetta                                 Arista Music
536   Benny Goodman And His Orchestra   Sandman                                 Arista Music
537   Benny Goodman And His Orchestra   Sing, Sing, Sing - Part 2               Arista Music
538   Benny Goodman And His Orchestra   Somebody Loves Me                       Arista Music
539   Benny Goodman And His Orchestra   Sometimes I'M Happy                     Arista Music
540   Benny Goodman And His Orchestra   St. Louis Blues                         Arista Music
541   Benny Goodman And His Orchestra   Sugarfoot Stomp                         Arista Music
542   Benny Goodman And His Orchestra   Swingtime In The Rockies                Arista Music
543   Benny Goodman And His Orchestra   The Man I Love                          Arista Music
544   Benny Goodman And His Orchestra   These Foolish Things Remind Me Of You   Arista Music
545   Benny Goodman And His Orchestra   Ti-Pi-Tin                               Arista Music
546   Benny Goodman And His Orchestra   Topsy                                   Arista Music
547   Benny Goodman And His Orchestra   When Buddha Smiles                      Arista Music
548   Benny Goodman And His Orchestra   When It'S Sleepy Time Down South        Arista Music
549   Benny Goodman And His Orchestra   Wrappin' It Up                          Arista Music
      Benny Goodman And His
550                                     Peter Piper                             Arista Music
      Orchestra;Helen Ward
      Benny Goodman And His             Sing Me A Swing Song (And Let Me
551                                                                             Arista Music
      Orchestra;Helen Ward              Dance)
      Benny Goodman And His
552                                     The Dixieland Band                      Arista Music
      Orchestra;Helen Ward
      Benny Goodman And His
553                                     Yankee Doodle Never Went To Town        Arista Music
      Orchestra;Helen Ward
      Benny Goodman And His
554                                     Always                                  Arista Music
      Orchestra;Horace Henderson
      Benny Goodman And His
555                                     Basin Street Blues                      Arista Music
      Orchestra;Joe Harris
      Benny Goodman And His
556                                     And The Angels Sing                     Arista Music
      Orchestra;Martha Tilton
      Benny Goodman And His
557                                     Loch Lomond                             Arista Music
      Orchestra;Martha Tilton
558   Benny Goodman Feat. Peggy Lee     Ev'Rything I Love                       Arista Music
559   Benny Goodman Feat. Peggy Lee     I Got It Bad (And That Ain'T Good)      Arista Music
560   Benny Goodman Quartet             'S Wonderful                            Arista Music


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561   Benny Goodman Quartet              Avalon                               Arista Music
562   Benny Goodman Quartet              Dinah                                Arista Music
563   Benny Goodman Quartet              I'M A Ding Dong Daddy (From Dumas)   Arista Music
564   Benny Goodman Quartet              Moonglow                             Arista Music
565   Benny Goodman Quartet              Opus 3/4                             Arista Music
566   Benny Goodman Quartet              Runnin' Wild                         Arista Music
567   Benny Goodman Quartet              Stompin' At The Savoy                Arista Music
568   Benny Goodman Quartet              The Man I Love                       Arista Music
569   Benny Goodman Quintet              I Cried For You                      Arista Music
570   Benny Goodman Quintet              Only Another Boy And Girl            Arista Music
      Benny Goodman Sextet Feat. Benny
571                                      Gone With "What" Wind                Arista Music
      Goodman & Charlie Christian
      Benny Goodman Sextet Feat. Benny
572                                      Royal Garden Blues                   Arista Music
      Goodman & Charlie Christian
      Benny Goodman Sextet;Charlie
573                                      Breakfast Feud                       Arista Music
      Christian
      Benny Goodman Sextet;Charlie
574                                      Gone With What Draft                 Arista Music
      Christian
      Benny Goodman Sextet;Charlie
575                                      I Found A New Baby                   Arista Music
      Christian
576   Benny Goodman Trio                 After You'Ve Gone                    Arista Music
577   Benny Goodman Trio                 All My Life                          Arista Music
578   Benny Goodman Trio                 Body And Soul                        Arista Music
579   Benny Goodman Trio                 China Boy                            Arista Music
580   Benny Goodman Trio                 I Must Have That Man                 Arista Music
581   Benny Goodman Trio                 More Than You Know                   Arista Music
582   Benny Goodman Trio                 More Than You Know                   Arista Music
583   Benny Goodman Trio                 Nobody'S Sweetheart                  Arista Music
584   Benny Goodman Trio                 Who?                                 Arista Music
      Benny Goodman Trio;Teddy
585                                      Oh, Lady Be Good                     Arista Music
      Wilson;Gene Krupa
      Benny Goodman Trio;Teddy
586                                      Someday Sweetheart                   Arista Music
      Wilson;Gene Krupa
      Benny Goodman; Arranged By
587                                      Ridin' High                          Arista Music
      Fletcher Henderson
      Benny Goodman;Charlie
588                                      A Smo-O-O-Oth One                    Arista Music
      Christian;Benny Goodman Sextet
      Benny Goodman;Charlie
589                                      As Long As I Live                    Arista Music
      Christian;Benny Goodman Sextet
      Benny Goodman;Charlie
590                                      Benny'S Bugle                        Arista Music
      Christian;Benny Goodman Sextet
      Benny Goodman;Charlie
591                                      I Surrender, Dear                    Arista Music
      Christian;Benny Goodman Sextet
      Benny Goodman;Charlie
592                                      Poor Butterfly                       Arista Music
      Christian;Benny Goodman Sextet
      Benny Goodman;Charlie
593                                      Shivers                              Arista Music
      Christian;Benny Goodman Sextet
      Benny Goodman;Charlie
594                                      Soft Winds                           Arista Music
      Christian;Benny Goodman Sextet



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      Benny Goodman;Charlie
595                                        These Foolish Things               Arista Music
      Christian;Benny Goodman Sextet
      Benny Goodman;Charlie
596                                        Wholly Cats                        Arista Music
      Christian;Benny Goodman Sextet
      Benny Goodman;The Benny
597                                        Where Or When                      Arista Music
      Goodman Sextet
      Benny Goodman;The Benny
598                                        Where Or When                      Arista Music
      Goodman Sextet
599   Bix Beiderbecke And His Orchestra    I'Ll Be A Friend "With Pleasure"   Arista Music
600   Dinah Shore                          Along The Navajo Trail             Arista Music
601   Dinah Shore                          Blues In The Night                 Arista Music
602   Dinah Shore                          Candy                              Arista Music
603   Dinah Shore                          Dearly Beloved                     Arista Music
604   Dinah Shore                          I Don'T Want To Walk Without You   Arista Music
605   Dinah Shore                          I'Ll Walk Alone                    Arista Music
606   Dinah Shore                          Jim                                Arista Music
607   Dinah Shore                          Miss You                           Arista Music
608   Dinah Shore                          My Heart Cries For You             Arista Music
609   Dinah Shore                          Personality                        Arista Music
610   Dinah Shore                          Skylark                            Arista Music
611   Dinah Shore                          Sleigh Ride In July                Arista Music
612   Dinah Shore                          Something To Remember You By       Arista Music
613   Dinah Shore                          Sweet Violets                      Arista Music
614   Dinah Shore                          Yes, My Darling Daughter           Arista Music
      Dinah Shore;Gordon Jenkins;Robert
      Barene;Joe Quadri;Lyall Bowen;Jack
      Chaney;Dick Clark;Archie
615                                        He Wears A Pair Of Silver Wings    Arista Music
      Rosate;Perry Botkin;Charles
      Lavere;Carl Maus;Maurice
      Perlmutter;Andy Secrest;Ray Miller
      Dinah Shore;Leonard Joy;Sid
      Stoneburn;Fletcher Hereford;Larry
      Binyon;Babe Russin;Melvin
616   Soloman;Ken Binford;Sam              Three Little Sisters               Arista Music
      Mineo;Gene Traxler;Fred
      Fradkin;Max Silverman;Joe
      Raymond;Sam Weiss
      Duke Ellington & His Famous
617   Orchestra;Cootie Williams;Ben        Cotton Tail                        Arista Music
      Webster;Harry Carney
      Duke Ellington & His Famous
618   Orchestra;Ivie Anderson;Johnny       I Got It Bad And That Ain'T Good   Arista Music
      Hodges
      Duke Ellington & His Famous
619   Orchestra;Ivie Anderson;Sonny        Chocolate Shake                    Arista Music
      Greer;Ray Nance;Harry Carney
      Duke Ellington & His Famous
620                                        I'M Beginning To See The Light     Arista Music
      Orchestra;Joya Sherrill
      Duke Ellington And His Famous
621                                        A Portrait Of Bert Williams        Arista Music
      Orchestra


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      Duke Ellington And His Famous
622                                   A Slip Of The Lip (Can Sink A Ship)     Arista Music
      Orchestra
      Duke Ellington And His Famous
623                                   Across The Track Blues                  Arista Music
      Orchestra
      Duke Ellington And His Famous
624                                   Bakiff                                  Arista Music
      Orchestra
      Duke Ellington And His Famous
625                                   Bli-Blip                                Arista Music
      Orchestra
      Duke Ellington And His Famous
626                                   Blue Goose                              Arista Music
      Orchestra
      Duke Ellington And His Famous
627                                   Blue Serge                              Arista Music
      Orchestra
      Duke Ellington And His Famous
628                                   Bojangles                               Arista Music
      Orchestra
      Duke Ellington And His Famous
629                                   Concerto For Cootie                     Arista Music
      Orchestra
      Duke Ellington And His Famous
630                                   Conga Brava                             Arista Music
      Orchestra
      Duke Ellington And His Famous
631                                   Dusk                                    Arista Music
      Orchestra
      Duke Ellington And His Famous
632                                   Five O'Clock Drag                       Arista Music
      Orchestra
      Duke Ellington And His Famous
633                                   Harlem Air-Shaft                        Arista Music
      Orchestra
      Duke Ellington And His Famous
634                                   I Don'T Know What Kind Of Blues I Got   Arista Music
      Orchestra
      Duke Ellington And His Famous
635                                   I Never Felt This Way Before            Arista Music
      Orchestra
      Duke Ellington And His Famous
636                                   Jack The Bear                           Arista Music
      Orchestra
      Duke Ellington And His Famous
637                                   Johnny Come Lately                      Arista Music
      Orchestra
      Duke Ellington And His Famous
638                                   Ko-Ko                                   Arista Music
      Orchestra
      Duke Ellington And His Famous
639                                   Main Stem                               Arista Music
      Orchestra
      Duke Ellington And His Famous
640                                   Me And You                              Arista Music
      Orchestra
      Duke Ellington And His Famous
641                                   Moon Mist                               Arista Music
      Orchestra
      Duke Ellington And His Famous
642                                   Morning Glory                           Arista Music
      Orchestra
      Duke Ellington And His Famous
643                                   Perdido                                 Arista Music
      Orchestra
      Duke Ellington And His Famous
644                                   Raincheck                               Arista Music
      Orchestra
      Duke Ellington And His Famous
645                                   Rocks In My Bed                         Arista Music
      Orchestra
      Duke Ellington And His Famous
646                                   Rumpus In Richmond                      Arista Music
      Orchestra


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      Duke Ellington And His Famous
647                                      Sentimental Lady                           Arista Music
      Orchestra
      Duke Ellington And His Famous
648                                      Sepia Panorama                             Arista Music
      Orchestra
      Duke Ellington And His Famous
649                                      Sherman Shuffle                            Arista Music
      Orchestra
      Duke Ellington And His Famous
650                                      Someone                                    Arista Music
      Orchestra
      Duke Ellington And His Famous
651                                      The "C" Jam Blues                          Arista Music
      Orchestra
      Duke Ellington And His Famous
652                                      The Flaming Sword                          Arista Music
      Orchestra
      Duke Ellington And His Famous
653                                      The Giddybug Gallop                        Arista Music
      Orchestra
      Duke Ellington And His Famous
654                                      Warm Valley                                Arista Music
      Orchestra
      Duke Ellington And His Famous
655                                      What Am I Here For?                        Arista Music
      Orchestra
      Duke Ellington And His Famous
656                                      What Good Would It Do?                     Arista Music
      Orchestra
      Duke Ellington And His Famous
657                                      Hayfoot, Strawfoot                         Arista Music
      Orchestra;Ivie Anderson
      Duke Ellington And His Famous
658                                      I Don'T Mind                               Arista Music
      Orchestra;Ivie Anderson
659   Eddie Fisher                       Jingle Bells                               Arista Music
660   Fats Waller                        Honeysuckle Rose                           Arista Music
661   Fats Waller                        Mandy                                      Arista Music
662   Fats Waller                        Stardust                                   Arista Music
663   Frank Sinatra;Tommy Dorsey         Everything Happens To Me                   Arista Music
664   Frank Sinatra;Tommy Dorsey         I Hear A Rhapsody                          Arista Music
665   Frank Sinatra;Tommy Dorsey         Just As Though You Were Here               Arista Music
      Frank Sinatra;Tommy Dorsey & His
666                                      I'Ll Be Seeing You                         Arista Music
      Orchestra
667   Freddy Martin & His Orchestra      Sleigh Ride                                Arista Music
668   Freddy Martin And His Orchestra    The Hut-Sut Song (A Swedish Serenade)      Arista Music
      Freddy Martin And His
669                                      'Til Reveille                              Arista Music
      Orchestra;Clyde Rogers
      Freddy Martin And His
      Orchestra;Norman L. Bailey;Harry O.
      Mckeehan;Glenn Loren
      Hughes;Charles Probert;Archie
670   Rosati;Clyde Rogers;Chris           Johnny Doughboy Found A Rose In Ireland   Arista Music
      Richardson;Russ Klein;Mischa
      Russell;Eddie Stone;Charles
      Bealick;Eddie Bergman;Jack Francis
      Fina;George Green;Bob White
671   Gene Krupa & His Swing Band        I Hope Gabriel Likes My Music              Arista Music
672   Glenn Miller                       Moonlight Serenade                         Arista Music
673   Glenn Miller & His Orchestra       A Million Dreams Ago                       Arista Music
674   Glenn Miller & His Orchestra       Along The Santa Fe Trail                   Arista Music


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675   Glenn Miller & His Orchestra        Cuckoo In The Clock                     Arista Music
676   Glenn Miller & His Orchestra        Ding-Dong! The Witch Is Dead            Arista Music
677   Glenn Miller & His Orchestra        Juke Box Saturday Night                 Arista Music
678   Glenn Miller & His Orchestra        Mister Meadowlark                       Arista Music
679   Glenn Miller & His Orchestra        Moon Love                               Arista Music
680   Glenn Miller & His Orchestra        Says Who? Says You, Says I!             Arista Music
681   Glenn Miller & His Orchestra        Skylark                                 Arista Music
682   Glenn Miller & His Orchestra        The Gaucho Serenade                     Arista Music
                                          When The Swallows Come Back To
683   Glenn Miller & His Orchestra                                                Arista Music
                                          Capistrano
      Glenn Miller & His Orchestra;Marion
684                                       The Woodpecker Song                     Arista Music
      Hutton
      Glenn Miller & His Orchestra;Ray    A Nightingale Sang In Berkeley Square
685                                                                               Arista Music
      Eberle                              (From "New Faces")
      Glenn Miller & His Orchestra;Ray
686                                       Blue Moonlight                          Arista Music
      Eberle
      Glenn Miller & His Orchestra;Ray
687                                       Blueberry Hill                          Arista Music
      Eberle
      Glenn Miller & His Orchestra;Ray
688                                       Imagination                             Arista Music
      Eberle
      Glenn Miller & His Orchestra;Ray
689                                       Indian Summer                           Arista Music
      Eberle
      Glenn Miller & His Orchestra;Ray
690                                       The Nearness Of You                     Arista Music
      Eberle
      Glenn Miller & His Orchestra;Ray
691                                       You And I                               Arista Music
      Eberle
      Glenn Miller & His Orchestra;Ray
692                                       Elmer'S Tune                            Arista Music
      Eberle;The Modernaires
      Glenn Miller & His Orchestra;Skip
693                                       Moonlight Becomes You                   Arista Music
      Nelson;The Modernaires
      Glenn Miller & His Orchestra;Skip   That Old Black Magic (From "Star
694                                                                               Arista Music
      Nelson;The Modernaires              Spangled Rhythm")
      Glenn Miller & His Orchestra;Tex
695                                       Jingle Bells                            Arista Music
      Beneke;The Modernaires
696   Glenn Miller And His Orchestra      Adios                                   Arista Music
697   Glenn Miller And His Orchestra      American Patrol                         Arista Music
698   Glenn Miller And His Orchestra      Oh, You Crazy Moon                      Arista Music
699   Glenn Miller And His Orchestra      Polka Dots And Moonbeams                Arista Music
700   Glenn Miller And His Orchestra      The Lady'S In Love With You             Arista Music
      Glenn Miller And His
701                                       The Man With The Mandolin               Arista Music
      Orchestra;Marion Hutton
      Glenn Miller And His
702                                       Yes My Darling Daughter                 Arista Music
      Orchestra;Marion Hutton And Band
      Glenn Miller And His Orchestra;Ray Fools Rush In (Where Angels Fear To
703                                                                               Arista Music
      Eberle                              Tread)
      Glenn Miller And His Orchestra;Ray
704                                       It'S Always You                         Arista Music
      Eberle
      Glenn Miller And His Orchestra;Ray
705                                       This Time The Dream'S On Me             Arista Music
      Eberle



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      Glenn Miller And His Orchestra;Skip
706                                         That Old Black Magic                     Arista Music
      Nelson;The Modernaires
      Harry James & His Orchestra;Helen
707                                         I Don'T Want To Walk Without You         Arista Music
      Forrest
708   Lena Horne                            I Ain'T Got Nothin' But The Blues        Arista Music
709   Lena Horne                            I Didn'T Know About You                  Arista Music
      Lena Horne With Charlie Barnet &
710                                         You'Re My Thrill                         Arista Music
      His Orchestra
      Lena Horne;Charlie Barnet & His
711                                         Good-For-Nothin' Joe                     Arista Music
      Orchestra
712   Lionel Hampton                        Ring Dem Bells                           Arista Music
713   Lionel Hampton & His Orchestra        Don'T Be That Way                        Arista Music
714   Lionel Hampton & His Orchestra        Flying Home                              Arista Music
                                            It Don'T Mean A Thing (If It Ain'T Got
715   Lionel Hampton & His Orchestra                                                 Arista Music
                                            That Swing)
716   Louis Armstrong                       Before Long                              Arista Music
717   Louis Armstrong                       Blues For Yesterday                      Arista Music
718   Louis Armstrong                       Blues In The South                       Arista Music
719   Louis Armstrong                       Don'T Play Me Cheap                      Arista Music
720   Louis Armstrong                       Dusky Stevedore                          Arista Music
721   Louis Armstrong                       Endie                                    Arista Music
722   Louis Armstrong                       He'S A Son Of The South                  Arista Music
723   Louis Armstrong                       Honey, Do!                               Arista Music
724   Louis Armstrong                       Hustlin' And Bustlin' For Baby           Arista Music
725   Louis Armstrong                       I Believe                                Arista Music
726   Louis Armstrong                       I Gotta Right To Sing The Blues          Arista Music
727   Louis Armstrong                       I Hate To Leave You Now                  Arista Music
728   Louis Armstrong                       I Want A Little Girl                     Arista Music
729   Louis Armstrong                       I Wonder, I Wonder, I Wonder             Arista Music
730   Louis Armstrong                       It Takes Time                            Arista Music
731   Louis Armstrong                       Joseph 'N His Brudders                   Arista Music
732   Louis Armstrong                       Lovely Weather We'Re Having              Arista Music
733   Louis Armstrong                       Mighty River                             Arista Music
734   Louis Armstrong                       Mississippi Basin                        Arista Music
735   Louis Armstrong                       Sittin' In The Dark                      Arista Music
736   Louis Armstrong                       Snowball                                 Arista Music
737   Louis Armstrong                       Some Sweet Day                           Arista Music
738   Louis Armstrong                       Squeeze Me                               Arista Music
739   Louis Armstrong                       That'S My Home                           Arista Music
740   Louis Armstrong                       There'S A Cabin In The Pines             Arista Music
                                            Where The Blues Were Born In New
741   Louis Armstrong                                                                Arista Music
                                            Orleans
742   Louis Armstrong                       You Don'T Learn That In School           Arista Music
743   Louis Armstrong & His Hot Seven       Sugar                                    Arista Music
744   Louis Armstrong & His Orchestra       Basin Street Blues                       Arista Music
745   Louis Armstrong & His Orchestra       High Society                             Arista Music
746   Louis Armstrong And His Orchestra     No Variety Blues                         Arista Music
      Metronome All Stars;Benny
747                                         All Star Strut                           Arista Music
      Goodman;Charlie Christian
748   Morton Gould And His Orchestra        Tropical                                 Arista Music


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749   Paul Robeson                      Sometimes I Feel Like A Motherless Child   Arista Music
750   Perry Como                         God Rest Ye Merry Gentlemen               Arista Music
751   Perry Como                         Jingle Bells                              Arista Music
752   Rosemary Clooney                   Beautiful Brown Eyes                      Arista Music
      Sidney Bechet & His New Orleans
753                                      Blues In The Air                          Arista Music
      Feetwarmers
      Sidney Bechet & His New Orleans
754                                      The Mooche                                Arista Music
      Feetwarmers
      Sidney Bechet & His New Orleans
755                                      Wild Man Blues                            Arista Music
      Feetwarmers
756   Ted Lewis And His Band             Royal Garden Blues                        Arista Music
      Teddy Wilson & His Orchestra Feat.
757                                      What A Little Moonlight Can Do            Arista Music
      Billie Holiday
      The Glenn Miller Orchestra;Ray
758                                      Stairway To The Stars                     Arista Music
      Eberle
      The Glenn Miller Orchestra;Ray
759                                      Careless                                  Arista Music
      Eberle;Chummy Macgregor
      The Sentimentalists;Tommy
760                                      Head On My Pillow                         Arista Music
      Dorsey;Frank Sinatra
      Tommy Dorsey & His Clambake
761                                      Chinatown, My Chinatown                   Arista Music
      Seven
      Tommy Dorsey & His Clambake        When The Midnight Choo-Choo Leaves
762                                                                                Arista Music
      Seven                              For Alabam'
      Tommy Dorsey & His Clambake
763                                      Alla En El Rancho Grande (My Ranch)       Arista Music
      Seven;Hughie Prince And Orchestra
      Tommy Dorsey & His Clambake
764                                      Don'T Be A Baby, Baby                     Arista Music
      Seven;Sy Oliver
765   Tommy Dorsey & His Orchestra       Jammin'                                   Arista Music
766   Tommy Dorsey & His Orchestra       Marie                                     Arista Music
      Tommy Dorsey & His Orchestra With
767                                      You'Re Lonely And I'M Lonely              Arista Music
      Frank Sinatra
      Tommy Dorsey & His
768                                      Birmingham Bounce                         Arista Music
      Orchestra;Charlie Shavers
      Tommy Dorsey & His Orchestra;Duke
769                                      The Minor Goes Muggin'                    Arista Music
      Ellington
      Tommy Dorsey & His
770                                      Polka Dots And Moonbeams                  Arista Music
      Orchestra;Frank Sinatra
      Tommy Dorsey & His
771                                      This Love Of Mine                         Arista Music
      Orchestra;Frank Sinatra
      Tommy Dorsey & His
772                                      Trade Winds                               Arista Music
      Orchestra;Frank Sinatra
      Tommy Dorsey & His
773   Orchestra;Frank Sinatra;The Pied   Dolores                                   Arista Music
      Pipers
      Tommy Dorsey & His Orchestra;Jack
774                                      Indian Summer                             Arista Music
      Leonard
775   Tommy Dorsey And His Orchestra     Well, Git It!                             Arista Music
      Tommy Dorsey And His Orchestra
776                                      I Tried                                   Arista Music
      With Frank Sinatra


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      Tommy Dorsey And His Orchestra
777                                     I'Ll Take Tallulah                           Arista Music
      With Frank Sinatra
      Tommy Dorsey And His Orchestra
778                                     In The Blue Of Evening                       Arista Music
      With Frank Sinatra
      Tommy Dorsey And His Orchestra
779                                     Light A Candle In The Chapel                 Arista Music
      With Frank Sinatra
      Tommy Dorsey And His Orchestra
780                                     Light A Candle In The Chapel                 Arista Music
      With Frank Sinatra
      Tommy Dorsey And His Orchestra
781                                     Neiani                                       Arista Music
      With Frank Sinatra
      Tommy Dorsey And His Orchestra
782                                     Snootie Little Cutie                         Arista Music
      With Frank Sinatra
      Tommy Dorsey And His Orchestra
783                                     Somewhere A Voice Is Calling                 Arista Music
      With Frank Sinatra
      Tommy Dorsey And His Orchestra
784                                     Take Me                                      Arista Music
      With Frank Sinatra
      Tommy Dorsey And His Orchestra
785                                     There Are Such Things                        Arista Music
      With Frank Sinatra
      Tommy Dorsey And His Orchestra
786                                     How Do You Do Without Me?                    Arista Music
      With Frank Sinatra
787   Vaughn Monroe & His Orchestra     Let It Snow, Let It Snow, Let It Snow        Arista Music
788   Vaughn Monroe And His Orchestra   From The Coast Of Maine To The Rockies       Arista Music

789   Al Hibbler                        Unchained Melody                         UMG Recordings, Inc.
790   Al Jolson                         After You'Ve Gone                        UMG Recordings, Inc.
791   Al Jolson                         All My Love                              UMG Recordings, Inc.
792   Al Jolson                         Anniversary Song                         UMG Recordings, Inc.
793   Al Jolson                         April Showers                            UMG Recordings, Inc.
794   Al Jolson                         Are You Lonesome Tonight                 UMG Recordings, Inc.
795   Al Jolson                         Avalon                                   UMG Recordings, Inc.
796   Al Jolson                         By The Light Of The Silvery Moon         UMG Recordings, Inc.
797   Al Jolson                         California, Here I Come                  UMG Recordings, Inc.
798   Al Jolson                         Carolina In The Morning                  UMG Recordings, Inc.
799   Al Jolson                         Chinatown, My Chinatown                  UMG Recordings, Inc.
800   Al Jolson                         De Camptown Races                        UMG Recordings, Inc.
801   Al Jolson                         For Me And My Gal                        UMG Recordings, Inc.
802   Al Jolson                         God'S Country                            UMG Recordings, Inc.
                                        I Want A Girl (Just Like The Girl That
803   Al Jolson                                                                  UMG Recordings, Inc.
                                        Married Dear Old Dad)
804   Al Jolson                         I Wish I Had A Girl                      UMG Recordings, Inc.
                                        I'M Sitting On Top Of The World (Just
805   Al Jolson                                                                  UMG Recordings, Inc.
                                        Rolling Along - Just Rolling Along)
806   Al Jolson                         If I Only Had A Match                    UMG Recordings, Inc.
807   Al Jolson                         It All Depends On You                    UMG Recordings, Inc.
                                        Keep Smiling At Trouble (Trouble'S A
808   Al Jolson                                                                  UMG Recordings, Inc.
                                        Bubble)
809   Al Jolson                         Let Me Sing And I'M Happy                UMG Recordings, Inc.
810   Al Jolson                         Let'S Go West Again                      UMG Recordings, Inc.
811   Al Jolson                         Ma Blushin' Rosie                        UMG Recordings, Inc.
812   Al Jolson                         My Mother'S Rosary                       UMG Recordings, Inc.


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813   Al Jolson                          Oh Susannah                           UMG Recordings, Inc.
814   Al Jolson                          Paris Wakes And Smiles                UMG Recordings, Inc.
815   Al Jolson                          Pretty Baby                           UMG Recordings, Inc.
816   Al Jolson                          Remember Mother'S Day                 UMG Recordings, Inc.
                                         Rock-A-Bye Your Baby With A Dixie
817   Al Jolson                                                                UMG Recordings, Inc.
                                         Melody
818   Al Jolson                          Some Enchanted Evening                UMG Recordings, Inc.
                                         Someone Else May Be There While I'M
819   Al Jolson                                                                UMG Recordings, Inc.
                                         Gone
820   Al Jolson                          Sonny Boy                             UMG Recordings, Inc.
821   Al Jolson                          Swanee                                UMG Recordings, Inc.
822   Al Jolson                          That Wonderful Girl Of Mine           UMG Recordings, Inc.
823   Al Jolson                          When I Leave The World Behind         UMG Recordings, Inc.
                                         When The Red, Red Robin Comes Bob,
824   Al Jolson                                                                UMG Recordings, Inc.
                                         Bob, Bobbin' Along
825   Al Jolson                          Where The Black Eyed Susans Grow      UMG Recordings, Inc.
826   Al Jolson                          You Made Me Love You                  UMG Recordings, Inc.
827   Alfred Apaka                       White Ginger Blossom                  UMG Recordings, Inc.
828   Alfred Drake                       The Surrey With The Fringe On Top     UMG Recordings, Inc.
829   Art Tatum                          Get Happy                             UMG Recordings, Inc.
830   Art Tatum                          I Would Do Anything For You           UMG Recordings, Inc.
831   Art Tatum                          Wee Baby Blues                        UMG Recordings, Inc.
832   Benny Carter                       Night Hop                             UMG Recordings, Inc.
833   Betty Garrett                      Little Surplus Me                     UMG Recordings, Inc.
834   Betty Garrett                      South America Take It Away            UMG Recordings, Inc.
835   Betty Garrett                      Yuletide, Park Avenue                 UMG Recordings, Inc.
836   Bill Haley & His Comets            Calling All Comets                    UMG Recordings, Inc.
837   Bill Haley & His Comets            Goofin' Around                        UMG Recordings, Inc.
838   Bill Haley & His Comets            Hot Dog, Buddy, Buddy                 UMG Recordings, Inc.
839   Bill Haley & His Comets            Miss You                              UMG Recordings, Inc.
840   Bill Haley & His Comets            Rockin' Through The Rye               UMG Recordings, Inc.
841   Bill Haley & His Comets            Sway With Me                          UMG Recordings, Inc.
842   Bill Haley & His Comets            Two Hound Dogs                        UMG Recordings, Inc.
843   Bill Kenny & The Song Spinners     It Is No Secret (What God Can Do)     UMG Recordings, Inc.
844   Bill Monroe & The Bluegrass Boys   In The Pines                          UMG Recordings, Inc.
845   Bill Monroe & The Bluegrass Boys   Uncle Pen                             UMG Recordings, Inc.
846   Billie Holiday                     Autumn In New York                    UMG Recordings, Inc.
847   Billie Holiday                     Baby Get Lost                         UMG Recordings, Inc.
848   Billie Holiday                     Blue Moon                             UMG Recordings, Inc.
849   Billie Holiday                     Easy To Love                          UMG Recordings, Inc.
850   Billie Holiday                     I Cover The Waterfront                UMG Recordings, Inc.
851   Billie Holiday                     I Gotta Right To Sing The Blues       UMG Recordings, Inc.
852   Billie Holiday                     I'Ll Be Seeing You                    UMG Recordings, Inc.
853   Billie Holiday                     I'Ll Get By                           UMG Recordings, Inc.
854   Billie Holiday                     I'Ll Look Around                      UMG Recordings, Inc.
855   Billie Holiday                     I'M Yours                             UMG Recordings, Inc.
856   Billie Holiday                     My Man                                UMG Recordings, Inc.
857   Billie Holiday                     My Old Flame                          UMG Recordings, Inc.
858   Billie Holiday                     Solitude                              UMG Recordings, Inc.
859   Billie Holiday                     Somebody'S On My Mind                 UMG Recordings, Inc.


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860   Billie Holiday                   Tenderly                                UMG Recordings, Inc.
861   Billie Holiday                   What A Little Moonlight Can Do          UMG Recordings, Inc.
862   Billie Holiday                   What Is This Thing Called Love          UMG Recordings, Inc.
863   Billie Holiday                   Yesterdays                              UMG Recordings, Inc.
864   Billie Holiday                   You Turned The Tables On Me             UMG Recordings, Inc.
865   Billie Holiday & Her Orchestra   Fine And Mellow                         UMG Recordings, Inc.
866   Billie Holiday & Her Orchestra   He'S Funny That Way                     UMG Recordings, Inc.
867   Billie Holiday & Her Orchestra   If The Moon Turns Green                 UMG Recordings, Inc.
868   Billie Holiday & Her Orchestra   Strange Fruit                           UMG Recordings, Inc.
869   Bing Crosby                      (It'S A) Marshmallow World              UMG Recordings, Inc.
                                       (Running Around In Circles) Getting
870   Bing Crosby                                                              UMG Recordings, Inc.
                                       Nowhere
871   Bing Crosby                      (Yip Yip De Hootie) My Baby Said Yes    UMG Recordings, Inc.
872   Bing Crosby                      A Fella With An Umbrella                UMG Recordings, Inc.
873   Bing Crosby                      A Fine Romance                          UMG Recordings, Inc.
874   Bing Crosby                      A Flight Of Fancy                       UMG Recordings, Inc.
875   Bing Crosby                      A Friend Of Yours                       UMG Recordings, Inc.
876   Bing Crosby                      A Marshmallow World                     UMG Recordings, Inc.
877   Bing Crosby                      A Nightingale Sang In Berkeley Square   UMG Recordings, Inc.
878   Bing Crosby                      A Song Of Old Hawaii                    UMG Recordings, Inc.
879   Bing Crosby                      A Weaver Of Dreams                      UMG Recordings, Inc.
880   Bing Crosby                      After You'Ve Gone                       UMG Recordings, Inc.
                                       Ain'T Got A Dime To My Name (Ho Ho Ho
881   Bing Crosby                                                              UMG Recordings, Inc.
                                       Ho Hum)
882   Bing Crosby                      All Hail The Power Of Jesus' Name       UMG Recordings, Inc.
883   Bing Crosby                      Aloha Oe                                UMG Recordings, Inc.
884   Bing Crosby                      Aren'T You Glad You'Re You              UMG Recordings, Inc.
885   Bing Crosby                      Around The World (In Eighty Days)       UMG Recordings, Inc.
886   Bing Crosby                      At Last! At Last!                       UMG Recordings, Inc.
887   Bing Crosby                      At Your Command                         UMG Recordings, Inc.
888   Bing Crosby                      Ave Maria                               UMG Recordings, Inc.
889   Bing Crosby                      Bali Ha'I                               UMG Recordings, Inc.
890   Bing Crosby                      Ballad For Americans Part 2             UMG Recordings, Inc.
891   Bing Crosby                      Basin Street Blues                      UMG Recordings, Inc.
892   Bing Crosby                      Blue (And Broken Hearted)               UMG Recordings, Inc.
893   Bing Crosby                      Blue Hawaii                             UMG Recordings, Inc.
894   Bing Crosby                      Blue Shadows And White Gardenias        UMG Recordings, Inc.
895   Bing Crosby                      Blue Shadows On The Trail               UMG Recordings, Inc.
896   Bing Crosby                      Blues In The Night                      UMG Recordings, Inc.
                                       Bob White (Whatcha Gonna Swing
897   Bing Crosby                                                              UMG Recordings, Inc.
                                       Tonight?)
898   Bing Crosby                      But Beautiful                           UMG Recordings, Inc.
899   Bing Crosby                      Changing Partners                       UMG Recordings, Inc.
900   Bing Crosby                      Chattanoogie Shoe Shine Boy             UMG Recordings, Inc.
901   Bing Crosby                      Christmas In Killarney                  UMG Recordings, Inc.
902   Bing Crosby                      Close As Pages In A Book                UMG Recordings, Inc.
903   Bing Crosby                      Constantly                              UMG Recordings, Inc.
904   Bing Crosby                      Country Style                           UMG Recordings, Inc.
905   Bing Crosby                      Dancing In The Dark                     UMG Recordings, Inc.
906   Bing Crosby                      Dancing Under The Stars                 UMG Recordings, Inc.


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907   Bing Crosby                Danny Boy                            UMG Recordings, Inc.
908   Bing Crosby                Day By Day                           UMG Recordings, Inc.
909   Bing Crosby                Dear Hearts And Gentle People        UMG Recordings, Inc.
910   Bing Crosby                Deep In The Heart Of Texas           UMG Recordings, Inc.
911   Bing Crosby                Did Your Mother Come From Ireland?   UMG Recordings, Inc.
912   Bing Crosby                Domino                               UMG Recordings, Inc.
913   Bing Crosby                Don'T Be That Way                    UMG Recordings, Inc.
914   Bing Crosby                Down By The River                    UMG Recordings, Inc.
915   Bing Crosby                Easter Parade                        UMG Recordings, Inc.
916   Bing Crosby                Eileen                               UMG Recordings, Inc.
917   Bing Crosby                Embrasse-Moi Bien                    UMG Recordings, Inc.
918   Bing Crosby                Faith Of Our Fathers                 UMG Recordings, Inc.
919   Bing Crosby                Far Away Places                      UMG Recordings, Inc.
920   Bing Crosby                Galway Bay                           UMG Recordings, Inc.
921   Bing Crosby                Getting To Know You                  UMG Recordings, Inc.
922   Bing Crosby                Give Me The Simple Life              UMG Recordings, Inc.
923   Bing Crosby                Going My Way                         UMG Recordings, Inc.
924   Bing Crosby                Granada                              UMG Recordings, Inc.
925   Bing Crosby                Harbor Lights                        UMG Recordings, Inc.
926   Bing Crosby                Hawaiian Paradise                    UMG Recordings, Inc.
927   Bing Crosby                He Leadeth Me                        UMG Recordings, Inc.
                                 Here Comes Santa Claus (Right Down
928   Bing Crosby                                                     UMG Recordings, Inc.
                                 Santa Claus Lane)
929   Bing Crosby                Holy, Holy, Holy Lord God Almighty   UMG Recordings, Inc.
930   Bing Crosby                Home Cookin'                         UMG Recordings, Inc.
931   Bing Crosby                How Can You Buy Killarney?           UMG Recordings, Inc.
932   Bing Crosby                Humpty Dumpty Heart                  UMG Recordings, Inc.
933   Bing Crosby                I Ain'T Got Nobody                   UMG Recordings, Inc.
934   Bing Crosby                I Apologize                          UMG Recordings, Inc.
935   Bing Crosby                I Can'T Begin To Tell You            UMG Recordings, Inc.
936   Bing Crosby                I Don'T Want To Walk Without You     UMG Recordings, Inc.
937   Bing Crosby                I Got Plenty O' Nuttin'              UMG Recordings, Inc.
938   Bing Crosby                I Love You                           UMG Recordings, Inc.
939   Bing Crosby                I Still See Elisa                    UMG Recordings, Inc.
940   Bing Crosby                I Still Suits Me                     UMG Recordings, Inc.
941   Bing Crosby                I Surrender, Dear                    UMG Recordings, Inc.
942   Bing Crosby                I'D Rather Be Me                     UMG Recordings, Inc.
943   Bing Crosby                I'Ll Be Home For Christmas           UMG Recordings, Inc.
944   Bing Crosby                I'Ll Be Seeing You                   UMG Recordings, Inc.
                                 I'M An Old Cowhand (From The Rio
945   Bing Crosby                                                     UMG Recordings, Inc.
                                 Grande)
946   Bing Crosby                I'M Through With Love                UMG Recordings, Inc.
947   Bing Crosby                I'Ve Got A Pocketful Of Dreams       UMG Recordings, Inc.
948   Bing Crosby                I'Ve Got Plenty To Be Thankful For   UMG Recordings, Inc.
949   Bing Crosby                I'Ve Never Been In Love Before       UMG Recordings, Inc.
950   Bing Crosby                If I Had My Way                      UMG Recordings, Inc.
951   Bing Crosby                If I Loved You                       UMG Recordings, Inc.
952   Bing Crosby                If You Please                        UMG Recordings, Inc.
953   Bing Crosby                If You Stub Your Toe On The Moon     UMG Recordings, Inc.
954   Bing Crosby                It Ain'T Necessarily So              UMG Recordings, Inc.


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                                         EXHIBIT A
                                  Sound Recordings at Issue
955   Bing Crosby                It'S Anybody'S Spring                   UMG Recordings, Inc.
                                 It'S Beginning To Look A Lot Like
956   Bing Crosby                                                        UMG Recordings, Inc.
                                 Christmas
957   Bing Crosby                It'S Easy To Remember                   UMG Recordings, Inc.
958   Bing Crosby                It'S The Natural Thing To Do            UMG Recordings, Inc.
959   Bing Crosby                June In January                         UMG Recordings, Inc.
960   Bing Crosby                Just For You                            UMG Recordings, Inc.
961   Bing Crosby                Just One More Chance                    UMG Recordings, Inc.
962   Bing Crosby                Just One Of Those Things                UMG Recordings, Inc.
963   Bing Crosby                Keep It A Secret                        UMG Recordings, Inc.
964   Bing Crosby                La Vie En Rose                          UMG Recordings, Inc.
965   Bing Crosby                Lazy                                    UMG Recordings, Inc.
966   Bing Crosby                Like Someone In Love                    UMG Recordings, Inc.
967   Bing Crosby                Little Jack Frost, Get Lost             UMG Recordings, Inc.
968   Bing Crosby                Little Sir Echo                         UMG Recordings, Inc.
969   Bing Crosby                Looks Like A Cold, Cold Winter          UMG Recordings, Inc.
970   Bing Crosby                Love Is Just Around The Corner          UMG Recordings, Inc.
971   Bing Crosby                Lullaby Land                            UMG Recordings, Inc.
972   Bing Crosby                Mademoiselle De Paris                   UMG Recordings, Inc.
973   Bing Crosby                Marrying For Love                       UMG Recordings, Inc.
974   Bing Crosby                Maybe                                   UMG Recordings, Inc.
975   Bing Crosby                Mcnamara'S Band                         UMG Recordings, Inc.
976   Bing Crosby                Mexicali Rose                           UMG Recordings, Inc.
977   Bing Crosby                Mister Meadowlark                       UMG Recordings, Inc.
978   Bing Crosby                Moonburn                                UMG Recordings, Inc.
979   Bing Crosby                Moonlight On A White Picket Fence       UMG Recordings, Inc.
980   Bing Crosby                More And More                           UMG Recordings, Inc.
981   Bing Crosby                Mule Train                              UMG Recordings, Inc.
982   Bing Crosby                My Girl'S An Irish Girl                 UMG Recordings, Inc.
983   Bing Crosby                My Heart And I                          UMG Recordings, Inc.
984   Bing Crosby                My Little Buckaroo                      UMG Recordings, Inc.
985   Bing Crosby                My Melancholy Baby                      UMG Recordings, Inc.
986   Bing Crosby                New San Antonio Rose                    UMG Recordings, Inc.
987   Bing Crosby                Now Is The Hour (Maori Farewell Song)   UMG Recordings, Inc.
988   Bing Crosby                O Fir Tree Dark                         UMG Recordings, Inc.
989   Bing Crosby                O God, Our Help In Ages Past            UMG Recordings, Inc.
990   Bing Crosby                Oh Baby Mine (I Get So Lonely)          UMG Recordings, Inc.
991   Bing Crosby                Oh! How I Miss You Tonight              UMG Recordings, Inc.
992   Bing Crosby                Oh! Tis Sweet To Think                  UMG Recordings, Inc.
993   Bing Crosby                Oh! What A Beautiful Mornin'            UMG Recordings, Inc.
                                 On The Atchison, Topeka And The Santa
994   Bing Crosby                                                        UMG Recordings, Inc.
                                 Fe
995 Bing Crosby                  On The Sunny Side Of The Street         UMG Recordings, Inc.
996 Bing Crosby                  Only Forever                            UMG Recordings, Inc.
997 Bing Crosby                  Open Up Your Heart                      UMG Recordings, Inc.
998 Bing Crosby                  Out Of Nowhere                          UMG Recordings, Inc.
999 Bing Crosby                  Palace In Paradise                      UMG Recordings, Inc.
1000 Bing Crosby                 Pennies From Heaven                     UMG Recordings, Inc.
1001 Bing Crosby                 People Will Say We'Re In Love           UMG Recordings, Inc.
1002 Bing Crosby                 Personality                             UMG Recordings, Inc.


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                                        EXHIBIT A
                                 Sound Recordings at Issue
1003 Bing Crosby                Pinetop'S Boogie Woogie               UMG Recordings, Inc.
1004 Bing Crosby                Pretty Baby                           UMG Recordings, Inc.
1005 Bing Crosby                Red Sails In The Sunset               UMG Recordings, Inc.
1006 Bing Crosby                Remember Me?                          UMG Recordings, Inc.
1007 Bing Crosby                Rock Of Ages                          UMG Recordings, Inc.
1008 Bing Crosby                Rudolph The Red-Nosed Reindeer        UMG Recordings, Inc.
1009 Bing Crosby                San Fernando Valley                   UMG Recordings, Inc.
1010 Bing Crosby                Secret Love                           UMG Recordings, Inc.
1011 Bing Crosby                Sentimental Music                     UMG Recordings, Inc.
1012 Bing Crosby                Sierra Sue                            UMG Recordings, Inc.
1013 Bing Crosby                Silent Night                          UMG Recordings, Inc.
1014 Bing Crosby                Silver Bells                          UMG Recordings, Inc.
1015 Bing Crosby                Silver On The Sage                    UMG Recordings, Inc.
1016 Bing Crosby                Sioux City Sue                        UMG Recordings, Inc.
1017 Bing Crosby                Skylark                               UMG Recordings, Inc.
1018 Bing Crosby                Sleigh Bell Serenade                  UMG Recordings, Inc.
1019 Bing Crosby                Sleigh Ride                           UMG Recordings, Inc.
1020 Bing Crosby                Small Fry                             UMG Recordings, Inc.
1021 Bing Crosby                Some Enchanted Evening                UMG Recordings, Inc.
1022 Bing Crosby                Somebody Loves Me                     UMG Recordings, Inc.
1023 Bing Crosby                Someday, Sweetheart                   UMG Recordings, Inc.
1024 Bing Crosby                Something Wonderful                   UMG Recordings, Inc.
1025 Bing Crosby                Song Of Freedom                       UMG Recordings, Inc.
1026 Bing Crosby                Song Of The Islands                   UMG Recordings, Inc.
1027 Bing Crosby                Soon                                  UMG Recordings, Inc.
1028 Bing Crosby                South Sea Island Magic                UMG Recordings, Inc.
1029 Bing Crosby                St. Patrick'S Day Parade              UMG Recordings, Inc.
1030 Bing Crosby                Star Dust                             UMG Recordings, Inc.
1031 Bing Crosby                Summertime                            UMG Recordings, Inc.
1032 Bing Crosby                Sunday, Monday Or Always              UMG Recordings, Inc.
1033 Bing Crosby                Sunshine Cake                         UMG Recordings, Inc.
1034 Bing Crosby                Sweet Hawaiian Chimes                 UMG Recordings, Inc.
1035 Bing Crosby                Sweet Leilani                         UMG Recordings, Inc.
1036 Bing Crosby                Sweet Lorraine                        UMG Recordings, Inc.
1037 Bing Crosby                Swing Low, Sweet Chariot              UMG Recordings, Inc.
1038 Bing Crosby                Swinging On A Star                    UMG Recordings, Inc.
1039 Bing Crosby                Take Me Back To My Boots And Saddle   UMG Recordings, Inc.
1040 Bing Crosby                That Christmas Feeling                UMG Recordings, Inc.
1041 Bing Crosby                That Tumbledown Shack In Athlone      UMG Recordings, Inc.
1042 Bing Crosby                The Birth Of The Blues                UMG Recordings, Inc.
1043 Bing Crosby                The Christmas Song                    UMG Recordings, Inc.
1044 Bing Crosby                The Day After Forever                 UMG Recordings, Inc.
1045 Bing Crosby                The Donovans                          UMG Recordings, Inc.
1046 Bing Crosby                The First Snowfall                    UMG Recordings, Inc.
1047 Bing Crosby                The Folks Who Live On The Hill        UMG Recordings, Inc.
1048 Bing Crosby                The Headless Horseman                 UMG Recordings, Inc.
1049 Bing Crosby                The Isle Of Innisfree                 UMG Recordings, Inc.
1050 Bing Crosby                The Kiss In Your Eyes                 UMG Recordings, Inc.
1051 Bing Crosby                The Last Mile Home                    UMG Recordings, Inc.
1052 Bing Crosby                The Moon Got In My Eyes               UMG Recordings, Inc.


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                                                    EXHIBIT A
                                             Sound Recordings at Issue
                                           The Moon Was Yellow (And The Night
1053 Bing Crosby                                                                   UMG Recordings, Inc.
                                           Was Young)
                                           The One I Love (Belongs To Somebody
1054 Bing Crosby                                                                   UMG Recordings, Inc.
                                           Else)
1055 Bing Crosby                           The Spaniard That Blighted My Life      UMG Recordings, Inc.
1056 Bing Crosby                           The Sweetest Story Ever Told            UMG Recordings, Inc.
1057 Bing Crosby                           The Things We Did Last Summer           UMG Recordings, Inc.
1058 Bing Crosby                           The Very Thought Of You                 UMG Recordings, Inc.
                                           The Waiter And The Porter And The
1059 Bing Crosby                                                                   UMG Recordings, Inc.
                                           Upstairs Maid
1060 Bing Crosby                           The Way You Look Tonight                UMG Recordings, Inc.
1061 Bing Crosby                           There'S A Gold Mine In The Sky          UMG Recordings, Inc.
1062 Bing Crosby                           They Say It'S Wonderful                 UMG Recordings, Inc.
1063 Bing Crosby                           Till The End Of The World               UMG Recordings, Inc.
1064 Bing Crosby                           To You Sweetheart Aloha                 UMG Recordings, Inc.
1065 Bing Crosby                           Too Marvelous For Words                 UMG Recordings, Inc.
1066 Bing Crosby                           Top O' The Morning                      UMG Recordings, Inc.
1067 Bing Crosby                           Trade Winds                             UMG Recordings, Inc.
1068 Bing Crosby                           Tumbling Tumbleweeds                    UMG Recordings, Inc.
1069 Bing Crosby                           Twilight On The Trail                   UMG Recordings, Inc.
1070 Bing Crosby                           Wait Till The Sun Shines, Nellie        UMG Recordings, Inc.
1071 Bing Crosby                           We'Ll Rest At The End Of The Trail      UMG Recordings, Inc.
1072 Bing Crosby                           What A Friend We Have In Jesus          UMG Recordings, Inc.
1073 Bing Crosby                           What'S New?                             UMG Recordings, Inc.
1074 Bing Crosby                           When My Dream Boat Comes Home           UMG Recordings, Inc.
                                           When The Bloom Is On The Sage (Round
1075 Bing Crosby                                                                   UMG Recordings, Inc.
                                           Up Time In Texas)
1076 Bing Crosby                           Where The River Shannon Flows           UMG Recordings, Inc.
1077 Bing Crosby                           Whiffenpoof Song                        UMG Recordings, Inc.
1078 Bing Crosby                           White Christmas                         UMG Recordings, Inc.
1079 Bing Crosby                           With Every Breath I Take                UMG Recordings, Inc.
1080 Bing Crosby                           With My Shillelagh Under My Arm         UMG Recordings, Inc.
1081 Bing Crosby                           Y'All Come                              UMG Recordings, Inc.
1082 Bing Crosby                           Yes, Indeed!                            UMG Recordings, Inc.
1083 Bing Crosby                           You Are My Sunshine                     UMG Recordings, Inc.
1084 Bing Crosby                           You Belong To My Heart                  UMG Recordings, Inc.
                                           You Don'T Know What Lonesome Is (Till
1085 Bing Crosby                                                                   UMG Recordings, Inc.
                                           You Get To Herdin' Cows)
1086 Bing Crosby                           You Keep Coming Back Like A Song        UMG Recordings, Inc.
1087 Bing Crosby                           You Must Have Been A Beautiful Baby     UMG Recordings, Inc.
1088 Bing Crosby                           You'Re All I Want For Christmas         UMG Recordings, Inc.
1089 Bing Crosby                           Your Socks Don'T Match                  UMG Recordings, Inc.
1090 Bing Crosby                           Zing A Little Zong                      UMG Recordings, Inc.
1091 Bing Crosby And Jascha Heifetz        Where My Caravan Has Rested             UMG Recordings, Inc.
1092 Bing Crosby And Rhonda Fleming        Once And For Always                     UMG Recordings, Inc.
1093 Bing Crosby And The Andrew Sisters South America, Take It Away                UMG Recordings, Inc.

       Bing Crosby, Al Jolson, Morris Stoloff
1094                                          Alexander'S Ragtime Band             UMG Recordings, Inc.
       & His Orchestra



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                                                   EXHIBIT A
                                            Sound Recordings at Issue
     Bing Crosby, Axel Stordahl & His
1095                                       Autumn Leaves                              UMG Recordings, Inc.
     Orchestra
     Bing Crosby, Bob Crosby & His
1096                                       Let'S Start The New Year Off Right         UMG Recordings, Inc.
     Orchestra
1097 Bing Crosby, Bob Hope                 Chicago Style                              UMG Recordings, Inc.
1098 Bing Crosby, Bob Hope                 Hoot Mon                                   UMG Recordings, Inc.
1099 Bing Crosby, Bob Hope                 The Road To Bali                           UMG Recordings, Inc.
1100 Bing Crosby, Bob Hope, Peggy Lee      Merry-Go-Run-Around                        UMG Recordings, Inc.
     Bing Crosby, Bob Hope, Vic Schoen &
1101                                       Road To Morocco                            UMG Recordings, Inc.
     His Orchestra
                                           I Can'T Believe That You'Re In Love With
1102 Bing Crosby, Carmen Cavallaro                                                    UMG Recordings, Inc.
                                           Me
     Bing Crosby, Dick Mcintire & His
1103                                       My Isle Of Golden Dreams                   UMG Recordings, Inc.
     Harmony Hawaiians
1104 Bing Crosby, Evelyn Knight            How It Lies, How It Lies, How It Lies      UMG Recordings, Inc.
     Bing Crosby, Frances Langford, Louis Pennies From Heaven Medley: (1) Let'S
1105 Armstrong, Jimmy Dorsey And His       Call A Heart A Heart (2) So Do I (3)       UMG Recordings, Inc.
     Orchestra                             Skeleton In The Closet
     Bing Crosby, Fred Astaire, Bob
1106                                       I'Ll Capture Your Heart                    UMG Recordings, Inc.
     Crosby & His Orchestra
     Bing Crosby, Irving Aaronson & His
1107                                       Love In Bloom                              UMG Recordings, Inc.
     Commanders
     Bing Crosby, Jane Wyman, Matty
1108 Matlock'S All-Stars, Four Hits And A In The Cool, Cool, Cool Of The Evening      UMG Recordings, Inc.
     Miss
     Bing Crosby, John Scott Trotter & His I Found A Million Dollar Baby (In A Five
1109                                                                                  UMG Recordings, Inc.
     Orchestra                             And Ten Cent Store)
     Bing Crosby, John Scott Trotter & His
1110                                       I'Ll Take You Home Again, Kathleen         UMG Recordings, Inc.
     Orchestra
     Bing Crosby, John Scott Trotter & His
1111                                       Moonlight Becomes You                      UMG Recordings, Inc.
     Orchestra
     Bing Crosby, John Scott Trotter & His
1112                                       The Bells Of St. Mary'S                    UMG Recordings, Inc.
     Orchestra
     Bing Crosby, John Scott Trotter & His Too-Ra-Loo-Ra-Loo-Ral (That'S An Irish
1113                                                                                  UMG Recordings, Inc.
     Orchestra                             Lullaby)
1114 Bing Crosby, Judy Garland             Mine                                       UMG Recordings, Inc.
1115 Bing Crosby, Peggy Lee, Danny Kaye Snow                                          UMG Recordings, Inc.
1116 Bing Crosby, Russ Morgan              Among My Souvenirs                         UMG Recordings, Inc.
1117 Bing Crosby, Russ Morgan              So Would I                                 UMG Recordings, Inc.
                                           (There'Ll Be A) Hot Time In The Town Of
1118 Bing Crosby, The Andrews Sisters                                                 UMG Recordings, Inc.
                                           Berlin (When The Yanks Go Marching In)
1119 Bing Crosby, The Andrews Sisters      A Hundred And Sixty Acres                  UMG Recordings, Inc.
1120 Bing Crosby, The Andrews Sisters      Ac-Cent-Tchu-Ate The Positive              UMG Recordings, Inc.
1121 Bing Crosby, The Andrews Sisters      Along The Navajo Trail                     UMG Recordings, Inc.
1122 Bing Crosby, The Andrews Sisters      Apalachicola, Fla.                         UMG Recordings, Inc.
                                           Ask Me No Questions (And I'Ll Tell You
1123 Bing Crosby, The Andrews Sisters                                                 UMG Recordings, Inc.
                                           No Lies)
1124 Bing Crosby, The Andrews Sisters      At The Flying W                            UMG Recordings, Inc.
1125 Bing Crosby, The Andrews Sisters      Betsy                                      UMG Recordings, Inc.
1126 Bing Crosby, The Andrews Sisters      Black Ball Ferry Line                      UMG Recordings, Inc.


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                                                EXHIBIT A
                                         Sound Recordings at Issue
1127 Bing Crosby, The Andrews Sisters   Cool Water                                UMG Recordings, Inc.
1128 Bing Crosby, The Andrews Sisters   Don'T Fence Me In                         UMG Recordings, Inc.
1129 Bing Crosby, The Andrews Sisters   Forsaking All Others                      UMG Recordings, Inc.
1130 Bing Crosby, The Andrews Sisters   Go West, Young Man!                       UMG Recordings, Inc.
1131 Bing Crosby, The Andrews Sisters   Good, Good, Good                          UMG Recordings, Inc.
1132 Bing Crosby, The Andrews Sisters   Have I Told You Lately That I Love You?   UMG Recordings, Inc.
1133 Bing Crosby, The Andrews Sisters   High On The List                          UMG Recordings, Inc.
1134 Bing Crosby, The Andrews Sisters   Life Is So Peculiar                       UMG Recordings, Inc.
1135 Bing Crosby, The Andrews Sisters   Lock, Stock And Barrel                    UMG Recordings, Inc.
1136 Bing Crosby, The Andrews Sisters   Mele Kalikimaka                           UMG Recordings, Inc.
1137 Bing Crosby, The Andrews Sisters   Pistol Packin' Mama                       UMG Recordings, Inc.
1138 Bing Crosby, The Andrews Sisters   Poppa Santa Claus                         UMG Recordings, Inc.
1139 Bing Crosby, The Andrews Sisters   Quicksilver                               UMG Recordings, Inc.
1140 Bing Crosby, The Andrews Sisters   Santa Claus Is Comin' To Town             UMG Recordings, Inc.
1141 Bing Crosby, The Andrews Sisters   South Rampart Street Parade               UMG Recordings, Inc.
1142 Bing Crosby, The Andrews Sisters   Sparrow In The Tree Top                   UMG Recordings, Inc.
1143 Bing Crosby, The Andrews Sisters   Tallahassee                               UMG Recordings, Inc.
1144 Bing Crosby, The Andrews Sisters   The Freedom Train                         UMG Recordings, Inc.
1145 Bing Crosby, The Andrews Sisters   The Live Oak Tree                         UMG Recordings, Inc.
1146 Bing Crosby, The Andrews Sisters   The Three Caballeros                      UMG Recordings, Inc.
1147 Bing Crosby, The Andrews Sisters   The Yodeling Ghost                        UMG Recordings, Inc.
1148 Bing Crosby, The Andrews Sisters   There'S A Fella Waitin' In Poughkeepsie   UMG Recordings, Inc.
1149 Bing Crosby, The Andrews Sisters   Vict'Ry Polka                             UMG Recordings, Inc.
1150 Bing Crosby, The Andrews Sisters   Weddin' Day                               UMG Recordings, Inc.
1151 Bing Crosby, The Andrews Sisters   You Don'T Have To Know The Language       UMG Recordings, Inc.
1152 Bing Crosby, The Buddy Cole Trio   Allá En El Rancho Grande                  UMG Recordings, Inc.
1153 Bing Crosby, The Buddy Cole Trio   Just An Echo In The Valley                UMG Recordings, Inc.
1154 Bo Diddley                         Bo Diddley                                UMG Recordings, Inc.
1155 Bo Diddley                         Bring It To Jerome                        UMG Recordings, Inc.
1156 Bo Diddley                         I'M A Man                                 UMG Recordings, Inc.
1157 Bo Diddley                         Pretty Thing                              UMG Recordings, Inc.
1158 Bob Crosby & His Orchestra         I'M Free (What'S New?)                    UMG Recordings, Inc.
1159 Bob Crosby & His Orchestra         I'M Prayin' Humble                        UMG Recordings, Inc.
1160 Bob Crosby & His Orchestra         Little Rock Getaway                       UMG Recordings, Inc.
1161 Bob Crosby & His Orchestra         South Rampart Street Parade               UMG Recordings, Inc.
1162 Bob Crosby & His Orchestra         Wolverine Blues                           UMG Recordings, Inc.
1163 Bob Hope, Bing Crosby              Put It There, Pal                         UMG Recordings, Inc.
1164 Bobby Helms                        Captain Santa Claus                       UMG Recordings, Inc.
1165 Buddy Holly                        Everyday                                  UMG Recordings, Inc.
1166 Buddy Holly                        I'M Gonna Love You Too                    UMG Recordings, Inc.
1167 Buddy Holly                        Listen To Me                              UMG Recordings, Inc.
1168 Buddy Holly                        Peggy Sue                                 UMG Recordings, Inc.
1169 Burl Ives                          Foggy, Foggy Dew                          UMG Recordings, Inc.
1170 Burl Ives                          One Hour Ahead Of The Posse               UMG Recordings, Inc.
1171 Burl Ives                          Riddle Song                               UMG Recordings, Inc.
1172 Burl Ives                          The Ballad Of Davy Crockett               UMG Recordings, Inc.
1173 Burl Ives                          The Wild Side Of Life                     UMG Recordings, Inc.
1174 Burl Ives                          What Kind Of Animal Are You?              UMG Recordings, Inc.
1175 Carmen Cavallaro                   Autumn Leaves                             UMG Recordings, Inc.
1176 Carmen Cavallaro                   Dancing In The Dark                       UMG Recordings, Inc.


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                                              EXHIBIT A
                                       Sound Recordings at Issue
1177 Carmen Cavallaro                 Smoke Gets In Your Eyes                 UMG Recordings, Inc.
1178 Carmen Cavallaro                 To Love Again                           UMG Recordings, Inc.
1179 Chick Webb & The Little Chicks   I Got Rhythm                            UMG Recordings, Inc.
                                      (If You Can'T Sing It) You'Ll Have To
1180 Chick Webb And His Orchestra                                             UMG Recordings, Inc.
                                      Swing It
1181 Chick Webb And His Orchestra     A Little Bit Later On                   UMG Recordings, Inc.
1182 Chick Webb And His Orchestra     Blue Lou                                UMG Recordings, Inc.
1183 Chick Webb And His Orchestra     Blue Minor                              UMG Recordings, Inc.
1184 Chick Webb And His Orchestra     Clap Hands! Here Comes Charley!         UMG Recordings, Inc.
1185 Chick Webb And His Orchestra     Crying My Heart Out For You             UMG Recordings, Inc.
1186 Chick Webb And His Orchestra     Devoting My Time To You                 UMG Recordings, Inc.
1187 Chick Webb And His Orchestra     Don'T Be That Way                       UMG Recordings, Inc.
1188 Chick Webb And His Orchestra     Go Harlem                               UMG Recordings, Inc.
1189 Chick Webb And His Orchestra     Harlem Congo                            UMG Recordings, Inc.
1190 Chick Webb And His Orchestra     Have Mercy                              UMG Recordings, Inc.
1191 Chick Webb And His Orchestra     I Can'T Stop Loving You                 UMG Recordings, Inc.
1192 Chick Webb And His Orchestra     I Got The Spring Fever Blues            UMG Recordings, Inc.
1193 Chick Webb And His Orchestra     In The Groove At The Grove              UMG Recordings, Inc.
1194 Chick Webb And His Orchestra     It'S Slumbertime Along The Swanee       UMG Recordings, Inc.
1195 Chick Webb And His Orchestra     Liza (All The Clouds'Ll Roll Away)      UMG Recordings, Inc.
1196 Chick Webb And His Orchestra     Lona                                    UMG Recordings, Inc.
1197 Chick Webb And His Orchestra     Midnight In A Madhouse                  UMG Recordings, Inc.
1198 Chick Webb And His Orchestra     Spinnin' The Webb                       UMG Recordings, Inc.
1199 Chick Webb And His Orchestra     Squeeze Me                              UMG Recordings, Inc.
1200 Chick Webb And His Orchestra     Swinging On The Reservation             UMG Recordings, Inc.
1201 Chick Webb And His Orchestra     There'S Frost On The Moon               UMG Recordings, Inc.
1202 Chick Webb And His Orchestra     Vote For Mister Rhyhtm                  UMG Recordings, Inc.
1203 Chick Webb And His Orchestra     What A Shuffle                          UMG Recordings, Inc.
1204 Chick Webb And His Orchestra     Who Ya Hunchin'?                        UMG Recordings, Inc.
1205 Chuck Berry                      Beautiful Delilah                       UMG Recordings, Inc.
1206 Chuck Berry                      Blue Feeling                            UMG Recordings, Inc.
1207 Chuck Berry                      Brown Eyed Handsome Man                 UMG Recordings, Inc.
1208 Chuck Berry                      Deep Feeling                            UMG Recordings, Inc.
1209 Chuck Berry                      Jo Jo Gunne                             UMG Recordings, Inc.
1210 Chuck Berry                      La Jaunda                               UMG Recordings, Inc.
1211 Chuck Berry                      Maybellene                              UMG Recordings, Inc.
1212 Chuck Berry                      No Money Down                           UMG Recordings, Inc.
1213 Chuck Berry                      Oh Baby Doll                            UMG Recordings, Inc.
1214 Chuck Berry                      Reelin' And Rockin'                     UMG Recordings, Inc.
1215 Chuck Berry                      Rock And Roll Music                     UMG Recordings, Inc.
1216 Chuck Berry                      Roll Over Beethoven                     UMG Recordings, Inc.
1217 Chuck Berry                      School Day (Ring Ring Goes The Bell)    UMG Recordings, Inc.
1218 Chuck Berry                      Sweet Little Sixteen                    UMG Recordings, Inc.
1219 Chuck Berry                      The Downbound Train                     UMG Recordings, Inc.
1220 Chuck Berry                      Thirty Days                             UMG Recordings, Inc.
1221 Chuck Berry                      Together (We'Ll Always Be)              UMG Recordings, Inc.
1222 Chuck Berry                      Too Much Monkey Business                UMG Recordings, Inc.
1223 Chuck Berry                      Vacation Time                           UMG Recordings, Inc.
1224 Chuck Berry                      Wee Wee Hours                           UMG Recordings, Inc.
1225 Coleman Hawkins                  Ruby                                    UMG Recordings, Inc.


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1226 Count Basie                       Boogie Woogie                          UMG Recordings, Inc.
1227 Count Basie                       Hey Lawdy Mama                         UMG Recordings, Inc.
1228 Count Basie                       Paradise Squat                         UMG Recordings, Inc.
1229 Count Basie                       Royal Garden Blues                     UMG Recordings, Inc.
1230 Count Basie                       Sure Thing                             UMG Recordings, Inc.
1231 Count Basie                       When The Sun Goes Down                 UMG Recordings, Inc.
1232 Count Basie                       Why Not                                UMG Recordings, Inc.
1233 Count Basie And His Orchestra     Blame It On My Last Affair             UMG Recordings, Inc.
1234 Count Basie And His Orchestra     Blue And Sentimental                   UMG Recordings, Inc.
1235 Count Basie And His Orchestra     Blues In The Dark                      UMG Recordings, Inc.
1236 Count Basie And His Orchestra     Cherokee                               UMG Recordings, Inc.
1237 Count Basie And His Orchestra     Doggin' Around                         UMG Recordings, Inc.
1238 Count Basie And His Orchestra     Don'T You Miss Your Baby?              UMG Recordings, Inc.
1239 Count Basie And His Orchestra     Dupree Blues                           UMG Recordings, Inc.
1240 Count Basie And His Orchestra     Every Tub                              UMG Recordings, Inc.
1241 Count Basie And His Orchestra     Fare Thee Honey, Fare Thee Well        UMG Recordings, Inc.
1242 Count Basie And His Orchestra     Good Morning Blues                     UMG Recordings, Inc.
1243 Count Basie And His Orchestra     Hob Nail Boogie                        UMG Recordings, Inc.
1244 Count Basie And His Orchestra     Honeysuckle Rose                       UMG Recordings, Inc.
1245 Count Basie And His Orchestra     How Long Blues                         UMG Recordings, Inc.
1246 Count Basie And His Orchestra     I Want A Little Girl                   UMG Recordings, Inc.
1247 Count Basie And His Orchestra     Jive At Five                           UMG Recordings, Inc.
1248 Count Basie And His Orchestra     John'S Idea                            UMG Recordings, Inc.
1249 Count Basie And His Orchestra     Jumpin' At The Woodside                UMG Recordings, Inc.
                                       Mama Don'T Want No Peas 'N' Rice 'N'
1250 Count Basie And His Orchestra                                            UMG Recordings, Inc.
                                       Coconut Oil
1251 Count Basie And His Orchestra     One O'Clock Jump                       UMG Recordings, Inc.
1252 Count Basie And His Orchestra     Our Love Was Meant To Be               UMG Recordings, Inc.
1253 Count Basie And His Orchestra     Out The Window                         UMG Recordings, Inc.
1254 Count Basie And His Orchestra     Panassie Stomp                         UMG Recordings, Inc.
1255 Count Basie And His Orchestra     Pennies From Heaven                    UMG Recordings, Inc.
1256 Count Basie And His Orchestra     Red Wagon                              UMG Recordings, Inc.
1257 Count Basie And His Orchestra     Roseland Shuffle                       UMG Recordings, Inc.
1258 Count Basie And His Orchestra     Sent For You Yesterday                 UMG Recordings, Inc.
1259 Count Basie And His Orchestra     Shorty George                          UMG Recordings, Inc.
1260 Count Basie And His Orchestra     Song Of The Islands                    UMG Recordings, Inc.
1261 Count Basie And His Orchestra     Texas Shuffle                          UMG Recordings, Inc.
1262 Count Basie And His Orchestra     The Blues I Like To Hear               UMG Recordings, Inc.
1263 Count Basie And His Orchestra     The Dirty Dozens                       UMG Recordings, Inc.
1264 Count Basie And His Orchestra     Time Out                               UMG Recordings, Inc.
1265 Count Basie And His Orchestra     Topsy                                  UMG Recordings, Inc.
     Count Basie And His Orchestra,
1266                                    Let Me Dream                          UMG Recordings, Inc.
     Benny Morton
     Count Basie And His Orchestra,
     Benny Morton, Jimmy Rushing, Buck I Keep Remembering (Someone I Should
1267                                                                          UMG Recordings, Inc.
     Clayton, Herschel Evans, Bobby     Forget)
     Moore
     Count Basie And His Orchestra,
1268 Benny Morton, Lester Young, Dickie London Bridge Is Falling Down         UMG Recordings, Inc.
     Wells


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                                                  EXHIBIT A
                                           Sound Recordings at Issue
     Count Basie And His Orchestra,
1269                                     The Glory Of Love                         UMG Recordings, Inc.
     Bobby Moore, Herschel Evans
     Count Basie And His Orchestra, Buck
1270                                     My Heart Belongs To Daddy                 UMG Recordings, Inc.
     Clayton
     Count Basie And His Orchestra, Buck
1271                                     Smarty (You Know It All)                  UMG Recordings, Inc.
     Clayton, Herschel Evans
     Count Basie And His Orchestra, Buck
1272                                     Swinging At The Daisy Chain               UMG Recordings, Inc.
     Clayton, Herschel Evans
     Count Basie And His Orchestra,
1273                                     Now Will You Be Good?                     UMG Recordings, Inc.
     Harry Edison
     Count Basie And His Orchestra,
1274                                     Stop Beatin' 'Round The Mulberry Bush     UMG Recordings, Inc.
     Herschel Evans
     Count Basie And His Orchestra,
1275                                     Georgianna                                UMG Recordings, Inc.
     Herschel Evans, Lester Young
     Count Basie And His Orchestra, Jack
1276 Washington, Buck Clayton, Jimmy     Boo Hoo                                   UMG Recordings, Inc.
     Rushing, Bobby Moore

     Count Basie And His Orchestra, Jack
1277 Washington, Jimmy Rushing, Buck Exactly Like You                              UMG Recordings, Inc.
     Clayton, Lester Young, Bobby Moore

     Count Basie And His Orchestra,
1278                                     Do You Wanna Jump, Children               UMG Recordings, Inc.
     Jimmy Rushing, Lester Young
     Count Basie And His Orchestra,
1279                                     Dark Rapture                              UMG Recordings, Inc.
     Lester Young
     Count Basie And His Orchestra,
1280                                     Listen My Children (And You Shall Hear)   UMG Recordings, Inc.
     Lester Young
     Count Basie And His Orchestra, Shad
1281                                     Thursday                                  UMG Recordings, Inc.
     Collins
     Count Basie And His Orchestra, Shad
1282                                     Sing For Your Supper                      UMG Recordings, Inc.
     Collins, Dickie Wells, Ed Lewis
1283 Count Basie Quartet                 Oh! Red                                   UMG Recordings, Inc.
     Count Basie Sextet, Jimmy Rushing,
1284                                     You Can Depend On Me                      UMG Recordings, Inc.
     Shad Collins, Lester Young
1285 Count Basie Sextet, Joe Newman      Oh Lady Be Good                           UMG Recordings, Inc.
1286 Danny Kaye                          Tubby The Tuba                            UMG Recordings, Inc.
1287 Dinah Washington                    Don'T Say You'Re Sorry Again              UMG Recordings, Inc.
1288 Dinah Washington                    I Won'T Cry Anymore                       UMG Recordings, Inc.
1289 Dinah Washington                    Why Can'T You Behave?                     UMG Recordings, Inc.
     Duke Ellington & His Famous
1290                                     Creole Rhapsody                           UMG Recordings, Inc.
     Orchestra
1291 Duke Ellington & His Orchestra      East St. Louis Toodle-Oo                  UMG Recordings, Inc.
1292 Duke Ellington & His Orchestra      Tishomingo Blues                          UMG Recordings, Inc.
1293 Duke Ellington & His Orchestra      Yellow Dog Blues                          UMG Recordings, Inc.
     Duke Ellington And His Cotton Club
1294                                     Jubilee Stomp                             UMG Recordings, Inc.
     Orchestra
     Duke Ellington And His Cotton Club
1295                                     Louisiana                                 UMG Recordings, Inc.
     Orchestra
     Duke Ellington And His Cotton Club
1296                                     The Mooche                                UMG Recordings, Inc.
     Orchestra


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                                               EXHIBIT A
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     Duke Ellington And His Cotton Club
1297 Orchestra, The Washingtonians, The Take It Easy                         UMG Recordings, Inc.
     Hotsy Totsy Gang
     Duke Ellington And His Famous
1298                                      Drop Me Off At Harlem              UMG Recordings, Inc.
     Orchestra
     Duke Ellington And His Kentucky Club
1299                                      Birmingham Breakdown               UMG Recordings, Inc.
     Orchestra
     Duke Ellington And His Kentucky Club
1300                                      Immigration Blues                  UMG Recordings, Inc.
     Orchestra
     Duke Ellington And His Kentucky Club
1301                                      The Creeper                        UMG Recordings, Inc.
     Orchestra
1302 Duke Ellington, The Jungle Band      Mood Indigo                        UMG Recordings, Inc.
1303 Eddie Condon And His Chicagoans      There'Ll Be Some Changes Made      UMG Recordings, Inc.
1304 Ella Fitzgerald                      A Beautiful Friendship             UMG Recordings, Inc.
1305 Ella Fitzgerald                      A Guy Is A Guy                     UMG Recordings, Inc.
1306 Ella Fitzgerald                      A Kiss Goodnight                   UMG Recordings, Inc.
1307 Ella Fitzgerald                      A Man Wrote A Song                 UMG Recordings, Inc.
1308 Ella Fitzgerald                      A Satisfied Mind                   UMG Recordings, Inc.
1309 Ella Fitzgerald                      A Sunday Kind Of Love              UMG Recordings, Inc.
1310 Ella Fitzgerald                      A-Tisket, A-Tasket                 UMG Recordings, Inc.
1311 Ella Fitzgerald                      Air Mail Special                   UMG Recordings, Inc.
1312 Ella Fitzgerald                      An Empty Ballroom                  UMG Recordings, Inc.
1313 Ella Fitzgerald                      Angel Eyes                         UMG Recordings, Inc.
1314 Ella Fitzgerald                      Baby                               UMG Recordings, Inc.
1315 Ella Fitzgerald                      Baby Doll                          UMG Recordings, Inc.
1316 Ella Fitzgerald                      Baby It'S Cold Outside             UMG Recordings, Inc.
1317 Ella Fitzgerald                      Because Of Rain                    UMG Recordings, Inc.
1318 Ella Fitzgerald                      Benny'S Coming Home On Saturday    UMG Recordings, Inc.
1319 Ella Fitzgerald                      Black Coffee                       UMG Recordings, Inc.
1320 Ella Fitzgerald                      Blue Lou                           UMG Recordings, Inc.
1321 Ella Fitzgerald                      But Not For Me                     UMG Recordings, Inc.
1322 Ella Fitzgerald                      But Not Like Mine                  UMG Recordings, Inc.
1323 Ella Fitzgerald                      Careless                           UMG Recordings, Inc.
                                          Chew-Chew-Chew (Chew Your Bubble
1324 Ella Fitzgerald                                                         UMG Recordings, Inc.
                                          Gum)
1325 Ella Fitzgerald                      Come On-A My House                 UMG Recordings, Inc.
1326 Ella Fitzgerald                      Confessin' (That I Love You)       UMG Recordings, Inc.
1327 Ella Fitzgerald                      Coochi-Coochi-Coo                  UMG Recordings, Inc.
1328 Ella Fitzgerald                      Cryin' Mood                        UMG Recordings, Inc.
1329 Ella Fitzgerald                      Crying                             UMG Recordings, Inc.
1330 Ella Fitzgerald                      Crying In The Chapel               UMG Recordings, Inc.
1331 Ella Fitzgerald                      Ding-Dong Boogie                   UMG Recordings, Inc.
1332 Ella Fitzgerald                      Do You Really Love Me?             UMG Recordings, Inc.
1333 Ella Fitzgerald                      Don'T Wake Me Up                   UMG Recordings, Inc.
1334 Ella Fitzgerald                      Don'T You Think I Ought To Know    UMG Recordings, Inc.
1335 Ella Fitzgerald                      Dream A Little Longer              UMG Recordings, Inc.
1336 Ella Fitzgerald                      Early Autumn                       UMG Recordings, Inc.
1337 Ella Fitzgerald                      Ella                               UMG Recordings, Inc.
1338 Ella Fitzgerald                      Ella'S Contribution To The Blues   UMG Recordings, Inc.
1339 Ella Fitzgerald                      Even As You And I                  UMG Recordings, Inc.


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                                         EXHIBIT A
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1340 Ella Fitzgerald             Everybody Step                          UMG Recordings, Inc.
1341 Ella Fitzgerald             F.D.R. Jones                            UMG Recordings, Inc.
1342 Ella Fitzgerald             Flying Home                             UMG Recordings, Inc.
1343 Ella Fitzgerald             Foolish Tears                           UMG Recordings, Inc.
1344 Ella Fitzgerald             Gee, But I'M Glad To Know You Love Me   UMG Recordings, Inc.
1345 Ella Fitzgerald             Give A Little, Get A Little             UMG Recordings, Inc.
1346 Ella Fitzgerald             Goody, Goody                            UMG Recordings, Inc.
1347 Ella Fitzgerald             Gotta Pebble In My Shoe                 UMG Recordings, Inc.
1348 Ella Fitzgerald             Hallelujah!                             UMG Recordings, Inc.
1349 Ella Fitzgerald             Happy Talk                              UMG Recordings, Inc.
1350 Ella Fitzgerald             Hard Hearted Hannah                     UMG Recordings, Inc.
1351 Ella Fitzgerald             Holiday In Harlem                       UMG Recordings, Inc.
1352 Ella Fitzgerald             How High The Moon                       UMG Recordings, Inc.
1353 Ella Fitzgerald             I Can'T Go On (Without You)             UMG Recordings, Inc.
1354 Ella Fitzgerald             I Can'T Lie To Myself                   UMG Recordings, Inc.
1355 Ella Fitzgerald             I Couldn'T Stay Away From You           UMG Recordings, Inc.
1356 Ella Fitzgerald             I Didn'T Mean A Word I Said             UMG Recordings, Inc.
                                 I Don'T Want The World (With A Fence
1357 Ella Fitzgerald                                                     UMG Recordings, Inc.
                                 Around It)
1358 Ella Fitzgerald             I Don'T Want To Take A Chance           UMG Recordings, Inc.
1359 Ella Fitzgerald             I Found My Yellow Basket                UMG Recordings, Inc.
1360 Ella Fitzgerald             I Got A Guy                             UMG Recordings, Inc.
1361 Ella Fitzgerald             I Hadn'T Anyone Till You                UMG Recordings, Inc.
1362 Ella Fitzgerald             I Let A Tear Fall In The River          UMG Recordings, Inc.
1363 Ella Fitzgerald             I Still Feel The Same About You         UMG Recordings, Inc.
1364 Ella Fitzgerald             I Want To Be Happy                      UMG Recordings, Inc.
1365 Ella Fitzgerald             I Wished On The Moon                    UMG Recordings, Inc.
1366 Ella Fitzgerald             I Wonder What Kind Of A Guy You'D Be    UMG Recordings, Inc.
                                 I'M Gonna Wash That Man Right Outa
1367 Ella Fitzgerald                                                     UMG Recordings, Inc.
                                 My Hair
1368 Ella Fitzgerald             I'M Just A Jitterbug                    UMG Recordings, Inc.
1369 Ella Fitzgerald             I'M Waitin' For The Junkman             UMG Recordings, Inc.
1370 Ella Fitzgerald             I'Ve Got The World On A String          UMG Recordings, Inc.
1371 Ella Fitzgerald             If Dreams Come True                     UMG Recordings, Inc.
1372 Ella Fitzgerald             If You Don'T, I Know Who Will           UMG Recordings, Inc.
1373 Ella Fitzgerald             In My Dreams                            UMG Recordings, Inc.
                                 In The Evening (When The Sun Goes
1374 Ella Fitzgerald                                                     UMG Recordings, Inc.
                                 Down)
1375 Ella Fitzgerald             It'S A Pity To Say Goodnight            UMG Recordings, Inc.
1376 Ella Fitzgerald             It'S Foxy                               UMG Recordings, Inc.
1377 Ella Fitzgerald             It'S Too Soon To Know                   UMG Recordings, Inc.
1378 Ella Fitzgerald             Just A Simple Melody                    UMG Recordings, Inc.
1379 Ella Fitzgerald             Lady Bug                                UMG Recordings, Inc.
1380 Ella Fitzgerald             Later                                   UMG Recordings, Inc.
1381 Ella Fitzgerald             Let'S Do It (Let'S Fall In Love)        UMG Recordings, Inc.
                                 Little Small Town Girl (With The Big
1382 Ella Fitzgerald                                                     UMG Recordings, Inc.
                                 Town Dreams)
1383 Ella Fitzgerald             Little White Lies                       UMG Recordings, Inc.
1384 Ella Fitzgerald             Lonesome Gal                            UMG Recordings, Inc.
1385 Ella Fitzgerald             Looking For A Boy                       UMG Recordings, Inc.


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                                         EXHIBIT A
                                  Sound Recordings at Issue
1386 Ella Fitzgerald             Love Is The Thing, So They Say              UMG Recordings, Inc.
1387 Ella Fitzgerald             Love You Madly                              UMG Recordings, Inc.
1388 Ella Fitzgerald             Love, You'Re Just A Laugh                   UMG Recordings, Inc.
1389 Ella Fitzgerald             Lover'S Gold                                UMG Recordings, Inc.
1390 Ella Fitzgerald             Lullaby Of Birdland                         UMG Recordings, Inc.
1391 Ella Fitzgerald             M-I-S-S-I-S-S-I-P-P-I                       UMG Recordings, Inc.
1392 Ella Fitzgerald             Manhattan                                   UMG Recordings, Inc.
1393 Ella Fitzgerald             Melancholy Me                               UMG Recordings, Inc.
1394 Ella Fitzgerald             Midnight Sun                                UMG Recordings, Inc.
1395 Ella Fitzgerald             Mixed Emotions                              UMG Recordings, Inc.

1396 Ella Fitzgerald             Molasses, Molasses (It'S Icky Sticky Goo)   UMG Recordings, Inc.

                                 My Baby Likes To Bebop (And I Like To
1397 Ella Fitzgerald                                                         UMG Recordings, Inc.
                                 Bebop Too)
1398 Ella Fitzgerald             My Favorite Song                            UMG Recordings, Inc.
1399 Ella Fitzgerald             My Happiness                                UMG Recordings, Inc.
1400 Ella Fitzgerald             My Heart Belongs To Daddy                   UMG Recordings, Inc.
1401 Ella Fitzgerald             My One And Only Love                        UMG Recordings, Inc.
1402 Ella Fitzgerald             No Sense                                    UMG Recordings, Inc.
1403 Ella Fitzgerald             Nowhere Guy                                 UMG Recordings, Inc.
1404 Ella Fitzgerald             Oh, Lady Be Good!                           UMG Recordings, Inc.
1405 Ella Fitzgerald             Oh, Yes, Take Another Guess                 UMG Recordings, Inc.
1406 Ella Fitzgerald             Old Mother Hubbard                          UMG Recordings, Inc.
1407 Ella Fitzgerald             Once Too Often                              UMG Recordings, Inc.
1408 Ella Fitzgerald             One Side Of Me                              UMG Recordings, Inc.
1409 Ella Fitzgerald             Out Of Nowhere                              UMG Recordings, Inc.
1410 Ella Fitzgerald             Pack Up Your Sins And Go To The Devil       UMG Recordings, Inc.
1411 Ella Fitzgerald             Peas And Rice                               UMG Recordings, Inc.
1412 Ella Fitzgerald             Pete Kelly'S Blues                          UMG Recordings, Inc.
1413 Ella Fitzgerald             Preview                                     UMG Recordings, Inc.
1414 Ella Fitzgerald             Rhythm And Romance                          UMG Recordings, Inc.
1415 Ella Fitzgerald             Rock It For Me                              UMG Recordings, Inc.
1416 Ella Fitzgerald             Rough Ridin'                                UMG Recordings, Inc.
1417 Ella Fitzgerald             Santa Claus Got Stuck (In My Chimney)       UMG Recordings, Inc.
1418 Ella Fitzgerald             Sentimental Journey                         UMG Recordings, Inc.
                                 Sing Me A Swing Song (And Let Me
1419 Ella Fitzgerald                                                         UMG Recordings, Inc.
                                 Dance)
1420 Ella Fitzgerald             Smooth Sailing                              UMG Recordings, Inc.
1421 Ella Fitzgerald             Soldier Boy                                 UMG Recordings, Inc.
1422 Ella Fitzgerald             Solid As A Rock                             UMG Recordings, Inc.
                                 Somebody Bad Stole De Wedding Bell
1423 Ella Fitzgerald                                                         UMG Recordings, Inc.
                                 (Who'S Got The Ding Dong?)
1424 Ella Fitzgerald             Somebody Nobody Loves                       UMG Recordings, Inc.
1425 Ella Fitzgerald             Someone Like You                            UMG Recordings, Inc.
1426 Ella Fitzgerald             Stairway To The Stars                       UMG Recordings, Inc.
1427 Ella Fitzgerald             Stay There                                  UMG Recordings, Inc.
1428 Ella Fitzgerald             Stone Cold Dead In The Market               UMG Recordings, Inc.
1429 Ella Fitzgerald             Sugar Pie                                   UMG Recordings, Inc.
1430 Ella Fitzgerald             Sugarfoot Rag                               UMG Recordings, Inc.



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                                            EXHIBIT A
                                     Sound Recordings at Issue
                                    Tain'T What You Do (It'S The Way That
1431 Ella Fitzgerald                                                        UMG Recordings, Inc.
                                    Cha Do It)
1432 Ella Fitzgerald                Talk Fast, My Heart, Talk Fast          UMG Recordings, Inc.
1433 Ella Fitzgerald                Tea Leaves                              UMG Recordings, Inc.
1434 Ella Fitzgerald                That Old Feeling                        UMG Recordings, Inc.
1435 Ella Fitzgerald                That Was My Heart                       UMG Recordings, Inc.
1436 Ella Fitzgerald                That'S My Desire                        UMG Recordings, Inc.
1437 Ella Fitzgerald                The Bean Bag Song                       UMG Recordings, Inc.
1438 Ella Fitzgerald                The Chesapeake And Ohio                 UMG Recordings, Inc.
1439 Ella Fitzgerald                The Dipsy Doodle                        UMG Recordings, Inc.
1440 Ella Fitzgerald                The Greatest There Is                   UMG Recordings, Inc.
1441 Ella Fitzgerald                The Hot Canary                          UMG Recordings, Inc.
1442 Ella Fitzgerald                The Impatient Years                     UMG Recordings, Inc.
1443 Ella Fitzgerald                The Tender Trap                         UMG Recordings, Inc.
1444 Ella Fitzgerald                There Never Was A Baby Like My Baby     UMG Recordings, Inc.
1445 Ella Fitzgerald                Time Alone Will Tell                    UMG Recordings, Inc.
1446 Ella Fitzgerald                To Make A Mistake Is Human              UMG Recordings, Inc.
1447 Ella Fitzgerald                Trying                                  UMG Recordings, Inc.
1448 Ella Fitzgerald                Undecided                               UMG Recordings, Inc.
1449 Ella Fitzgerald                Wacky Dust                              UMG Recordings, Inc.
1450 Ella Fitzgerald                Walkin' By The River                    UMG Recordings, Inc.
1451 Ella Fitzgerald                What Will I Tell My Heart               UMG Recordings, Inc.
1452 Ella Fitzgerald                When I Get Low I Get High               UMG Recordings, Inc.
                                    When The Hands Of The Clock Pray At
1453 Ella Fitzgerald                                                        UMG Recordings, Inc.
                                    Midnight
1454 Ella Fitzgerald                Who'S Afraid (Not I, Not I, Not I)      UMG Recordings, Inc.
                                    You'Re Breaking In A New Heart (While
1455 Ella Fitzgerald                                                        UMG Recordings, Inc.
                                    You'Re Breaking Mine)
     Ella Fitzgerald & Her Famous
1456                                Baby, What Else Can I Do?               UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1457                                Baby, Won'T You Please Come Home?       UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1458                                Betcha Nickel                           UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1459                                Billy (I Always Dream Of Billy)         UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1460                                Cabin In The Sky                        UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1461                                Can'T Help Lovin' Dat Man               UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1462                                Deedle-De-Dum                           UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1463                                Five O'Clock Whistle                    UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1464                                Gulf Coast Blues                        UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1465                                Heart Of Mine                           UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1466                                Hello Ma! I Done It Again               UMG Recordings, Inc.
     Orchestra


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                                            EXHIBIT A
                                     Sound Recordings at Issue
     Ella Fitzgerald & Her Famous   I Can'T Believe That You'Re In Love With
1467                                                                           UMG Recordings, Inc.
     Orchestra                      Me
     Ella Fitzgerald & Her Famous
1468                                I Fell In Love With A Dream                UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1469                                I Got It Bad (And That Ain'T Good)         UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1470                                I Must Have That Man                       UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1471                                I Want The Waiter (With The Water)         UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1472                                I'M Not Complainin'                        UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1473                                I'M Thrilled                               UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1474                                If It Weren'T For You                      UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1475                                Imagination                                UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1476                                Is There Somebody Else?                    UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1477                                Jim                                        UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1478                                Keep Cool, Fool                            UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1479                                Louisville, K-Y                            UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1480                                Make Love To Me                            UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1481                                Melinda The Mousie                         UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1482                                Moon Ray                                   UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1483                                My Last Goodbye                            UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1484                                My Man (Mon Homme)                         UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1485                                My Wubba Dolly                             UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1486                                No Nothing                                 UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1487                                Please Tell Me The Truth                   UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1488                                Shake Down The Stars                       UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1489                                Sing Song Swing                            UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1490                                So Long                                    UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1491                                Sugar Blues                                UMG Recordings, Inc.
     Orchestra


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                                            Sound Recordings at Issue
     Ella Fitzgerald & Her Famous
1492                                       Taking A Chance On Love                  UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous          The One I Love Belongs To Somebody
1493                                                                                UMG Recordings, Inc.
     Orchestra                             Else
     Ella Fitzgerald & Her Famous
1494                                       The Starlit Hour                         UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1495                                       This Love Of Mine                        UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1496                                       Three Little Words                       UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1497                                       What'S The Matter With Me?               UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1498                                       When My Sugar Walks Down The Street      UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1499                                       Wishful Thinking                         UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1500                                       You Don'T Know What Love Is              UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald & Her Famous
1501                                       You'Re Gonna Lose Your Gal               UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald And Her Famous
1502                                       I'M The Lonesomest Gal In Town           UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald And Her Famous
1503                                       That'S All Brother                       UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald And Her Famous
1504                                       The Muffin Man                           UMG Recordings, Inc.
     Orchestra
1505 Ella Fitzgerald And Her Four Keys     I'M Gettin' Mighty Lonesome For You      UMG Recordings, Inc.
                                           When I Come Back Crying (Will You Be
1506 Ella Fitzgerald And Her Four Keys                                              UMG Recordings, Inc.
                                           Laughing At Me)
1507 Ella Fitzgerald And Her Orchestra     Who Are You?                             UMG Recordings, Inc.
1508 Ella Fitzgerald And Her Savoy Eight   (I’Ve Been) Saving Myself For You        UMG Recordings, Inc.
1509 Ella Fitzgerald And Her Savoy Eight   (Oh! Oh!) What Do You Know About Love    UMG Recordings, Inc.

1510 Ella Fitzgerald And Her Savoy Eight   All Over Nothing At All                  UMG Recordings, Inc.
1511 Ella Fitzgerald And Her Savoy Eight   Darktown Strutters Ball                  UMG Recordings, Inc.
1512 Ella Fitzgerald And Her Savoy Eight   Deep In The Heart Of The South           UMG Recordings, Inc.
1513 Ella Fitzgerald And Her Savoy Eight   Don'T Worry 'Bout Me                     UMG Recordings, Inc.
1514 Ella Fitzgerald And Her Savoy Eight   Everyone'S Wrong But Me                  UMG Recordings, Inc.
1515 Ella Fitzgerald And Her Savoy Eight   I Had To Live And Learn                  UMG Recordings, Inc.
1516 Ella Fitzgerald And Her Savoy Eight   I Was Doing All Right                    UMG Recordings, Inc.
1517 Ella Fitzgerald And Her Savoy Eight   If Anything Happened To You              UMG Recordings, Inc.
                                           If That'S What You'Re Thinking, You'Re
1518 Ella Fitzgerald And Her Savoy Eight                                            UMG Recordings, Inc.
                                           Wrong
1519 Ella Fitzgerald And Her Savoy Eight   If You Ever Change Your Mind             UMG Recordings, Inc.
1520 Ella Fitzgerald And Her Savoy Eight   If You Ever Should Leave                 UMG Recordings, Inc.
1521 Ella Fitzgerald And Her Savoy Eight   If You Only Knew                         UMG Recordings, Inc.
1522 Ella Fitzgerald And Her Savoy Eight   It'S My Turn Now                         UMG Recordings, Inc.
1523 Ella Fitzgerald And Her Savoy Eight   It'S Wonderful                           UMG Recordings, Inc.
1524 Ella Fitzgerald And Her Savoy Eight   My Last Affair                           UMG Recordings, Inc.
1525 Ella Fitzgerald And Her Savoy Eight   Once Is Enough For Me                    UMG Recordings, Inc.


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                                                   EXHIBIT A
                                            Sound Recordings at Issue
1526 Ella Fitzgerald And Her Savoy Eight   Organ Grinder'S Swing                       UMG Recordings, Inc.
1527 Ella Fitzgerald And Her Savoy Eight   Shine                                       UMG Recordings, Inc.
1528 Ella Fitzgerald And Her Savoy Eight   Strictly From Dixie                         UMG Recordings, Inc.
1529 Ella Fitzgerald And Her Savoy Eight   This Time It'S Real                         UMG Recordings, Inc.
1530 Ella Fitzgerald And Her Savoy Eight   We Can'T Go On This Way                     UMG Recordings, Inc.
1531 Ella Fitzgerald And Her Savoy Eight   Woe Is Me                                   UMG Recordings, Inc.
                                           You Can'T Be Mine (And Someone Else'S,
1532 Ella Fitzgerald And Her Savoy Eight                                               UMG Recordings, Inc.
                                           Too)
1533 Ella Fitzgerald And Ink Spots         Cow Cow Boogie (Cuma-Ti-Yi-Yi-Ay)           UMG Recordings, Inc.
1534 Ella Fitzgerald And Louis Jordan      Ain'T Nobody'S Business If I Do             UMG Recordings, Inc.
1535 Ella Fitzgerald And The Keys          (I Put) A Four Leaf Clover In Your Pocket   UMG Recordings, Inc.
1536 Ella Fitzgerald And The Keys          All I Need Is You                           UMG Recordings, Inc.
                                           He'S My Guy (Nobody Knows Better Than
1537 Ella Fitzgerald And The Keys                                                      UMG Recordings, Inc.
                                           I)
1538 Ella Fitzgerald And The Keys          Mama Come Home                              UMG Recordings, Inc.
1539 Ella Fitzgerald And The Keys          My Heart And I Decided                      UMG Recordings, Inc.
     Ella Fitzgerald, Billy Kyle And His
1540                                      I'M Just A Lucky So-And-So                   UMG Recordings, Inc.
     Trio
     Ella Fitzgerald, Chick Webb And His
1541                                      I'M Up A Tree                                UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald, Chick Webb And His
1542                                      Wake Up And Live                             UMG Recordings, Inc.
     Orchestra
     Ella Fitzgerald, Eddie Heywood & His
1543                                      Guilty                                       UMG Recordings, Inc.
     Orchestra
1544 Ella Fitzgerald, Louis Armstrong     Necessary Evil                               UMG Recordings, Inc.
1545 Ella Fitzgerald, Louis Armstrong     Oops!                                        UMG Recordings, Inc.
1546 Ella Fitzgerald, Louis Armstrong     Who Walks In When I Walk Out?                UMG Recordings, Inc.
1547 Ella Fitzgerald, Louis Armstrong     Would You Like To Take A Walk?               UMG Recordings, Inc.
                                          You Won'T Be Satisfied (Until You Break
1548 Ella Fitzgerald, Louis Armstrong                                                  UMG Recordings, Inc.
                                          My Heart)
     Ella Fitzgerald, Louis Jordan & His
1549                                      Don'T Cry, Cry Baby                          UMG Recordings, Inc.
     Tympany Five
     Ella Fitzgerald, Louis Jordan & His
1550                                      Petootie Pie                                 UMG Recordings, Inc.
     Tympany Five
     Ella Fitzgerald, Louise Jordan & His
1551                                      I'Ll Never Be Free                           UMG Recordings, Inc.
     Typmany Five
1552 Ella Fitzgerald, The Day Dreamers    I Want To Learn About Love                   UMG Recordings, Inc.
1553 Ella Fitzgerald, The Day Dreamers    You Turned The Tables On Me                  UMG Recordings, Inc.
     Ella Fitzgerald, The Delta Rhythm
1554                                      (I Love You) For Sentimental Reasons         UMG Recordings, Inc.
     Boys
     Ella Fitzgerald, The Delta Rhythm
1555                                      Cry You Out Of My Heart                      UMG Recordings, Inc.
     Boys
     Ella Fitzgerald, The Delta Rhythm
1556                                      It'S Only A Paper Moon                       UMG Recordings, Inc.
     Boys
1557 Ella Fitzgerald, The Mills Brothers  I Gotta Have My Baby Back                    UMG Recordings, Inc.
1558 Ella Fitzgerald, The Song Spinners   And Her Tears Flowed Like Wine               UMG Recordings, Inc.
1559 Ella Fitzgerald, The Song Spinners   I'M Confessin' That I Love You               UMG Recordings, Inc.
1560 Ernest Tubb                          Answer The Phone                             UMG Recordings, Inc.
1561 Ernest Tubb                          Blue Eyed Elaine                             UMG Recordings, Inc.
1562 Ernest Tubb                          Careless Darlin                              UMG Recordings, Inc.


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                                         Sound Recordings at Issue
1563 Ernest Tubb                        Driftwood On The River                     UMG Recordings, Inc.
1564 Ernest Tubb                        Drivin' Nails In My Coffin                 UMG Recordings, Inc.
1565 Ernest Tubb                        Filipino Baby                              UMG Recordings, Inc.
1566 Ernest Tubb                        Fortunes In Memories                       UMG Recordings, Inc.
1567 Ernest Tubb                        Give Me A Little Old Fashioned Love        UMG Recordings, Inc.
                                        Have You Ever Been Lonely (Have You
1568 Ernest Tubb                                                                   UMG Recordings, Inc.
                                        Ever Been Blue)?
1569 Ernest Tubb                        I Love You Because                         UMG Recordings, Inc.
1570 Ernest Tubb                        I Wonder Why You Said Goodbye              UMG Recordings, Inc.
1571 Ernest Tubb                        I'Ll Get Along Somehow                     UMG Recordings, Inc.
1572 Ernest Tubb                        It'S Been So Long Darling                  UMG Recordings, Inc.
1573 Ernest Tubb                        Let'S Say Goodbye Like We Said Hello       UMG Recordings, Inc.
1574 Ernest Tubb                        Letters Have No Arms                       UMG Recordings, Inc.
1575 Ernest Tubb                        May The Good Lord Bless And Keep You       UMG Recordings, Inc.
1576 Ernest Tubb                        Missing In Action                          UMG Recordings, Inc.
1577 Ernest Tubb                        Our Baby'S Book                            UMG Recordings, Inc.
1578 Ernest Tubb                        Rainbow At Midnight                        UMG Recordings, Inc.
1579 Ernest Tubb                        Seaman'S Blues                             UMG Recordings, Inc.
1580 Ernest Tubb                        Slippin' Around                            UMG Recordings, Inc.
1581 Ernest Tubb                        Soldier'S Last Letter                      UMG Recordings, Inc.
1582 Ernest Tubb                        Throw Your Love My Way                     UMG Recordings, Inc.
1583 Ernest Tubb                        Till The End Of The World                  UMG Recordings, Inc.
1584 Ernest Tubb                        Try Me One More Time                       UMG Recordings, Inc.
1585 Ernest Tubb                        Two Glasses Joe                            UMG Recordings, Inc.
1586 Ernest Tubb                        Walking The Floor Over You                 UMG Recordings, Inc.
1587 Ernest Tubb                        When It'S Prayer Meetin' Time              UMG Recordings, Inc.
1588 Ernest Tubb                        Yesterday'S Tears                          UMG Recordings, Inc.
1589 Ernest Tubb                        You Nearly Lose Your Mind                  UMG Recordings, Inc.
1590 Ernest Tubb, Red Foley             Goodnight, Irene                           UMG Recordings, Inc.
1591 Ernest Tubb, Texas Troubadours     Blue Snowflakes                            UMG Recordings, Inc.
1592 Ernest Tubb, Texas Troubadours     C-H-R-I-S-T-M-A-S                          UMG Recordings, Inc.
1593 Ernest Tubb, Texas Troubadours     Christmas Island                           UMG Recordings, Inc.
1594 Ernest Tubb, Texas Troubadours     I'Ll Be Walking The Floor This Christmas   UMG Recordings, Inc.
                                        I'M Trimming My Christmas Tree With
1595 Ernest Tubb, Texas Troubadours                                                UMG Recordings, Inc.
                                        Teardrops
1596 Ernest Tubb, Texas Troubadours     Lonely Christmas Eve                       UMG Recordings, Inc.
1597 Ernest Tubb, Texas Troubadours     Merry Texas Christmas, You All!            UMG Recordings, Inc.
1598 Ernest Tubb, Texas Troubadours     We Need God For Christmas                  UMG Recordings, Inc.
1599 Ernest Tubb, Texas Troubadours     White Christmas                            UMG Recordings, Inc.
     Ernest Tubb, Texas Troubadours, The
1600                                     Blue Christmas                            UMG Recordings, Inc.
     Three Troubadettes
1601 Ethel Merman                        I'M An Indian Too                         UMG Recordings, Inc.
1602 Ethel Merman                        They Say It'S Wonderful                   UMG Recordings, Inc.
1603 Ethel Merman                        You Can'T Get A Man With A Gun            UMG Recordings, Inc.
     Ethel Merman, Dick Haymes, Gordon
1604                                     You'Re Just In Love                       UMG Recordings, Inc.
     Jenkins And His Orchestra
     Ethel Merman, Gordon Jenkins And
1605                                     Marrying For Love                         UMG Recordings, Inc.
     His Orchestra
     Ethel Merman, Gordon Jenkins And
1606                                     Something To Dance About                  UMG Recordings, Inc.
     His Orchestra


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                                                 EXHIBIT A
                                          Sound Recordings at Issue
     Ethel Merman, Gordon Jenkins And
1607                                     The Best Thing For You                       UMG Recordings, Inc.
     His Orchestra
     Ethel Merman, Gordon Jenkins And    The Hostess With The Mostes' On The
1608                                                                                  UMG Recordings, Inc.
     His Orchestra                       Ball
     Ethel Merman, Gordon Jenkins And
1609                                     Washington Square Dance                      UMG Recordings, Inc.
     His Orchestra
     Ethel Merman, Joan Carroll, Harry
1610                                     Let'S Be Buddies                             UMG Recordings, Inc.
     Sosnik & His Orchestra
1611 Ethel Merman, Ray Middleton         Anything You Can Do                          UMG Recordings, Inc.
                                         Dance With A Dolly (With A Hole In Her
1612 Evelyn Knight                                                                    UMG Recordings, Inc.
                                         Stocking)
1613 Evelyn Knight, The Stardusters      A Little Bird Told Me                        UMG Recordings, Inc.
1614 Four Aces                           A Woman In Love                              UMG Recordings, Inc.
1615 Four Aces                           Amor                                         UMG Recordings, Inc.
1616 Four Aces                           Squeeze Me                                   UMG Recordings, Inc.
     Fred Waring And The
1617                                     Jingle Bells                                 UMG Recordings, Inc.
     Pennsylvanians
     Fred Waring And The
1618                                     Oh Gathering Clouds                          UMG Recordings, Inc.
     Pennsylvanians
     Fred Waring And The
1619                                     Twas The Night Before Christmas              UMG Recordings, Inc.
     Pennsylvanians
     Fred Waring And The
1620                                     When Angels Sang Of Peace                    UMG Recordings, Inc.
     Pennsylvanians
1621 Fred Waring, The Pennsylvanians     The Christmas Song (Merry Christmas)         UMG Recordings, Inc.
1622 Fred Waring, The Pennsylvanians     The Song Of Christmas                        UMG Recordings, Inc.
1623 Gordon Jenkins And His Orchestra    Lichtenburg (Cosmo'S Opening)                UMG Recordings, Inc.
1624 Gordon Jenkins And His Orchestra    The Ocarina                                  UMG Recordings, Inc.
1625 Guy Lombardo                        Anniversary Song                             UMG Recordings, Inc.
1626 Guy Lombardo                        Easter Parade                                UMG Recordings, Inc.
1627 Guy Lombardo                        The Band Played On                           UMG Recordings, Inc.
1628 Hank Williams                       A House Without Love                         UMG Recordings, Inc.
1629 Hank Williams                       A Teardrop On A Rose                         UMG Recordings, Inc.
1630 Hank Williams                       Baby, We'Re Really In Love                   UMG Recordings, Inc.
1631 Hank Williams                       Calling You                                  UMG Recordings, Inc.
1632 Hank Williams                       Cold, Cold Heart                             UMG Recordings, Inc.
1633 Hank Williams                       Crazy Heart                                  UMG Recordings, Inc.
1634 Hank Williams                       Dear John                                    UMG Recordings, Inc.
1635 Hank Williams                       Faded Love And Winter Roses                  UMG Recordings, Inc.
1636 Hank Williams                       Fly Trouble                                  UMG Recordings, Inc.
1637 Hank Williams                       Half As Much                                 UMG Recordings, Inc.
1638 Hank Williams                       Hey, Good Lookin'                            UMG Recordings, Inc.
1639 Hank Williams                       Honky Tonkin'                                UMG Recordings, Inc.
1640 Hank Williams                       Howlin' At The Moon                          UMG Recordings, Inc.
1641 Hank Williams                       I Ain'T Got Nothin' But Time                 UMG Recordings, Inc.
1642 Hank Williams                       I Can'T Escape From You                      UMG Recordings, Inc.
1643 Hank Williams                       I Can'T Get You Off Of My Mind               UMG Recordings, Inc.
                                         I Can'T Help It (If I'M Still In Love With
1644 Hank Williams                                                                    UMG Recordings, Inc.
                                         You)
1645 Hank Williams                       I Could Never Be Ashamed Of You              UMG Recordings, Inc.
1646 Hank Williams                       I Don'T Care (If Tomorrow Never Comes)       UMG Recordings, Inc.


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                                           EXHIBIT A
                                    Sound Recordings at Issue
1647 Hank Williams                 I Just Don'T Like This Kind Of Living     UMG Recordings, Inc.
1648 Hank Williams                 I Wish I Had A Nickel                     UMG Recordings, Inc.
1649 Hank Williams                 I Won'T Be Home No More                   UMG Recordings, Inc.
1650 Hank Williams                 I'D Still Want You                        UMG Recordings, Inc.
1651 Hank Williams                 I'Ll Be A Bachelor Til I Die              UMG Recordings, Inc.
1652 Hank Williams                 I'Ll Never Get Out Of This World Alive    UMG Recordings, Inc.
1653 Hank Williams                 I'M Satisfied With You                    UMG Recordings, Inc.
1654 Hank Williams                 I'M So Lonesome I Could Cry               UMG Recordings, Inc.
1655 Hank Williams                 I'M Sorry For You My Friend               UMG Recordings, Inc.
1656 Hank Williams                 I'Ve Just Told Mama Goodbye               UMG Recordings, Inc.
1657 Hank Williams                 Jambalaya (On The Bayou)                  UMG Recordings, Inc.
1658 Hank Williams                 Kaw-Liga                                  UMG Recordings, Inc.
1659 Hank Williams                 Let'S Turn Back The Years                 UMG Recordings, Inc.
1660 Hank Williams                 Long Gone Lonesome Blues                  UMG Recordings, Inc.
1661 Hank Williams                 Lost Highway                              UMG Recordings, Inc.
1662 Hank Williams                 Low Down Blues                            UMG Recordings, Inc.
1663 Hank Williams                 May You Never Be Alone                    UMG Recordings, Inc.
1664 Hank Williams                 Moanin' The Blues                         UMG Recordings, Inc.
1665 Hank Williams                 Mother Is Gone                            UMG Recordings, Inc.
1666 Hank Williams                 My Bucket'S Got A Hole In It              UMG Recordings, Inc.
1667 Hank Williams                 My Heart Would Know                       UMG Recordings, Inc.
1668 Hank Williams                 My Love For You (Has Turned To Hate)      UMG Recordings, Inc.
1669 Hank Williams                 My Son Calls Another Man Daddy            UMG Recordings, Inc.
1670 Hank Williams                 My Sweet Love Ain'T Around                UMG Recordings, Inc.
1671 Hank Williams                 Never Again (Will I Knock On Your Door)   UMG Recordings, Inc.
1672 Hank Williams                 Nobody'S Lonesome For Me                  UMG Recordings, Inc.
1673 Hank Williams                 On The Banks Of The Old Pontchartrain     UMG Recordings, Inc.
1674 Hank Williams                 Pan American                              UMG Recordings, Inc.
1675 Hank Williams                 Please Don'T Let Me Love You              UMG Recordings, Inc.
1676 Hank Williams                 Ramblin' Man                              UMG Recordings, Inc.
1677 Hank Williams                 Rootie Tootie                             UMG Recordings, Inc.
1678 Hank Williams                 Settin' The Woods On Fire                 UMG Recordings, Inc.
1679 Hank Williams                 Six More Miles (To The Graveyard)         UMG Recordings, Inc.
1680 Hank Williams                 Someday You'Ll Call My Name               UMG Recordings, Inc.
1681 Hank Williams                 Take These Chains From My Heart           UMG Recordings, Inc.
                                   There'S No Room In My Heart For The
1682 Hank Williams                                                           UMG Recordings, Inc.
                                   Blues
1683 Hank Williams                 They'Ll Never Take Her Love From Me       UMG Recordings, Inc.
1684 Hank Williams                 Thy Burdens Are Greater Than Mine         UMG Recordings, Inc.
1685 Hank Williams                 Weary Blues From Waitin'                  UMG Recordings, Inc.
1686 Hank Williams                 Wedding Bells                             UMG Recordings, Inc.
1687 Hank Williams                 Why Don'T You Love Me                     UMG Recordings, Inc.
1688 Hank Williams                 Why Should We Try Anymore                 UMG Recordings, Inc.
1689 Hank Williams                 Window Shopping                           UMG Recordings, Inc.
1690 Hank Williams                 You Better Keep It On Your Mind           UMG Recordings, Inc.
                                   You'Re Gonna Change (Or I'M Gonna
1691 Hank Williams                                                           UMG Recordings, Inc.
                                   Leave)
1692 Hank Williams                 Your Cheatin' Heart                       UMG Recordings, Inc.
     Hank Williams, The Drifting
1693                               A House Of Gold                           UMG Recordings, Inc.
     Cowboys


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                                                EXHIBIT A
                                         Sound Recordings at Issue
     Hank Williams, The Drifting
1694                                    How Can You Refuse Him Now            UMG Recordings, Inc.
     Cowboys
     Hank Williams, The Drifting
1695                                    I Saw The Light                       UMG Recordings, Inc.
     Cowboys
     Hank Williams, The Drifting
1696                                    Message To My Mother                  UMG Recordings, Inc.
     Cowboys
     Hank Williams, The Drifting
1697                                    The Angel Of Death                    UMG Recordings, Inc.
     Cowboys
     Hank Williams, The Drifting        When God Comes And Gathers His
1698                                                                          UMG Recordings, Inc.
     Cowboys                            Jewels
1699 Hildegarde, Salvatore Gioe         Dites-Moi                             UMG Recordings, Inc.
1700 Hoagy Carmichael                   Hong Kong Blues                       UMG Recordings, Inc.
1701 Hoagy Carmichael                   Stardust                              UMG Recordings, Inc.
1702 Jeri Southern                      An Occasional Man                     UMG Recordings, Inc.
1703 Jeri Southern                      Dancing On The Ceiling                UMG Recordings, Inc.
1704 Jeri Southern                      Give Me Time                          UMG Recordings, Inc.
1705 Jeri Southern                      Just Got To Have Him Around           UMG Recordings, Inc.
1706 Jeri Southern                      Speak Softly To Me                    UMG Recordings, Inc.
1707 Jeri Southern                      That Ole Devil Called Love            UMG Recordings, Inc.
1708 Jeri Southern                      The Man That Got Away                 UMG Recordings, Inc.
1709 Jeri Southern                      What Good Am I Without You            UMG Recordings, Inc.
1710 Jimmie Davis                       I Hung My Head And Cried              UMG Recordings, Inc.
1711 Jimmie Davis                       There'S A New Moon Over My Shoulder   UMG Recordings, Inc.
1712 Jimmie Lunceford                   Blues In The Night                    UMG Recordings, Inc.
1713 Jimmie Lunceford                   By The River Sainte Marie             UMG Recordings, Inc.
1714 Jimmie Lunceford                   Down By The Old Mill Stream           UMG Recordings, Inc.
1715 Jimmie Lunceford                   Hi Spook                              UMG Recordings, Inc.
1716 Jimmie Lunceford                   Honest And Truly                      UMG Recordings, Inc.
1717 Jimmie Lunceford                   I'Ll See You In My Dreams             UMG Recordings, Inc.
1718 Jimmie Lunceford                   Impromptu                             UMG Recordings, Inc.
1719 Jimmie Lunceford                   Knock Me A Kiss                       UMG Recordings, Inc.
1720 Jimmie Lunceford                   Life Is Fine                          UMG Recordings, Inc.
1721 Jimmie Lunceford                   Linger Awhile                         UMG Recordings, Inc.
1722 Jimmie Lunceford                   Margie                                UMG Recordings, Inc.
1723 Jimmie Lunceford                   Me And The Moon                       UMG Recordings, Inc.
1724 Jimmie Lunceford                   My Melancholy Baby                    UMG Recordings, Inc.
1725 Jimmie Lunceford                   Pigeon Walk                           UMG Recordings, Inc.
1726 Jimmie Lunceford                   Posin'                                UMG Recordings, Inc.
1727 Jimmie Lunceford                   Put On Your Old Grey Bonnet           UMG Recordings, Inc.
1728 Jimmie Lunceford                   Raggin' The Scale                     UMG Recordings, Inc.
1729 Jimmie Lunceford                   Siesta At The Fiesta                  UMG Recordings, Inc.
1730 Jimmie Lunceford                   Sweet Sue-Just You                    UMG Recordings, Inc.
1731 Jimmie Lunceford                   The Best Things In Life Are Free      UMG Recordings, Inc.
1732 Jimmie Lunceford                   The Love Nest                         UMG Recordings, Inc.
1733 Jimmie Lunceford                   Yard Dog Mazurka                      UMG Recordings, Inc.
1734 Jimmie Lunceford & His Orchestra   Four Or Five Times                    UMG Recordings, Inc.
1735 Jimmie Lunceford & His Orchestra   On The Beach At Bali-Bali             UMG Recordings, Inc.
1736 Jimmie Lunceford & His Orchestra   Stratosphere                          UMG Recordings, Inc.
1737 Jimmie Lunceford & His Orchestra   The Merry-Go-Round Broke Down         UMG Recordings, Inc.
1738 Jimmy Dorsey And His Orchestra     All Of Me                             UMG Recordings, Inc.


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1739 Jimmy Dorsey And His Orchestra   Contrasts                               UMG Recordings, Inc.
1740 Jimmy Dorsey And His Orchestra   Don'T Be That Way                       UMG Recordings, Inc.
1741 Jimmy Dorsey And His Orchestra   Dusk In Upper Sandusky                  UMG Recordings, Inc.
1742 Jimmy Dorsey And His Orchestra   Embraceable You                         UMG Recordings, Inc.
1743 Jimmy Dorsey And His Orchestra   I Cried For You                         UMG Recordings, Inc.
1744 Jimmy Dorsey And His Orchestra   I Got Rhythm                            UMG Recordings, Inc.
1745 Jimmy Dorsey And His Orchestra   Parade Of The Milk Bottle Caps          UMG Recordings, Inc.
1746 Johnny Mercer                    The Tailgate Ramble                     UMG Recordings, Inc.
1747 Judy Garland                     (Can This Be) The End Of The Rainbow    UMG Recordings, Inc.
1748 Judy Garland                     A Journey To A Star                     UMG Recordings, Inc.
1749 Judy Garland                     All God'S Chillun Got Rhythm            UMG Recordings, Inc.
1750 Judy Garland                     Bidin' My Time                          UMG Recordings, Inc.
                                      Blues In The Night (My Mama Done Tol'
1751 Judy Garland                                                             UMG Recordings, Inc.
                                      Me)
1752 Judy Garland                     Boys And Girls Like You And Me          UMG Recordings, Inc.
1753 Judy Garland                     Buds Won'T Bud                          UMG Recordings, Inc.
1754 Judy Garland                     Changing My Tune                        UMG Recordings, Inc.
1755 Judy Garland                     Cry, Baby, Cry                          UMG Recordings, Inc.
1756 Judy Garland                     Dear Mr. Gable: You Made Me Love You    UMG Recordings, Inc.
1757 Judy Garland                     Don'T Tell Me That Story                UMG Recordings, Inc.
1758 Judy Garland                     Embraceable You                         UMG Recordings, Inc.
1759 Judy Garland                     Everybody Sing                          UMG Recordings, Inc.
1760 Judy Garland                     F.D.R. Jones                            UMG Recordings, Inc.
1761 Judy Garland                     Figaro                                  UMG Recordings, Inc.
1762 Judy Garland                     How About You?                          UMG Recordings, Inc.
1763 Judy Garland                     I Got Rhythm                            UMG Recordings, Inc.
1764 Judy Garland                     I Never Knew                            UMG Recordings, Inc.
1765 Judy Garland                     I Wish I Were In Love Again             UMG Recordings, Inc.
1766 Judy Garland                     I'M Always Chasing Rainbows             UMG Recordings, Inc.
                                      In The Valley (Where The Evenin' Sun
1767 Judy Garland                                                             UMG Recordings, Inc.
                                      Goes Down)
1768 Judy Garland                     In-Between                              UMG Recordings, Inc.
1769 Judy Garland                     It Never Rains, But What It Pours       UMG Recordings, Inc.
1770 Judy Garland                     It'S A Great Day For The Irish          UMG Recordings, Inc.
1771 Judy Garland                     Love                                    UMG Recordings, Inc.
1772 Judy Garland                     Meet Me In St. Louis                    UMG Recordings, Inc.
1773 Judy Garland                     No Love, No Nothin'                     UMG Recordings, Inc.
1774 Judy Garland                     Nothing But You                         UMG Recordings, Inc.
1775 Judy Garland                     Oceans Apart                            UMG Recordings, Inc.
                                      On The Atchison, Topeka And The Santa
1776 Judy Garland                                                             UMG Recordings, Inc.
                                      Fe
1777 Judy Garland                     On The Sunny Side Of The Street         UMG Recordings, Inc.
1778 Judy Garland                     Our Love Affair                         UMG Recordings, Inc.
1779 Judy Garland                     Poor Little Rich Girl                   UMG Recordings, Inc.
1780 Judy Garland                     Poor You                                UMG Recordings, Inc.
1781 Judy Garland                     Skip To My Lou                          UMG Recordings, Inc.
1782 Judy Garland                     Sleep My Baby Sleep                     UMG Recordings, Inc.
1783 Judy Garland                     Smilin' Through                         UMG Recordings, Inc.
1784 Judy Garland                     Swanee                                  UMG Recordings, Inc.
1785 Judy Garland                     Sweet Sixteen                           UMG Recordings, Inc.


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                                                   EXHIBIT A
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1786 Judy Garland                          Swing Mister Charlie                      UMG Recordings, Inc.
1787 Judy Garland                          Swing Your Partner Round And Round        UMG Recordings, Inc.
1788 Judy Garland                          Ten Pins In The Sky                       UMG Recordings, Inc.
1789 Judy Garland                          That Old Black Magic                      UMG Recordings, Inc.
1790 Judy Garland                          The Birthday Of A King                    UMG Recordings, Inc.
1791 Judy Garland                          The Boy Next Door                         UMG Recordings, Inc.
1792 Judy Garland                          The Last Call For Love                    UMG Recordings, Inc.
1793 Judy Garland                          The Star Of The East                      UMG Recordings, Inc.
                                           There Is No Breeze (To Cool The Flame
1794 Judy Garland                                                                    UMG Recordings, Inc.
                                           Of Love)
1795 Judy Garland                          This Heart Of Mine                        UMG Recordings, Inc.
1796 Judy Garland                          You'Ll Never Walk Alone                   UMG Recordings, Inc.
1797 Judy Garland, Bing Crosby             Connecticut                               UMG Recordings, Inc.
1798 Judy Garland, Bing Crosby             Yah-Ta-Ta, Yah-Ta-Ta (Talk, Talk, Talk)   UMG Recordings, Inc.
1799 Judy Garland, Bing Crosby             You'Ve Got Me Where You Want Me           UMG Recordings, Inc.
     Judy Garland, Bob Crosby & His
1800                                       Stompin' At The Savoy                     UMG Recordings, Inc.
     Orchestra
1801 Judy Garland, Dick Haymes             Aren'T You Kind Of Glad We Did?           UMG Recordings, Inc.
1802 Judy Garland, Gene Kelly              For Me And My Gal                         UMG Recordings, Inc.
                                           When You Wore A Tulip (And I Wore A
1803 Judy Garland, Gene Kelly                                                        UMG Recordings, Inc.
                                           Big Red Rose)
1804 Judy Garland, Johnny Mercer           Friendship                                UMG Recordings, Inc.
1805 Judy Garland, The Merry Macs          If I Had You                              UMG Recordings, Inc.
     Judy Garland, Virginia O'Brien, Betty
1806                                       It'S A Great Big World                    UMG Recordings, Inc.
     Russell
1807 King Cole Trio                        Are You Fer It?                           UMG Recordings, Inc.
1808 King Cole Trio                        I Like To Riff                            UMG Recordings, Inc.
1809 King Cole Trio                        Scotchin' With The Soda                   UMG Recordings, Inc.
1810 King Cole Trio                        Sweet Lorraine                            UMG Recordings, Inc.
1811 Kitty Wells                           A Wedding Ring Ago                        UMG Recordings, Inc.
1812 Kitty Wells                           Cheatin'S A Sin                           UMG Recordings, Inc.
1813 Kitty Wells                           Divided By Two                            UMG Recordings, Inc.
1814 Kitty Wells                           Dust On The Bible                         UMG Recordings, Inc.
1815 Kitty Wells                           Hey Joe                                   UMG Recordings, Inc.
1816 Kitty Wells                           I Don'T Claim To Be An Angel              UMG Recordings, Inc.
1817 Kitty Wells                           I Heard The Juke Box Playing              UMG Recordings, Inc.
1818 Kitty Wells                           I'M Counting On You                       UMG Recordings, Inc.
1819 Kitty Wells                           I'Ve Kissed You My Last Time              UMG Recordings, Inc.
1820 Kitty Wells                           Lonely Side Of Town                       UMG Recordings, Inc.
1821 Kitty Wells                           Making Believe                            UMG Recordings, Inc.
1822 Kitty Wells                           Paying For That Back Street Affair        UMG Recordings, Inc.
1823 Kitty Wells                           Release Me                                UMG Recordings, Inc.
1824 Kitty Wells                           Repenting                                 UMG Recordings, Inc.
1825 Kitty Wells                           The Things I Might Have Been              UMG Recordings, Inc.
1826 Kitty Wells                           There'S Poison In Your Heart              UMG Recordings, Inc.
1827 Kitty Wells                           Whose Shoulder Will You Cry On?           UMG Recordings, Inc.
1828 Kitty Wells, Carole Sue Wright        How Far Is Heaven                         UMG Recordings, Inc.
1829 Kitty Wells, Red Foley                I'M A Stranger In My Home                 UMG Recordings, Inc.
1830 Kitty Wells, Red Foley                One By One                                UMG Recordings, Inc.
1831 Lawrence Welk                         Bubbles In The Wine                       UMG Recordings, Inc.


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1832 Leroy Anderson              A Trumpeter'S Lullaby                   UMG Recordings, Inc.
1833 Leroy Anderson              Blue Tango                              UMG Recordings, Inc.
1834 Leroy Anderson              Bugler'S Holiday                        UMG Recordings, Inc.
1835 Leroy Anderson              Fiddle-Faddle                           UMG Recordings, Inc.
1836 Leroy Anderson              Forgotten Dreams                        UMG Recordings, Inc.
1837 Leroy Anderson              Plink, Plank, Plunk!                    UMG Recordings, Inc.
1838 Leroy Anderson              Sleigh Ride                             UMG Recordings, Inc.
1839 Leroy Anderson              Song Of The Bells                       UMG Recordings, Inc.
1840 Leroy Anderson              Summer Skies                            UMG Recordings, Inc.
1841 Leroy Anderson              The Syncopated Clock                    UMG Recordings, Inc.
1842 Leroy Anderson              The Typewriter                          UMG Recordings, Inc.
1843 Leroy Anderson              The Waltzing Cat                        UMG Recordings, Inc.
1844 Les Paul                    It'S Been A Long, Long Time             UMG Recordings, Inc.
1845 Les Paul & His Trio         Aloha Oe                                UMG Recordings, Inc.
1846 Les Paul & His Trio         Begin The Beguine                       UMG Recordings, Inc.
1847 Les Paul & His Trio         Blue Skies                              UMG Recordings, Inc.
1848 Les Paul & His Trio         Guitar Boogie                           UMG Recordings, Inc.
1849 Les Paul & His Trio         Hawaiian Paradise                       UMG Recordings, Inc.
1850 Les Paul & His Trio         King'S Serenade                         UMG Recordings, Inc.
1851 Les Paul & His Trio         Steel Guitar Rag                        UMG Recordings, Inc.
1852 Les Paul & His Trio         Sweet Hawaiian Moonlight                UMG Recordings, Inc.
1853 Les Paul & His Trio         To You Sweetheart Aloha                 UMG Recordings, Inc.
1854 Louis Armstrong             (When We Are Dancin') I Get Ideas       UMG Recordings, Inc.
1855 Louis Armstrong             A Kiss To Build A Dream On              UMG Recordings, Inc.
1856 Louis Armstrong             Baby Won'T You Please Come Home         UMG Recordings, Inc.
1857 Louis Armstrong             Bye And Bye                             UMG Recordings, Inc.
1858 Louis Armstrong             Dippermouth Blues (Sugar Foot Stomp)    UMG Recordings, Inc.
1859 Louis Armstrong             Hear Me Talkin' To Ya                   UMG Recordings, Inc.
1860 Louis Armstrong             I Hope Gabriel Likes My Music           UMG Recordings, Inc.
1861 Louis Armstrong             I Laughed At Love                       UMG Recordings, Inc.
1862 Louis Armstrong             I'Ll Keep The Lovelight Burning         UMG Recordings, Inc.
1863 Louis Armstrong             I'Ll Walk Alone                         UMG Recordings, Inc.
1864 Louis Armstrong             I'M Putting All My Eggs In One Basket   UMG Recordings, Inc.
1865 Louis Armstrong             I'M Shooting High                       UMG Recordings, Inc.
1866 Louis Armstrong             I'Ve Got My Fingers Crossed             UMG Recordings, Inc.
1867 Louis Armstrong             If                                      UMG Recordings, Inc.
1868 Louis Armstrong             It Takes Two To Tango                   UMG Recordings, Inc.
1869 Louis Armstrong             It'S All In The Game                    UMG Recordings, Inc.
1870 Louis Armstrong             It'S Wonderful                          UMG Recordings, Inc.
1871 Louis Armstrong             Jeannine (I Dream Of Lilac Time)        UMG Recordings, Inc.
1872 Louis Armstrong             Maybe It'S Because                      UMG Recordings, Inc.
1873 Louis Armstrong             On Treasure Island                      UMG Recordings, Inc.
1874 Louis Armstrong             Red Sails In The Sunset                 UMG Recordings, Inc.
1875 Louis Armstrong             Shadrack                                UMG Recordings, Inc.
1876 Louis Armstrong             Solitude                                UMG Recordings, Inc.
1877 Louis Armstrong             Spooks                                  UMG Recordings, Inc.
1878 Louis Armstrong             Sweet As A Song                         UMG Recordings, Inc.
1879 Louis Armstrong             Sweethearts On Parade                   UMG Recordings, Inc.
1880 Louis Armstrong             The Prisoner'S Song                     UMG Recordings, Inc.
1881 Louis Armstrong             The Skeleton In The Closet              UMG Recordings, Inc.


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1882 Louis Armstrong                     Wild Man Blues                            UMG Recordings, Inc.
1883 Louis Armstrong                     Yes! Yes! My! My!                         UMG Recordings, Inc.
1884 Louis Armstrong                     You Are My Lucky Star                     UMG Recordings, Inc.
1885 Louis Armstrong                     You'Re A Heavenly Thing                   UMG Recordings, Inc.
1886 Louis Armstrong                     You'Re A Lucky Guy                        UMG Recordings, Inc.
1887 Louis Armstrong                     Your Cheatin' Heart                       UMG Recordings, Inc.
1888 Louis Armstrong And His Orchestra   Among My Souvenirs                        UMG Recordings, Inc.
1889 Louis Armstrong And His Orchestra   April In Portugal                         UMG Recordings, Inc.
                                         As Long As You Live (You'Ll Be Dead If
1890 Louis Armstrong And His Orchestra                                             UMG Recordings, Inc.
                                         You Die)
1891 Louis Armstrong And His Orchestra   Because Of You                            UMG Recordings, Inc.
1892 Louis Armstrong And His Orchestra   Coal Cart Blues                           UMG Recordings, Inc.
1893 Louis Armstrong And His Orchestra   Confessin' That I Love You                UMG Recordings, Inc.
1894 Louis Armstrong And His Orchestra   Coquette                                  UMG Recordings, Inc.
1895 Louis Armstrong And His Orchestra   Down In Honky Tonk Town                   UMG Recordings, Inc.
1896 Louis Armstrong And His Orchestra   Ev'Ntide                                  UMG Recordings, Inc.
1897 Louis Armstrong And His Orchestra   Ev'Rything'S Been Done Before             UMG Recordings, Inc.
1898 Louis Armstrong And His Orchestra   Got A Bran' New Suit                      UMG Recordings, Inc.
1899 Louis Armstrong And His Orchestra   I Can'T Give You Anything But Love        UMG Recordings, Inc.
1900 Louis Armstrong And His Orchestra   I Cover The Waterfront                    UMG Recordings, Inc.
1901 Louis Armstrong And His Orchestra   I Double Dare You                         UMG Recordings, Inc.
1902 Louis Armstrong And His Orchestra   I Wonder                                  UMG Recordings, Inc.
1903 Louis Armstrong And His Orchestra   I'M In The Mood For Love                  UMG Recordings, Inc.
1904 Louis Armstrong And His Orchestra   If It'S Good (Then I Want It)             UMG Recordings, Inc.
1905 Louis Armstrong And His Orchestra   Jeepers Creepers                          UMG Recordings, Inc.
1906 Louis Armstrong And His Orchestra   Jubilee                                   UMG Recordings, Inc.
1907 Louis Armstrong And His Orchestra   Kiss Of Fire                              UMG Recordings, Inc.
1908 Louis Armstrong And His Orchestra   Leap Frog                                 UMG Recordings, Inc.
1909 Louis Armstrong And His Orchestra   Long, Long Ago                            UMG Recordings, Inc.
1910 Louis Armstrong And His Orchestra   Lyin' To Myself                           UMG Recordings, Inc.
1911 Louis Armstrong And His Orchestra   Mahogany Hall Stomp                       UMG Recordings, Inc.
1912 Louis Armstrong And His Orchestra   On The Sunny Side Of The Street           UMG Recordings, Inc.
1913 Louis Armstrong And His Orchestra   Once In A While                           UMG Recordings, Inc.
1914 Louis Armstrong And His Orchestra   Our Monday Date                           UMG Recordings, Inc.
1915 Louis Armstrong And His Orchestra   Ramona                                    UMG Recordings, Inc.
1916 Louis Armstrong And His Orchestra   Red Cap                                   UMG Recordings, Inc.
1917 Louis Armstrong And His Orchestra   Red Nose                                  UMG Recordings, Inc.
1918 Louis Armstrong And His Orchestra   Satchel Mouth Swing                       UMG Recordings, Inc.
1919 Louis Armstrong And His Orchestra   Save It Pretty Mama                       UMG Recordings, Inc.
1920 Louis Armstrong And His Orchestra   Savoy Blues                               UMG Recordings, Inc.
1921 Louis Armstrong And His Orchestra   Shoe Shine Boy                            UMG Recordings, Inc.
1922 Louis Armstrong And His Orchestra   So Little Time (So Much To Do)            UMG Recordings, Inc.
1923 Louis Armstrong And His Orchestra   Swing That Music                          UMG Recordings, Inc.
1924 Louis Armstrong And His Orchestra   Thankful                                  UMG Recordings, Inc.
1925 Louis Armstrong And His Orchestra   Thanks A Million                          UMG Recordings, Inc.
1926 Louis Armstrong And His Orchestra   The Trumpet Player'S Lament               UMG Recordings, Inc.
1927 Louis Armstrong And His Orchestra   True Confession                           UMG Recordings, Inc.
                                         Was I To Blame For Falling In Love With
1928 Louis Armstrong And His Orchestra                                             UMG Recordings, Inc.
                                         You
1929 Louis Armstrong And His Orchestra   What Is This Thing Called Swing?          UMG Recordings, Inc.


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1930 Louis Armstrong And His Orchestra    When The Saints Go Marching In          UMG Recordings, Inc.
1931 Louis Armstrong And His Orchestra    Wolverine Blues                         UMG Recordings, Inc.
                                          You Rascal You (I'Ll Be Glad When
1932 Louis Armstrong And His Orchestra                                            UMG Recordings, Inc.
                                          You'Re Dead)
1933 Louis Armstrong And His Orchestra    You'Re Just A No Account                UMG Recordings, Inc.
1934 Louis Armstrong And His Orchestra    You'Ve Got Me Voodoo'D                  UMG Recordings, Inc.
1935 Louis Armstrong And The All-Stars    Baby, Your Sleep Is Showing             UMG Recordings, Inc.
1936 Louis Armstrong And The All-Stars    Back O' Town Blues                      UMG Recordings, Inc.
1937 Louis Armstrong And The All-Stars    Basin Street Blues                      UMG Recordings, Inc.
1938 Louis Armstrong And The All-Stars    Pretty Little Missy                     UMG Recordings, Inc.
1939 Louis Armstrong And The All-Stars    You'Re The Apple Of My Eye              UMG Recordings, Inc.
     Louis Armstrong, Andy Iona & His
1940                                      Hawaiian Hospitality                    UMG Recordings, Inc.
     Islanders
     Louis Armstrong, Benny Carter And
1941                                      Only You                                UMG Recordings, Inc.
     His Orchestra
1942 Louis Armstrong, Bing Crosby         Gone Fishin'                            UMG Recordings, Inc.
1943 Louis Armstrong, Ella Fitzgerald     Can Anyone Explain?                     UMG Recordings, Inc.
1944 Louis Armstrong, Ella Fitzgerald     The Frim Fram Sauce                     UMG Recordings, Inc.
     Louis Armstrong, Gordon Jenkins
1945                                      Chloe (Song Of The Swamp)               UMG Recordings, Inc.
     And His Orchestra
     Louis Armstrong, Gordon Jenkins
1946                                      Trees                                   UMG Recordings, Inc.
     And His Orchestra
     Louis Armstrong, Gordon Jenkins
1947                                      Blueberry Hill                          UMG Recordings, Inc.
     Orchestra And Choir
     Louis Armstrong, Gordon Jenkins      That Lucky Old Sun (Just Rolls Around
1948                                                                              UMG Recordings, Inc.
     Orchestra And Choir                  Heaven All Day)
     Louis Armstrong, Gordon Jenkins'
1949                                      Indian Love Call                        UMG Recordings, Inc.
     Orchestra
     Louis Armstrong, Jack Pleiss & His
1950                                      Sittin' In The Sun                      UMG Recordings, Inc.
     Orchestra
     Louis Armstrong, Sonny Burke & His
1951                                      Pledging My Love                        UMG Recordings, Inc.
     Orchestra
     Louis Armstrong, Sonny Burke & His
1952                                      Sincerely                               UMG Recordings, Inc.
     Orchestra
     Louis Armstrong, Sy Oliver & His
1953                                      Congratulations To Someone              UMG Recordings, Inc.
     Orchestra
     Louis Armstrong, Sy Oliver And His
1954                                      Cold Cold Heart                         UMG Recordings, Inc.
     Orchestra
1955 Louis Armstrong, The Commanders      Someday (You'Ll Be Sorry)               UMG Recordings, Inc.
1956 Louis Armstrong, The Commanders      The Gypsy                               UMG Recordings, Inc.
     Louis Armstrong, The Decca Mixed
1957                                      Jonah And The Whale                     UMG Recordings, Inc.
     Chorus

1958 Louis Armstrong, The Mills Brothers Darling Nellie Gray                      UMG Recordings, Inc.

1959 Louis Armstrong, The Mills Brothers In The Shade Of The Old Apple Tree       UMG Recordings, Inc.

1960 Louis Armstrong, The Mills Brothers My Walking Stick                         UMG Recordings, Inc.

1961 Louis Armstrong, The Mills Brothers The Song Is Ended                        UMG Recordings, Inc.



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1962 Louis Armstrong, The Polynesians   On A Cocoanut Island                      UMG Recordings, Inc.
1963 Louis Armstrong, The Polynesians   To You, Sweetheart, Aloha                 UMG Recordings, Inc.
1964 Louis Armstrong, Velma Middleton   Big Butter And Eggman                     UMG Recordings, Inc.
1965 Louis Jordan & His Tympany Five    Open The Door, Richard                    UMG Recordings, Inc.
1966 Marlene Dietrich                   You Go To My Head                         UMG Recordings, Inc.
     Mexican Hayride Chorus, Harry
1967                                    What A Crazy Way To Spend Sunday          UMG Recordings, Inc.
     Sosnik
1968 Muddy Waters                       All Aboard                                UMG Recordings, Inc.
1969 Muddy Waters                       I Don'T Know Why                          UMG Recordings, Inc.
1970 Muddy Waters                       I'M Ready                                 UMG Recordings, Inc.
1971 Muddy Waters                       Please Have Mercy                         UMG Recordings, Inc.
1972 Nat King Cole Trio                 That Ain'T Right                          UMG Recordings, Inc.
1973 Patti Page                         And So To Sleep Again                     UMG Recordings, Inc.
1974 Patti Page                         Boogie Woogie Santa Claus                 UMG Recordings, Inc.
1975 Patti Page                         San Antonio Rose                          UMG Recordings, Inc.
1976 Patti Page                         Tennessee Waltz                           UMG Recordings, Inc.
1977 Patti Page                         The Mama Doll Song                        UMG Recordings, Inc.
1978 Patti Page                         These Things I Offer You                  UMG Recordings, Inc.
1979 Patti Page                         Whispering                                UMG Recordings, Inc.
1980 Patti Page                         With My Eyes Wide Open I'M Dreaming       UMG Recordings, Inc.
1981 Pearl Bailey                       I Heard                                   UMG Recordings, Inc.
1982 Peggy Lee                          Apples, Peaches, And Cherries             UMG Recordings, Inc.
1983 Peggy Lee                          Autumn In Rome                            UMG Recordings, Inc.
1984 Peggy Lee                          Baubles, Bangles And Beads                UMG Recordings, Inc.
1985 Peggy Lee                          Be Anything (But Be Mine)                 UMG Recordings, Inc.
1986 Peggy Lee                          Forgive Me                                UMG Recordings, Inc.
1987 Peggy Lee                          Go You Where You Go                       UMG Recordings, Inc.
1988 Peggy Lee                          How Bitter, My Sweet                      UMG Recordings, Inc.
1989 Peggy Lee                          I Belong To You                           UMG Recordings, Inc.
1990 Peggy Lee                          I Hear The Music Now                      UMG Recordings, Inc.
                                        I'M Glad There Is You (In This World Of
1991 Peggy Lee                                                                    UMG Recordings, Inc.
                                        Ordinary People)
1992 Peggy Lee                          I'Ve Got You Under My Skin                UMG Recordings, Inc.
1993 Peggy Lee                          It Must Be So                             UMG Recordings, Inc.
1994 Peggy Lee                          It'S Christmas Time Again                 UMG Recordings, Inc.
1995 Peggy Lee                          Joey, Joey, Joey                          UMG Recordings, Inc.
1996 Peggy Lee                          Johnny Guitar                             UMG Recordings, Inc.
1997 Peggy Lee                          Just One Of Those Things                  UMG Recordings, Inc.
1998 Peggy Lee                          La La Lu                                  UMG Recordings, Inc.
1999 Peggy Lee                          Love You So                               UMG Recordings, Inc.
2000 Peggy Lee                          Love, You Didn'T Do Right By Me           UMG Recordings, Inc.
2001 Peggy Lee                          Lover                                     UMG Recordings, Inc.
2002 Peggy Lee                          Moonflowers                               UMG Recordings, Inc.
2003 Peggy Lee                          My Heart Belongs To Daddy                 UMG Recordings, Inc.
2004 Peggy Lee                          Oh! No! Please Don'T Go                   UMG Recordings, Inc.
2005 Peggy Lee                          Ooh, That Kiss                            UMG Recordings, Inc.
2006 Peggy Lee                          Ring Those Christmas Bells                UMG Recordings, Inc.
2007 Peggy Lee                          River River                               UMG Recordings, Inc.
2008 Peggy Lee                          Sans Souci                                UMG Recordings, Inc.
2009 Peggy Lee                          Sisters                                   UMG Recordings, Inc.


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2010 Peggy Lee                            Straight Ahead                            UMG Recordings, Inc.
2011 Peggy Lee                            Sugar (That Sugar Baby Of Mine)           UMG Recordings, Inc.
2012 Peggy Lee                            Summer Vacation                           UMG Recordings, Inc.
2013 Peggy Lee                            That'S What A Woman Is For                UMG Recordings, Inc.
2014 Peggy Lee                            The Comeback                              UMG Recordings, Inc.
2015 Peggy Lee                            The Night Holds No Fear (For The Lover)   UMG Recordings, Inc.
2016 Peggy Lee                            The Siamese Cat Song                      UMG Recordings, Inc.
2017 Peggy Lee                            They Can'T Take That Away From Me         UMG Recordings, Inc.
2018 Peggy Lee                            This Is A Very Special Day                UMG Recordings, Inc.
2019 Peggy Lee                            Where Can I Go Without You                UMG Recordings, Inc.
2020 Peggy Lee                            Who’S Gonna Pay The Check?                UMG Recordings, Inc.
2021 Peggy Lee                            You Go To My Head                         UMG Recordings, Inc.
2022 Peggy Lee                            You Let My Love Get Cold                  UMG Recordings, Inc.
2023 Peggy Lee                            You Oughta Be Mine                        UMG Recordings, Inc.
                                          You'Ve Got To See Mamma Every Night
2024 Peggy Lee                                                                      UMG Recordings, Inc.
                                          (Or You Can'T See Mamma At All)
                                          The Moon Came Up With A Great Idea
2025 Peggy Lee, Bing Crosby                                                         UMG Recordings, Inc.
                                          Last Night
2026 Peggy Lee, Bing Crosby               Watermelon Weather                        UMG Recordings, Inc.
2027 Red Foley                            Old Shep                                  UMG Recordings, Inc.
2028 Red Foley                            Tennessee Saturday Night                  UMG Recordings, Inc.
2029 Red Foley, Ernest Tubb               Don'T Be Ashamed Of Your Age              UMG Recordings, Inc.
2030 Red Foley, Ernest Tubb               Too Old To Cut The Mustard                UMG Recordings, Inc.
2031 Rick Nelson                          You'Re My One And Only Love               UMG Recordings, Inc.
2032 Rosalind Russell                     One Hundred Easy Ways                     UMG Recordings, Inc.
2033 Russ Morgan And His Orchestra        Dogface Soldier                           UMG Recordings, Inc.
2034 Russ Morgan And His Orchestra        Mockin' Bird Hill                         UMG Recordings, Inc.
2035 Russ Morgan And His Orchestra        The Object Of My Affection                UMG Recordings, Inc.
2036 Russ Morgan And His Orchestra        There Goes That Song Again                UMG Recordings, Inc.
2037 Russ Morgan And His Orchestra        Wabash Blues                              UMG Recordings, Inc.
2038 Russ Morgan And His Orchestra        You'Re Nobody 'Til Somebody Loves You     UMG Recordings, Inc.
     Russ Morgan And His Orchestra, The
2039                                      Cruising Down The River                   UMG Recordings, Inc.
     Skylarks
     Russ Morgan And His Orchestra, The
2040                                      Forever And Ever                          UMG Recordings, Inc.
     Skylarks
     Sister Rosetta Tharpe, Marie Knight,
2041                                      My Journey To The Sky                     UMG Recordings, Inc.
     Sam Price Trio
     Sister Rosetta Tharpe, Sam Price
2042                                      Don'T Take Everybody To Be Your Friend    UMG Recordings, Inc.
     Trio
     Sister Rosetta Tharpe, Sam Price
2043                                      Jesus Is Here Today                       UMG Recordings, Inc.
     Trio
     Sister Rosetta Tharpe, Sam Price
2044                                      When I Move To The Sky                    UMG Recordings, Inc.
     Trio
2045 Stan Kenton                          Concerto For Doghouse                     UMG Recordings, Inc.
2046 Stan Kenton                          El Choclo                                 UMG Recordings, Inc.
2047 Stan Kenton                          Reed Rapture                              UMG Recordings, Inc.
2048 The Andrews Sisters                  Beer Barrel Polka (Roll Out The Barrel)   UMG Recordings, Inc.
2049 The Andrews Sisters                  Begin The Beguine                         UMG Recordings, Inc.
2050 The Andrews Sisters                  Bei Mir Bist Du Schoen                    UMG Recordings, Inc.
2051 The Andrews Sisters                  Christmas Candles                         UMG Recordings, Inc.


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2052 The Andrews Sisters                I Didn'T Know The Gun Was Loaded            UMG Recordings, Inc.
2053 The Andrews Sisters                I Wanna Be Loved                            UMG Recordings, Inc.
2054 The Andrews Sisters                I'D Like To Hitch A Ride With Santa Claus   UMG Recordings, Inc.
2055 The Andrews Sisters               Rum And Coca-Cola                            UMG Recordings, Inc.
2056 The Andrews Sisters               Straighten Up And Fly Right                  UMG Recordings, Inc.
2057 The Andrews Sisters               Way Down Yonder In New Orleans               UMG Recordings, Inc.
2058 The Andrews Sisters               Where Have We Met Before                     UMG Recordings, Inc.
2059 The Andrews Sisters, Bing Crosby  Anything You Can Do                          UMG Recordings, Inc.
2060 The Andrews Sisters, Bing Crosby  Ciribiribin                                  UMG Recordings, Inc.
2061 The Andrews Sisters, Bing Crosby  I'Ll Si-Si Ya In Bahia                       UMG Recordings, Inc.
2062 The Andrews Sisters, Bing Crosby  Is You Is Or Is You Ain'T (Ma' Baby)         UMG Recordings, Inc.
2063 The Andrews Sisters, Bing Crosby  There'S No Business Like Show Business       UMG Recordings, Inc.
2064 The Andrews Sisters, Bing Crosby  Yodelin' Jive                                UMG Recordings, Inc.
     The Andrews Sisters, Guy Lombardo
2065                                   Christmas Island                             UMG Recordings, Inc.
     & His Royal Canadians
2066 The Flamingos                     A Kiss From Your Lips                        UMG Recordings, Inc.
2067 The Flamingos                     I'Ll Be Home                                 UMG Recordings, Inc.
2068 The Four Aces                     Dream                                        UMG Recordings, Inc.
2069 The Four Aces                     Heart And Soul                               UMG Recordings, Inc.
2070 The Four Aces                     I Understand                                 UMG Recordings, Inc.
2071 The Four Aces                     I'Ll Never Smile Again                       UMG Recordings, Inc.
2072 The Four Aces                     I'M Yours                                    UMG Recordings, Inc.
2073 The Four Aces                     It'S A Woman'S World                         UMG Recordings, Inc.
2074 The Four Aces                     Love Is A Many Splendored Thing              UMG Recordings, Inc.
2075 The Four Aces                     Melody Of Love                               UMG Recordings, Inc.
2076 The Four Aces                     Mister Sandman                               UMG Recordings, Inc.
2077 The Four Aces                     Organ Grinder'S Swing                        UMG Recordings, Inc.
2078 The Four Aces                     Perfidia                                     UMG Recordings, Inc.
2079 The Four Aces                     Shine On Harvest Moon                        UMG Recordings, Inc.
2080 The Four Aces                     Tell Me Why                                  UMG Recordings, Inc.
2081 The Four Aces                     The Christmas Song                           UMG Recordings, Inc.
2082 The Four Aces                     The Gang That Sang Heart Of My Heart         UMG Recordings, Inc.
2083 The Four Aces                     There Goes My Heart                          UMG Recordings, Inc.
2084 The Four Aces                     There Is A Tavern In The Town                UMG Recordings, Inc.
2085 The Four Aces                     Three Coins In The Fountain                  UMG Recordings, Inc.
                                       Wedding Bells (Are Breaking Up That Old
2086 The Four Aces                                                                  UMG Recordings, Inc.
                                       Gang Of Mine)
2087 The Ink Spots                     Address Unknown                              UMG Recordings, Inc.
2088 The Ink Spots                     Bless You                                    UMG Recordings, Inc.
2089 The Ink Spots                     Do I Worry?                                  UMG Recordings, Inc.
                                       Don'T Tell A Lie About Me, Dear (And I
2090 The Ink Spots                                                                  UMG Recordings, Inc.
                                       Won'T Tell The Truth About You)
2091 The Ink Spots                     Ev'Ry Night About This Time                  UMG Recordings, Inc.
2092 The Ink Spots                     I'D Climb The Highest Mountain               UMG Recordings, Inc.
2093 The Ink Spots                     I'Ll Get By (As Long As I Have You)          UMG Recordings, Inc.
2094 The Ink Spots                     I'Ll Never Smile Again                       UMG Recordings, Inc.
2095 The Ink Spots                     I'M Getting Sentimental Over You             UMG Recordings, Inc.
2096 The Ink Spots                     If                                           UMG Recordings, Inc.
2097 The Ink Spots                     If I Didn'T Care                             UMG Recordings, Inc.


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2098 The Ink Spots                       Into Each Life Some Rain Must Fall        UMG Recordings, Inc.
2099 The Ink Spots                       It'S Funny To Everyone But Me             UMG Recordings, Inc.
2100 The Ink Spots                       Java Jive                                 UMG Recordings, Inc.
2101 The Ink Spots                       Maybe                                     UMG Recordings, Inc.
2102 The Ink Spots                       Memories Of You                           UMG Recordings, Inc.
                                         Say Something Sweet To Your
2103 The Ink Spots                                                                 UMG Recordings, Inc.
                                         Sweetheart
2104 The Ink Spots                       Someone'S Rocking My Dreamboat            UMG Recordings, Inc.
2105 The Ink Spots                       Street Of Dreams                          UMG Recordings, Inc.
2106 The Ink Spots                       That'S When Your Heartaches Begin         UMG Recordings, Inc.
2107 The Ink Spots                       That'S Where I Came In                    UMG Recordings, Inc.
2108 The Ink Spots                       The Gypsy                                 UMG Recordings, Inc.
2109 The Ink Spots                       To Each His Own                           UMG Recordings, Inc.
2110 The Ink Spots                       We'Ll Meet Again                          UMG Recordings, Inc.
2111 The Ink Spots                       Whispering Grass (Don'T Tell The Trees)   UMG Recordings, Inc.
2112 The Ink Spots                       Who Wouldn'T Love You ?                   UMG Recordings, Inc.
                                         You Were Only Fooling (While I Was
2113 The Ink Spots                                                                 UMG Recordings, Inc.
                                         Falling In Love)
2114 The Ink Spots                       You'Re Breaking My Heart                  UMG Recordings, Inc.
2115 The Jordanaires                     Swing Down Sweet Chariot                  UMG Recordings, Inc.
2116 The Jungle Band                     Doin' The Voom Voom                       UMG Recordings, Inc.
2117 The Jungle Band                     Harlem Flat Blues                         UMG Recordings, Inc.
2118 The Jungle Band                     Rent Party Blues                          UMG Recordings, Inc.
2119 The Jungle Band                     Wall Street Wail                          UMG Recordings, Inc.
     The Jungle Band, Earl Jackson And
2120                                     Twelfth Street Rag                        UMG Recordings, Inc.
     His Musical Champions
2121 The King Cole Trio                  Gee Baby, Ain'T I Good To You             UMG Recordings, Inc.
2122 The Mills Brothers                  Asleep In The Deep                        UMG Recordings, Inc.
2123 The Mills Brothers                  Be My Life'S Companion                    UMG Recordings, Inc.
2124 The Mills Brothers                  Caravan                                   UMG Recordings, Inc.
2125 The Mills Brothers                  Daddy'S Little Girl                       UMG Recordings, Inc.
2126 The Mills Brothers                  Gloria                                    UMG Recordings, Inc.
2127 The Mills Brothers                  I Need Thee Every Hour                    UMG Recordings, Inc.
2128 The Mills Brothers                  I'Ve Got My Love To Keep Me Warm          UMG Recordings, Inc.
2129 The Mills Brothers                  If I Had My Way                           UMG Recordings, Inc.
2130 The Mills Brothers                  Meet Me Tonight In Dreamland              UMG Recordings, Inc.
2131 The Mills Brothers                  Nevertheless (I'M In Love With You)       UMG Recordings, Inc.
2132 The Mills Brothers                  Now The Day Is Over                       UMG Recordings, Inc.
2133 The Mills Brothers                  Opus One                                  UMG Recordings, Inc.
2134 The Mills Brothers                  Pretty Butterfly                          UMG Recordings, Inc.
2135 The Mills Brothers                  Queen Of The Senior Prom                  UMG Recordings, Inc.
2136 The Mills Brothers                  Say Si Si                                 UMG Recordings, Inc.
2137 The Mills Brothers                  Smack Dab In The Middle                   UMG Recordings, Inc.
2138 The Mills Brothers                  Someday (You'Ll Want Me To Want You)      UMG Recordings, Inc.

2139 The Mills Brothers                  Sweet Adeline                             UMG Recordings, Inc.
2140 The Mills Brothers                  When The Roll Is Called Up Yonder         UMG Recordings, Inc.
2141 The Mills Brothers                  Will There Be Any Stars?                  UMG Recordings, Inc.
2142 The Mills Brothers                  Wonderful Words Of Life                   UMG Recordings, Inc.
2143 The Mills Brothers                  You Always Hurt The One You Love          UMG Recordings, Inc.


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2144 The Mills Brothers, Louis Armstrong Carry Me Back To Old Virginny           UMG Recordings, Inc.
2145 The Moonglows                       Mr. Engineer                            UMG Recordings, Inc.
2146 The Weavers                         Hard, Ain'T It Hard                     UMG Recordings, Inc.
2147 The Weavers                         Rock Island Line                        UMG Recordings, Inc.
2148 Todd Duncan                         Lost In The Stars                       UMG Recordings, Inc.
2149 Tony Martin                         All The Things You Are                  UMG Recordings, Inc.
2150 Victor Young                        Around The World, Pt.1                  UMG Recordings, Inc.
2151 Vivian Blaine                       Adelaides Lament                        UMG Recordings, Inc.
2152 Vivian Blaine, Sam Levene           Sue Me                                  UMG Recordings, Inc.
     Wilbur Evans, Girl Chorus, Harry
2153                                     Girls                                   UMG Recordings, Inc.
     Sosnik
2154 Wilbur Evans, Harry Sosnik          I Love You                              UMG Recordings, Inc.
2155 Yul Brynner                         A Puzzlement                            UMG Recordings, Inc.
2156 Art Hodes                           Jug Head Boogie                         Capitol Records, LLC
2157 Dean Martin                         Long, Long Ago                          Capitol Records, LLC
2158 Dean Martin                         Night Train To Memphis                  Capitol Records, LLC
                                         (How Little It Matters) How Little We
2159 Frank Sinatra                                                               Capitol Records, LLC
                                         Know
2160 Frank Sinatra                       (Love Is) The Tender Trap               Capitol Records, LLC
2161 Frank Sinatra                       All The Way                             Capitol Records, LLC
2162 Frank Sinatra                       Anytime - Anywhere                      Capitol Records, LLC
2163 Frank Sinatra                       Can I Steal A Little Love?              Capitol Records, LLC
2164 Frank Sinatra                       Chicago                                 Capitol Records, LLC
2165 Frank Sinatra                       Crazy Love                              Capitol Records, LLC
2166 Frank Sinatra                       Fairy Tale                              Capitol Records, LLC
2167 Frank Sinatra                       Five Hundred Guys                       Capitol Records, LLC
2168 Frank Sinatra                       Flowers Mean Forgiveness                Capitol Records, LLC
2169 Frank Sinatra                       From Here To Eternity                   Capitol Records, LLC
2170 Frank Sinatra                       From The Bottom To The Top              Capitol Records, LLC
2171 Frank Sinatra                       Half As Lovely (Twice As True)          Capitol Records, LLC
2172 Frank Sinatra                       Hey! Jealous Lover                      Capitol Records, LLC
                                         How Could You Do A Thing Like That To
2173 Frank Sinatra                                                               Capitol Records, LLC
                                         Me?
2174 Frank Sinatra                       I Could Have Told You                   Capitol Records, LLC
2175 Frank Sinatra                       I Love You                              Capitol Records, LLC
2176 Frank Sinatra                       I'M Walking Behind You                  Capitol Records, LLC
2177 Frank Sinatra                       I'Ve Got The World On A String          Capitol Records, LLC
2178 Frank Sinatra                       If I Had Three Wishes                   Capitol Records, LLC
2179 Frank Sinatra                       It Worries Me                           Capitol Records, LLC
2180 Frank Sinatra                       Lean, Baby                              Capitol Records, LLC
2181 Frank Sinatra                       Learnin' The Blues                      Capitol Records, LLC
2182 Frank Sinatra                       Mistletoe And Holly                     Capitol Records, LLC
2183 Frank Sinatra                       My One And Only Love                    Capitol Records, LLC
2184 Frank Sinatra                       Not As A Stranger                       Capitol Records, LLC
2185 Frank Sinatra                       Rain (Falling From The Skies)           Capitol Records, LLC
2186 Frank Sinatra                       Same Old Saturday Night                 Capitol Records, LLC
2187 Frank Sinatra                       So Long, My Love                        Capitol Records, LLC
2188 Frank Sinatra                       Someone To Watch Over Me                Capitol Records, LLC



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                                        Something Wonderful Happens In
2189 Frank Sinatra                                                                Capitol Records, LLC
                                        Summer
2190 Frank Sinatra                      South Of The Border                       Capitol Records, LLC
2191 Frank Sinatra                      Take A Chance                             Capitol Records, LLC
2192 Frank Sinatra                      Tell Her You Love Her                     Capitol Records, LLC
2193 Frank Sinatra                      The Christmas Waltz                       Capitol Records, LLC
2194 Frank Sinatra                      The Gal That Got Away                     Capitol Records, LLC
2195 Frank Sinatra                      The Impatient Years                       Capitol Records, LLC
2196 Frank Sinatra                      Two Hearts, Two Kisses (Make One Love)    Capitol Records, LLC
2197 Frank Sinatra                      Weep They Will                            Capitol Records, LLC
2198 Frank Sinatra                      When I Stop Loving You                    Capitol Records, LLC
2199 Frank Sinatra                      White Christmas                           Capitol Records, LLC
                                        You Forgot All The Words (While I Still
2200 Frank Sinatra                                                                Capitol Records, LLC
                                        Remember The Tune)
2201 Frank Sinatra                      You'Ll Get Yours                          Capitol Records, LLC
                                        You'Re Cheatin' Yourself (If You'Re
2202 Frank Sinatra                                                                Capitol Records, LLC
                                        Cheatin' On Me)
2203 Frank Sinatra                      Young-At-Heart                            Capitol Records, LLC
2204 Frank Sinatra                      Your Love For Me                          Capitol Records, LLC
2205 Frank Sinatra, Bing Crosby         Well Did You Evah?                        Capitol Records, LLC
2206 Frank Sinatra, Keely Smith         How Are Ya' Fixed For Love?               Capitol Records, LLC
2207 Frank Sinatra, Keely Smith         Nothing In Common                         Capitol Records, LLC
2208 Helen Forrest                      All The Things You Are                    Capitol Records, LLC
2209 Helen Forrest                      I Love You Much Too Much                  Capitol Records, LLC
2210 Johnny Mercer                      G.I. Jive                                 Capitol Records, LLC
2211 Johnny Mercer                      I Don'T Care If It Rains All Night        Capitol Records, LLC
2212 Johnny Mercer                      I Guess I'Ll Have To Change My Plan       Capitol Records, LLC
2213 Johnny Mercer                      I Lost My Sugar In Salt Lake City         Capitol Records, LLC
2214 Johnny Mercer                      Jingle Bells                              Capitol Records, LLC
2215 Johnny Mercer                      Louisville Lou                            Capitol Records, LLC
                                        One For My Baby (And One More For The
2216 Johnny Mercer                                                                Capitol Records, LLC
                                        Road)
2217 Johnny Mercer                      Personality                               Capitol Records, LLC
2218 Johnny Mercer                      Sam'S Got Him                             Capitol Records, LLC
2219 Johnny Mercer                      San Fernando Valley                       Capitol Records, LLC
2220 Johnny Mercer                      Strip Polka                               Capitol Records, LLC
2221 Johnny Mercer                      Sugar Blues                               Capitol Records, LLC
2222 Johnny Mercer & The Pied Pipers    A Gal In Calico                           Capitol Records, LLC
2223 Johnny Mercer & The Pied Pipers    Camptown Races                            Capitol Records, LLC
2224 Johnny Mercer & The Pied Pipers    Down Among The Sheltering Palms           Capitol Records, LLC
2225 Johnny Mercer & The Pied Pipers    If I Knew Then                            Capitol Records, LLC
2226 Johnny Mercer & The Pied Pipers    Mindin' My Business                       Capitol Records, LLC
2227 Johnny Mercer & The Pied Pipers    Tallahassee                               Capitol Records, LLC
2228 Johnny Mercer & The Pied Pipers    The Hills Of California                   Capitol Records, LLC
2229 Johnny Mercer & The Pied Pipers    Why Should I Cry Over You?                Capitol Records, LLC
2230 Johnny Mercer & The Pied Pipers    Would Ya?                                 Capitol Records, LLC
     Johnny Mercer, Freddie Slack And
2231                                    Wreck Of The Old 97                       Capitol Records, LLC
     His Orchestra



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                                         Save The Bones For Henry Jones ('Cause
2232 Johnny Mercer, Nat King Cole                                                 Capitol Records, LLC
                                         Henry Don'T Eat Meat)
2233 Johnny Mercer, Nat King Cole Trio   You Can'T Make Money Dreamin'            Capitol Records, LLC
2234 Johnny Mercer, The Pied Pipers      Santa Claus Is Coming To Town            Capitol Records, LLC
2235 Johnny Mercer, The Pied Pipers      Tuscaloosa Bus                           Capitol Records, LLC
2236 Johnny Mercer, The Pied Pipers      Winter Wonderland                        Capitol Records, LLC
2237 Kay Starr                           Am I A Toy Or Treasure                   Capitol Records, LLC
2238 Kay Starr                           Angry                                    Capitol Records, LLC
2239 Kay Starr                           Changing Partners                        Capitol Records, LLC
2240 Kay Starr                           Come Back My Darling                     Capitol Records, LLC
2241 Kay Starr                           Everybody'S Somebody'S Fool              Capitol Records, LLC
2242 Kay Starr                           Fool, Fool, Fool                         Capitol Records, LLC
2243 Kay Starr                           Fortune In Dreams                        Capitol Records, LLC
2244 Kay Starr                           Hold Me, Hold Me, Hold Me                Capitol Records, LLC
2245 Kay Starr                           Honeymoon (The Waning Honeymoon)         Capitol Records, LLC
2246 Kay Starr                           How It Lies, How It Lies, How It Lies    Capitol Records, LLC
2247 Kay Starr                           I Waited A Little Too Long               Capitol Records, LLC
2248 Kay Starr                           I'M Oh So Lonesome Tonight               Capitol Records, LLC
2249 Kay Starr                           Noah!                                    Capitol Records, LLC
2250 Kay Starr                           Steady Daddy                             Capitol Records, LLC
                                         Stormy Weather (Keeps Rainin' All The
2251 Kay Starr                                                                    Capitol Records, LLC
                                         Time)
2252 Kay Starr                           The Man Upstairs                         Capitol Records, LLC
2253 Kay Starr                           Then You'Ve Never Been Blue              Capitol Records, LLC
2254 Kay Starr                           Three Letters                            Capitol Records, LLC
                                         You Were Only Fooling (While I Was
2255 Kay Starr                                                                    Capitol Records, LLC
                                         Falling In Love)
2256 Kay Starr, Tennessee Ernie Ford     Ain'T Nobody'S Business But My Own       Capitol Records, LLC
2257 Les Paul                            By The Light Of The Silvery Moon         Capitol Records, LLC
2258 Les Paul                            Caravan                                  Capitol Records, LLC
2259 Les Paul                            Chicken Reel                             Capitol Records, LLC
2260 Les Paul                            Hipbillie Boogie                         Capitol Records, LLC
2261 Les Paul                            I'M Forever Blowing Bubbles              Capitol Records, LLC
2262 Les Paul                            La Rosita                                Capitol Records, LLC
2263 Les Paul                            Lady Of Spain                            Capitol Records, LLC
2264 Les Paul                            Little Rock Getaway                      Capitol Records, LLC
2265 Les Paul                            Nola                                     Capitol Records, LLC
2266 Les Paul                            Sleep                                    Capitol Records, LLC
2267 Les Paul                            South                                    Capitol Records, LLC
2268 Les Paul                            The Man On The Flying Trapeze            Capitol Records, LLC
2269 Les Paul                            Three Little Words                       Capitol Records, LLC
2270 Les Paul                            What Is This Thing Called Love?          Capitol Records, LLC
2271 Les Paul, Mary Ford                 Bye Bye Blues                            Capitol Records, LLC
2272 Les Paul, Mary Ford                 Don'T Cha Hear Them Bells                Capitol Records, LLC
2273 Les Paul, Mary Ford                 Frankie And Johnny                       Capitol Records, LLC
2274 Les Paul, Mary Ford                 How High The Moon                        Capitol Records, LLC
2275 Les Paul, Mary Ford                 Hummingbird                              Capitol Records, LLC
2276 Les Paul, Mary Ford                 I Really Don'T Want To Know              Capitol Records, LLC
2277 Les Paul, Mary Ford                 I'M A Fool To Care                       Capitol Records, LLC
2278 Les Paul, Mary Ford                 I'M Confessin' (That I Love You)         Capitol Records, LLC


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2279 Les Paul, Mary Ford           I'M Sitting On Top Of The World            Capitol Records, LLC
2280 Les Paul, Mary Ford           In The Good Old Summertime                 Capitol Records, LLC
2281 Les Paul, Mary Ford           Jazz Me Blues                              Capitol Records, LLC
2282 Les Paul, Mary Ford           Josephine                                  Capitol Records, LLC
2283 Les Paul, Mary Ford           Just One More Chance                       Capitol Records, LLC
2284 Les Paul, Mary Ford           Mammy'S Boogie                             Capitol Records, LLC
2285 Les Paul, Mary Ford           Meet Mister Callaghan                      Capitol Records, LLC
                                   Mockin' Bird Hill (Tra La La Twittle Dee
2286 Les Paul, Mary Ford                                                      Capitol Records, LLC
                                   Dee Dee)
2287 Les Paul, Mary Ford           Nuevo Laredo                               Capitol Records, LLC
2288 Les Paul, Mary Ford           Silent Night                               Capitol Records, LLC
2289 Les Paul, Mary Ford           Smoke Rings                                Capitol Records, LLC
2290 Les Paul, Mary Ford           St. Louis Blues                            Capitol Records, LLC
2291 Les Paul, Mary Ford           Tennessee Waltz                            Capitol Records, LLC
2292 Les Paul, Mary Ford           The Moon Of Manakoora                      Capitol Records, LLC
2293 Les Paul, Mary Ford           The World Is Waiting For The Sunrise       Capitol Records, LLC
2294 Les Paul, Mary Ford           Tiger Rag                                  Capitol Records, LLC
2295 Les Paul, Mary Ford           Turista                                    Capitol Records, LLC
2296 Les Paul, Mary Ford           Vaya Con Dios                              Capitol Records, LLC
2297 Les Paul, Mary Ford           Whispering                                 Capitol Records, LLC
2298 Les Paul, Mary Ford           White Christmas                            Capitol Records, LLC
2299 Les Paul, Mary Ford           Whither Thou Goest                         Capitol Records, LLC
2300 Lester Young And His Sextet   Jumpin With Symphony Sid                   Capitol Records, LLC
2301 Margaret Whiting              Beware My Heart                            Capitol Records, LLC
2302 Margaret Whiting              Can This Be Love?                          Capitol Records, LLC
2303 Margaret Whiting              Dime A Dozen                               Capitol Records, LLC
2304 Margaret Whiting              Far Away Places                            Capitol Records, LLC
2305 Margaret Whiting              Forever And Ever                           Capitol Records, LLC
2306 Margaret Whiting              Heat Wave                                  Capitol Records, LLC
2307 Margaret Whiting              In Love In Vain                            Capitol Records, LLC
2308 Margaret Whiting              It Might As Well Be Spring                 Capitol Records, LLC
2309 Margaret Whiting              Let'S Be Sweethearts Again                 Capitol Records, LLC
2310 Margaret Whiting              Moonlight In Vermont                       Capitol Records, LLC
2311 Margaret Whiting              Younger Than Springtime                    Capitol Records, LLC
2312 Mel Tormé, Peggy Lee          Telling Me Yes, Telling Me No              Capitol Records, LLC
2313 Mel Tormé, Peggy Lee          The Old Master Painter                     Capitol Records, LLC
2314 Miles Davis                   Yesterdays                                 Capitol Records, LLC
2315 Nat King Cole                 A Blossom Fell                             Capitol Records, LLC
2316 Nat King Cole                 A Fool Was I                               Capitol Records, LLC
2317 Nat King Cole                 A Weaver Of Dreams                         Capitol Records, LLC
2318 Nat King Cole                 Acercate Mas (Come Closer To Me)           Capitol Records, LLC
2319 Nat King Cole                 Alone Too Long                             Capitol Records, LLC
2320 Nat King Cole                 Always You                                 Capitol Records, LLC
2321 Nat King Cole                 Angel Eyes                                 Capitol Records, LLC
2322 Nat King Cole                 Angel Smile                                Capitol Records, LLC
2323 Nat King Cole                 Ansiedad                                   Capitol Records, LLC
2324 Nat King Cole                 Answer Me, My Love                         Capitol Records, LLC
2325 Nat King Cole                 Ask Me                                     Capitol Records, LLC
2326 Nat King Cole                 Back In My Arms                            Capitol Records, LLC
2327 Nat King Cole                 Ballerina                                  Capitol Records, LLC


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2328 Nat King Cole              Because Of Rain                        Capitol Records, LLC
2329 Nat King Cole              Because You'Re Mine                    Capitol Records, LLC
2330 Nat King Cole              Bend A Little My Way                   Capitol Records, LLC
2331 Nat King Cole              Blue Gardenia                          Capitol Records, LLC
2332 Nat King Cole              Calypso Blues                          Capitol Records, LLC
2333 Nat King Cole              Can'T I?                               Capitol Records, LLC
2334 Nat King Cole              China Gate                             Capitol Records, LLC
2335 Nat King Cole              Do I Like It?                          Capitol Records, LLC
2336 Nat King Cole              Early American                         Capitol Records, LLC
2337 Nat King Cole              Easter Sunday Morning                  Capitol Records, LLC
2338 Nat King Cole              El Choclo                              Capitol Records, LLC
2339 Nat King Cole              Faith Can Move Mountains               Capitol Records, LLC
2340 Nat King Cole              For All We Know                        Capitol Records, LLC
2341 Nat King Cole              Forgive My Heart                       Capitol Records, LLC
2342 Nat King Cole              Frosty The Snowman                     Capitol Records, LLC
2343 Nat King Cole              Hajji Baba (Persian Lament)            Capitol Records, LLC
2344 Nat King Cole              Home (When Shadows Fall)               Capitol Records, LLC
2345 Nat King Cole              How (How Do I Go About It?)            Capitol Records, LLC
2346 Nat King Cole              I Envy                                 Capitol Records, LLC
2347 Nat King Cole              I Still See Elisa                      Capitol Records, LLC
                                I'D Rather Have The Blues (Aka Blues
2348 Nat King Cole                                                     Capitol Records, LLC
                                From A Kiss Me Deadly)
2349 Nat King Cole              I'Ll Always Remember You               Capitol Records, LLC
                                I'M Gonna Laugh You Right Out Of My
2350 Nat King Cole                                                     Capitol Records, LLC
                                Life
2351 Nat King Cole              If I Give My Heart To You              Capitol Records, LLC
2352 Nat King Cole              If Love Is Good To Me                  Capitol Records, LLC
2353 Nat King Cole              It Happens To Be Me                    Capitol Records, LLC
2354 Nat King Cole              It'S Crazy                             Capitol Records, LLC
                                Land Of Love (Come My Love And Live
2355 Nat King Cole                                                     Capitol Records, LLC
                                With Me)
2356 Nat King Cole              Little Child                           Capitol Records, LLC
2357 Nat King Cole              Looking Back                           Capitol Records, LLC
2358 Nat King Cole              Lover, Come Back To Me                 Capitol Records, LLC
2359 Nat King Cole              Make Believe Land                      Capitol Records, LLC
2360 Nat King Cole              Make Her Mine                          Capitol Records, LLC
2361 Nat King Cole              My Brother                             Capitol Records, LLC
2362 Nat King Cole              My Dream Sonata                        Capitol Records, LLC
2363 Nat King Cole              My First And My Last Love              Capitol Records, LLC
2364 Nat King Cole              My One Sin (In Life)                   Capitol Records, LLC
2365 Nat King Cole              My Personal Possession                 Capitol Records, LLC
2366 Nat King Cole              Never Let Me Go                        Capitol Records, LLC
2367 Nat King Cole              Night Lights                           Capitol Records, LLC
2368 Nat King Cole              Non Dimenticar (Don'T Forget)          Capitol Records, LLC
2369 Nat King Cole              Nothing Ever Changes My Love For You   Capitol Records, LLC
2370 Nat King Cole              O.K. For Tv                            Capitol Records, LLC
2371 Nat King Cole              Papa Loves Mambo                       Capitol Records, LLC
2372 Nat King Cole              Pretend                                Capitol Records, LLC
2373 Nat King Cole              Red Sails In The Sunset                Capitol Records, LLC
2374 Nat King Cole              Return To Paradise                     Capitol Records, LLC


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2375 Nat King Cole               Send For Me                                 Capitol Records, LLC
2376 Nat King Cole               Smile                                       Capitol Records, LLC
2377 Nat King Cole               Someone You Love                            Capitol Records, LLC
2378 Nat King Cole               Somewhere Along The Way                     Capitol Records, LLC
2379 Nat King Cole               Song Of Delilah                             Capitol Records, LLC
2380 Nat King Cole               Summer Is A-Comin' In                       Capitol Records, LLC
2381 Nat King Cole               Teach Me Tonight                            Capitol Records, LLC
2382 Nat King Cole               Tenderly                                    Capitol Records, LLC
2383 Nat King Cole               That'S All                                  Capitol Records, LLC
2384 Nat King Cole               That'S My Girl                              Capitol Records, LLC
                                 The Christmas Song (Merry Christmas To
2385 Nat King Cole                                                           Capitol Records, LLC
                                 You)
2386 Nat King Cole               The Little Boy That Santa Claus Forgot      Capitol Records, LLC
2387 Nat King Cole               The Magic Tree                              Capitol Records, LLC
2388 Nat King Cole               The Sand And The Sea                        Capitol Records, LLC
2389 Nat King Cole               This Can'T Be Love                          Capitol Records, LLC
2390 Nat King Cole               To The Ends Of The Earth                    Capitol Records, LLC
2391 Nat King Cole               Too Young                                   Capitol Records, LLC
2392 Nat King Cole               Too Young To Go Steady                      Capitol Records, LLC
2393 Nat King Cole               Tunnel Of Love                              Capitol Records, LLC
2394 Nat King Cole               Unbelievable                                Capitol Records, LLC
2395 Nat King Cole               Unforgettable                               Capitol Records, LLC
2396 Nat King Cole               Walkin'                                     Capitol Records, LLC
2397 Nat King Cole               Walkin' My Baby Back Home                   Capitol Records, LLC
2398 Nat King Cole               When Rock And Roll Come To Trinidad         Capitol Records, LLC
2399 Nat King Cole               With You On My Mind                         Capitol Records, LLC
2400 Nat King Cole               You Are My First Love                       Capitol Records, LLC
2401 Nat King Cole               You Weren'T There                           Capitol Records, LLC
2402 Nat King Cole               You Will Never Grow Old                     Capitol Records, LLC
2403 Nat King Cole Trio          (Here Is My Heart) Nalani                   Capitol Records, LLC
2404 Nat King Cole Trio          (I Love You) For Sentimental Reasons        Capitol Records, LLC
                                 (It'S Easy To See) The Trouble With Me Is
2405 Nat King Cole Trio                                                      Capitol Records, LLC
                                 You
2406 Nat King Cole Trio          A Little Bit Independent                    Capitol Records, LLC
                                 All I Want For Christmas (Is My Two
2407 Nat King Cole Trio                                                      Capitol Records, LLC
                                 Front Teeth)
2408 Nat King Cole Trio          Bang Bang Boogie                            Capitol Records, LLC
2409 Nat King Cole Trio          Destination Moon                            Capitol Records, LLC
                                 Don'T Let Your Eyes Go Shopping (For
2410 Nat King Cole Trio                                                      Capitol Records, LLC
                                 Your Heart)
2411 Nat King Cole Trio          Don'T Shove, I'M Leaving                    Capitol Records, LLC
2412 Nat King Cole Trio          Embraceable You                             Capitol Records, LLC
2413 Nat King Cole Trio          Exactly Like You                            Capitol Records, LLC
2414 Nat King Cole Trio          Get To Gettin'                              Capitol Records, LLC
2415 Nat King Cole Trio          I Almost Lost My Mind                       Capitol Records, LLC
                                 I Get Sentimental Over Nothing (Imagine
2416 Nat King Cole Trio                                                      Capitol Records, LLC
                                 How I Feel About You)
2417 Nat King Cole Trio          I Miss You So                               Capitol Records, LLC
2418 Nat King Cole Trio          I'Ll Never Say Never Again Again            Capitol Records, LLC
2419 Nat King Cole Trio          I'M In The Mood For Love                    Capitol Records, LLC


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2420 Nat King Cole Trio                     I'Ve Got A Way With Women                Capitol Records, LLC
2421 Nat King Cole Trio                     It Was So Good While It Lasted           Capitol Records, LLC
2422 Nat King Cole Trio                     Little Girl                              Capitol Records, LLC
2423 Nat King Cole Trio                     Look What You'Ve Done To Me              Capitol Records, LLC
2424 Nat King Cole Trio                     My Mother Told Me                        Capitol Records, LLC
2425 Nat King Cole Trio                     Nature Boy                               Capitol Records, LLC
2426 Nat King Cole Trio                     Orange Colored Sky                       Capitol Records, LLC
2427 Nat King Cole Trio                     The Horse Told Me                        Capitol Records, LLC
2428 Nat King Cole Trio                     The Little Christmas Tree                Capitol Records, LLC
2429 Nat King Cole Trio                     Time Out For Tears                       Capitol Records, LLC
                                            Who Do You Know In Heaven (That Made
2430 Nat King Cole Trio                                                              Capitol Records, LLC
                                            You The Angel You Are)
2431 Nat King Cole Trio                     Yes Sir, That'S My Baby                  Capitol Records, LLC
2432 Nat King Cole Trio                     Your Voice                               Capitol Records, LLC
2433 Nat King Cole Trio, Les Baxter         The Greatest Inventor (Of Them All)      Capitol Records, LLC
2434 Nat King Cole Trio, The Starlighters   Twisted Stockin'S                        Capitol Records, LLC
2435 Nat King Cole Trio, The Starlighters   You Can'T Lose A Broken Heart            Capitol Records, LLC
                                            (I Wanna Go Where You Go) Then I'Ll Be
2436 Peggy Lee                                                                       Capitol Records, LLC
                                            Happy
2437 Peggy Lee                              A Man Wrote A Song                       Capitol Records, LLC
2438 Peggy Lee                              Ain'Tcha Ever Coming Back                Capitol Records, LLC
2439 Peggy Lee                              All Dressed Up With A Broken Heart       Capitol Records, LLC
2440 Peggy Lee                              Aren'T You Kind Of Glad We Did           Capitol Records, LLC
2441 Peggy Lee                              At A Cafe Rendezvous                     Capitol Records, LLC
2442 Peggy Lee                              Ay Ay Chug A Chug                        Capitol Records, LLC
2443 Peggy Lee                              Baby, Baby Wait For Me                   Capitol Records, LLC
2444 Peggy Lee                              Baby, Don'T Be Mad At Me                 Capitol Records, LLC
2445 Peggy Lee                              Bali Ha'I                                Capitol Records, LLC
2446 Peggy Lee                              Blum Blum, I Wonder Who I Am             Capitol Records, LLC
2447 Peggy Lee                              Boulevard Cafe                           Capitol Records, LLC
2448 Peggy Lee                              Bubble-Loo, Bubble-Loo                   Capitol Records, LLC
2449 Peggy Lee                              Caramba! It'S The Samba                  Capitol Records, LLC
2450 Peggy Lee                              Deed I Do                                Capitol Records, LLC
                                            Don'T Be So Mean To Baby ('Cause
2451 Peggy Lee                                                                       Capitol Records, LLC
                                            Baby'S So Good To You)
2452 Peggy Lee                              Don'T Smoke In Bed                       Capitol Records, LLC
2453 Peggy Lee                              Every Night                              Capitol Records, LLC
2454 Peggy Lee                              Goin' On A Hayride                       Capitol Records, LLC
2455 Peggy Lee                              Golden Earrings                          Capitol Records, LLC
2456 Peggy Lee                              I Don'T Know Enough About You            Capitol Records, LLC
2457 Peggy Lee                              I'Ll Dance At Your Wedding               Capitol Records, LLC
2458 Peggy Lee                              I'M Glad I Waited For You                Capitol Records, LLC
2459 Peggy Lee                              If You Could See Me Now                  Capitol Records, LLC
2460 Peggy Lee                              It Never Happen' To Me                   Capitol Records, LLC
                                            It Takes A Long Long Train With A Red
2461 Peggy Lee                                                                       Capitol Records, LLC
                                            Caboose (To Carry My Blues Away)
2462 Peggy Lee                              It'S A Good Day                          Capitol Records, LLC
2463 Peggy Lee                              It'S All Over Now                        Capitol Records, LLC
2464 Peggy Lee                              It'S Lovin' Time                         Capitol Records, LLC
2465 Peggy Lee                              Laroo, Laroo, Lili Bolero                Capitol Records, LLC


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2466 Peggy Lee                       Life Is So Peculiar                      Capitol Records, LLC
2467 Peggy Lee                       Linger In My Arms A Little Longer Baby   Capitol Records, LLC
2468 Peggy Lee                       Love (Your Spell Is Everywhere)          Capitol Records, LLC
2469 Peggy Lee                       My Magic Heart                           Capitol Records, LLC
2470 Peggy Lee                       Neon Signs                               Capitol Records, LLC
2471 Peggy Lee                       Riders In The Sky (A Cowboy Legend)      Capitol Records, LLC
2472 Peggy Lee                       Run For The Round House Nellie           Capitol Records, LLC
2473 Peggy Lee                       Shame On You                             Capitol Records, LLC
2474 Peggy Lee                       So Far, So Good                          Capitol Records, LLC
2475 Peggy Lee                       Sunshine Cake                            Capitol Records, LLC
2476 Peggy Lee                       Talking To Myself About You              Capitol Records, LLC
2477 Peggy Lee                       That Ol' Devil (Won'T Get Me)            Capitol Records, LLC
2478 Peggy Lee                       There'Ll Be Some Changes Made            Capitol Records, LLC
                                     Why Don'T You Do Right (Get Me Some
2479 Peggy Lee                                                                Capitol Records, LLC
                                     Money Too)
2480 Peggy Lee                       Yeah! Yeah! Yeah!                        Capitol Records, LLC
2481 Ricky Nelson                    Be-Bop Baby                              Capitol Records, LLC
2482 Ricky Nelson                    Believe What You Say                     Capitol Records, LLC
2483 Ricky Nelson                    Don'T Leave Me This Way                  Capitol Records, LLC
2484 Ricky Nelson                    Have I Told You Lately That I Love You   Capitol Records, LLC
2485 Ricky Nelson                    I Got A Feeling                          Capitol Records, LLC
2486 Ricky Nelson                    I'M Walkin'                              Capitol Records, LLC
2487 Ricky Nelson                    It'S Late                                Capitol Records, LLC
2488 Ricky Nelson                    My Bucket'S Got A Hole In It             Capitol Records, LLC
2489 Ricky Nelson                    Never Be Anyone Else But You             Capitol Records, LLC

2490 Ricky Nelson                    Someday (You'Ll Want Me To Want You)     Capitol Records, LLC
2491 Ricky Nelson                    Stood Up                                 Capitol Records, LLC
2492 Ricky Nelson                    Waitin' In School                        Capitol Records, LLC
2493 Stan Kenton                     All About Ronnie                         Capitol Records, LLC
2494 Stan Kenton                     Alone Too Long                           Capitol Records, LLC
2495 Stan Kenton                     Bags And Baggage                         Capitol Records, LLC
2496 Stan Kenton                     Beehive                                  Capitol Records, LLC
2497 Stan Kenton                     Cherokee                                 Capitol Records, LLC
2498 Stan Kenton                     Don'T Take Your Love From Me             Capitol Records, LLC
2499 Stan Kenton                     Evening In Pakistan                      Capitol Records, LLC
2500 Stan Kenton                     Francesca                                Capitol Records, LLC
2501 Stan Kenton                     Jolly Rogers                             Capitol Records, LLC
2502 Stan Kenton                     Limelight                                Capitol Records, LLC
2503 Stan Kenton                     Love For Sale                            Capitol Records, LLC
2504 Stan Kenton                     Lover Man                                Capitol Records, LLC
2505 Stan Kenton                     Mambo Rhapsody (Mambo On My Mind)        Capitol Records, LLC
2506 Stan Kenton                     More Love Than Your Love                 Capitol Records, LLC
2507 Stan Kenton                     Night Watch                              Capitol Records, LLC
2508 Stan Kenton                     Sunset Tower                             Capitol Records, LLC
2509 Stan Kenton                     Theme For Sunday                         Capitol Records, LLC
2510 Stan Kenton                     Thermopolae                              Capitol Records, LLC
2511 Stan Kenton                     Under A Blanket Of Blue                  Capitol Records, LLC
2512 Stan Kenton And His Orchestra   Concerto To End All Concertos            Capitol Records, LLC


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     Stan Kenton And His Orchestra, Chris
2513                                      Jeepers Creepers                            Capitol Records, LLC
     Connor
     Stan Kenton And His Orchestra, Nat
2514                                      Jam-Bo                                      Capitol Records, LLC
     King Cole
2515 Tennessee Ernie Ford                 A Rootin' Tootin' Santa Claus               Capitol Records, LLC
2516 Tennessee Ernie Ford                 Anticipation Blues                          Capitol Records, LLC
2517 Tennessee Ernie Ford                 Blackberry Boogie                           Capitol Records, LLC
2518 Tennessee Ernie Ford                 Bright Lights And Blonde-Haired Women       Capitol Records, LLC
                                          Call Me Darlin', Call Me Sweetheart, Call
2519 Tennessee Ernie Ford                                                             Capitol Records, LLC
                                          Me Dear
2520 Tennessee Ernie Ford                 Christmas Dinner                            Capitol Records, LLC
2521 Tennessee Ernie Ford                 Cincinnati Dancing Pig                      Capitol Records, LLC
2522 Tennessee Ernie Ford                 Everybody'S Got A Girl But Me               Capitol Records, LLC
2523 Tennessee Ernie Ford                 False Hearted Girl                          Capitol Records, LLC
2524 Tennessee Ernie Ford                 Farewell                                    Capitol Records, LLC
2525 Tennessee Ernie Ford                 Fatback Louisiana, U.S.A.                   Capitol Records, LLC
2526 Tennessee Ernie Ford                 Give Me Your Word                           Capitol Records, LLC
2527 Tennessee Ernie Ford                 Hambone                                     Capitol Records, LLC
2528 Tennessee Ernie Ford                 Hey, Mr. Cotton Picker                      Capitol Records, LLC
2529 Tennessee Ernie Ford                 His Hands                                   Capitol Records, LLC
2530 Tennessee Ernie Ford                 I Ain'T A-Gonna Let It Happen No More       Capitol Records, LLC
2531 Tennessee Ernie Ford                 I Am A Pilgrim                              Capitol Records, LLC
2532 Tennessee Ernie Ford                 I Don'T Know                                Capitol Records, LLC
                                          I'Ve Got The Feed 'Em In The Mornin'
2533 Tennessee Ernie Ford                 (Change 'Em) Feed 'Em In The Evenin'        Capitol Records, LLC
                                          Blues
2534 Tennessee Ernie Ford                 In The Middle Of An Island                  Capitol Records, LLC
2535 Tennessee Ernie Ford                 Ivy League                                  Capitol Records, LLC
2536 Tennessee Ernie Ford                 John Henry                                  Capitol Records, LLC
2537 Tennessee Ernie Ford                 Kentucky Waltz                              Capitol Records, LLC
2538 Tennessee Ernie Ford                 Kissin' Bug Boogie                          Capitol Records, LLC
2539 Tennessee Ernie Ford                 Leetle Juan Pedro                           Capitol Records, LLC
2540 Tennessee Ernie Ford                 Mister And Mississippi                      Capitol Records, LLC
2541 Tennessee Ernie Ford                 Mule Train                                  Capitol Records, LLC
2542 Tennessee Ernie Ford                 My Hobby                                    Capitol Records, LLC
2543 Tennessee Ernie Ford                 One Suit                                    Capitol Records, LLC
2544 Tennessee Ernie Ford                 Philadelphia Lawyer                         Capitol Records, LLC
2545 Tennessee Ernie Ford                 River Of No Return                          Capitol Records, LLC
2546 Tennessee Ernie Ford                 Rock City Boogie                            Capitol Records, LLC
2547 Tennessee Ernie Ford                 She'S My Baby                               Capitol Records, LLC
2548 Tennessee Ernie Ford                 Shot-Gun Boogie                             Capitol Records, LLC
2549 Tennessee Ernie Ford                 Sixteen Tons                                Capitol Records, LLC
2550 Tennessee Ernie Ford                 Smokey Mountain Boogie                      Capitol Records, LLC
2551 Tennessee Ernie Ford                 Snow Shoe Thompson                          Capitol Records, LLC
2552 Tennessee Ernie Ford                 Stack-O-Lee                                 Capitol Records, LLC
2553 Tennessee Ernie Ford                 Streamlined Cannonball                      Capitol Records, LLC
2554 Tennessee Ernie Ford                 Sweet Temptation                            Capitol Records, LLC
2555 Tennessee Ernie Ford                 Tailor Made Woman                           Capitol Records, LLC
2556 Tennessee Ernie Ford                 Tennessee Border No.1                       Capitol Records, LLC
2557 Tennessee Ernie Ford                 That'S All                                  Capitol Records, LLC


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2558 Tennessee Ernie Ford               The Ballad Of Davy Crockett                 Capitol Records, LLC
2559 Tennessee Ernie Ford               The Cry Of The Wild Goose                   Capitol Records, LLC
2560 Tennessee Ernie Ford               The Donkey Serenade                         Capitol Records, LLC
2561 Tennessee Ernie Ford               The Gandy Dancers' Ball                     Capitol Records, LLC
2562 Tennessee Ernie Ford               The Lonely Man                              Capitol Records, LLC
2563 Tennessee Ernie Ford               The Lord'S Lariat                           Capitol Records, LLC
2564 Tennessee Ernie Ford               The Rock, Roll Boogie                       Capitol Records, LLC
2565 Tennessee Ernie Ford               The Rovin' Gambler                          Capitol Records, LLC
2566 Tennessee Ernie Ford               The Shot Gun Boogie                         Capitol Records, LLC
2567 Tennessee Ernie Ford               The Strange Little Girl                     Capitol Records, LLC
2568 Tennessee Ernie Ford               The Tennessee Local                         Capitol Records, LLC
2569 Tennessee Ernie Ford               The Watermelon Song                         Capitol Records, LLC
2570 Tennessee Ernie Ford               Three Things (A Man Must Do)                Capitol Records, LLC
                                        What This Country Needs (Is A Good Old
2571 Tennessee Ernie Ford                                                           Capitol Records, LLC
                                        Fashioned Talk With The Lord)
2572 Tennessee Ernie Ford               Woman Is A Five Letter Word                 Capitol Records, LLC
2573 Tennessee Ernie Ford               You Don'T Have To Be A Baby To Cry          Capitol Records, LLC
2574 Tennessee Ernie Ford               You'Ll Find Her Name Written There          Capitol Records, LLC
2575 Tennessee Ernie Ford, Betty Hutton This Must Be The Place                      Capitol Records, LLC
     Tennessee Ernie Ford, Ella Mae
2576                                    I'M Hog-Tied Over You                       Capitol Records, LLC
     Morse
     Tennessee Ernie Ford, Helen
2577                                    Hey, Good Lookin'                           Capitol Records, LLC
     O'Connell
2578 Tennessee Ernie Ford, Kay Starr    I'Ll Never Be Free                          Capitol Records, LLC
2579 Tennessee Ernie Ford, Kay Starr    Ocean Of Tears                              Capitol Records, LLC
2580 Tennessee Ernie Ford, Kay Starr    You'Re My Sugar                             Capitol Records, LLC
2581 Tennessee Ernie Ford, Molly Bee    Don'T Start Courtin' In A Hot Rod           Capitol Records, LLC
2582 Tennessee Ernie Ford, Molly Bee    We'Re A-Growin' Up                          Capitol Records, LLC
2583 The King Cole Trio                 Baby Won'T You Say You Love Me              Capitol Records, LLC
2584 The King Cole Trio                 It'S Only A Paper Moon                      Capitol Records, LLC
2585 The King Cole Trio                 Jet                                         Capitol Records, LLC
     The Pied Pipers, Margaret Whiting,
2586 Johnny Mercer, Peggy Lee, Benny    The Freedom Train                           Capitol Records, LLC
     Goodman
2587 Thelonious Monk                    Ask Me Now                                  Capitol Records, LLC
2588 Thelonious Monk                    Epistrophy                                  Capitol Records, LLC
2589 Thelonious Monk                    Evonce                                      Capitol Records, LLC
2590 Thelonious Monk                    Four In One                                 Capitol Records, LLC
2591 Thelonious Monk                    I Mean You                                  Capitol Records, LLC
2592 Thelonious Monk                    In Walked Bud                               Capitol Records, LLC
2593 Thelonious Monk                    Off Minor                                   Capitol Records, LLC
2594 Thelonious Monk                    Round Midnight                              Capitol Records, LLC
2595 Thelonious Monk                    Suburban Eyes                               Capitol Records, LLC
2596 Thelonious Monk                    Thelonious                                  Capitol Records, LLC
2597 Big Maybelle                       I Don'T Want To Cry                      Concord Bicycle Assets, LLC
     Big Maybelle, Sahib Shihab, Kenny
2598 Burrell, Jerome Richardson, Big    White Christmas                          Concord Bicycle Assets, LLC
     Maybelle
2599 Charlie Parker                     Koko                                     Concord Bicycle Assets, LLC
2600 Charlie Parker                     Parker'S Mood                            Concord Bicycle Assets, LLC


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     Charlie Parker, Bud Powell, Max
2601                                        Buzzy [New Take 1]                 Concord Bicycle Assets, LLC
     Roach, Tommy Potter, Miles Davis
     Charlie Parker, Bud Powell, Max
2602                                        Donna Lee [New Take 3]             Concord Bicycle Assets, LLC
     Roach, Tommy Potter, Miles Davis
     Charlie Parker, Curly Russell, John
2603                                        Ah-Leu-Cha [Short Take 1]          Concord Bicycle Assets, LLC
     Lewis, Max Roach, Miles Davis
     Charlie Parker, Curly Russell, John
2604                                        Barbados [New Take 1]              Concord Bicycle Assets, LLC
     Lewis, Max Roach, Miles Davis
     Charlie Parker, Curly Russell, John
2605                                        Constellation [Short Take 2]       Concord Bicycle Assets, LLC
     Lewis, Max Roach, Miles Davis
     Charlie Parker, Curly Russell, John
2606                                        Marmaduke [New Take 2]             Concord Bicycle Assets, LLC
     Lewis, Max Roach, Miles Davis
     Charlie Parker, Curly Russell, John
2607                                        Merry Go Round [New Take 1]        Concord Bicycle Assets, LLC
     Lewis, Max Roach, Miles Davis
     Charlie Parker, Curly Russell, John
2608                                        Perhaps [Short Take 4]             Concord Bicycle Assets, LLC
     Lewis, Max Roach, Miles Davis
     Charlie Parker, Curly Russell, John
2609                                        Steeplechase [Original Take 1]     Concord Bicycle Assets, LLC
     Lewis, Max Roach, Miles Davis
     Charlie Parker, Curly Russell, Max
2610 Roach, Sadik Hakim, Miles Davis,       Billie'S Bounce [New Take 4]       Concord Bicycle Assets, LLC
     Dizzy Gillespie, Dizzy Gillespie
     Charlie Parker, Max Roach, Tommy
2611                                        Another Hair Do [Short Take 1]     Concord Bicycle Assets, LLC
     Poter, Duke Jordan, Miles Davis
2612 Annie Ross                             Farmer'S Market                  CMGI Recorded Music Assets, LLC
2613 Annie Ross                             The Time Was Right               CMGI Recorded Music Assets, LLC
     Art Blakey, Kenny Drew, Sonny Stitt,
2614 Sonny Stitt, Sonny Stitt, Tommy        Later                            CMGI Recorded Music Assets, LLC
     Potter
     Art Farmer, Arthur Taylor, Charlie
2615 Rouse, Danny Bank, Horace Silver,      Elephant Walk                    CMGI Recorded Music Assets, LLC
     Jimmy Cleveland, Percy Heath
     Art Farmer, Arthur Taylor, Charlie
2616 Rouse, Danny Bank, Horace Silver,      Evening In Paris                 CMGI Recorded Music Assets, LLC
     Jimmy Cleveland, Percy Heath
     Art Farmer, Arthur Taylor, Charlie
2617 Rouse, Danny Bank, Horace Silver,      Wildwood                         CMGI Recorded Music Assets, LLC
     Jimmy Cleveland, Percy Heath

     Art Farmer, Cliff Solomon, Jimmy
2618 Cleveland, Monk Montgomery, Oscar Mau Mau                               CMGI Recorded Music Assets, LLC
     Estell, Quincy Jones, Sonny Johnson

     Bayardo Velarde, Bayardo Velarde,
     Cal Tjader, Carlos Duran, Dick
2619                                        It Ain'T Necessarily So          CMGI Recorded Music Assets, LLC
     Collins, Edgard Rosales, Edgard
     Rosales, Manuel "Manny" Duran
     Bill Massey, Eugene Wright, Gene
2620 Ammons, Junior Mance, Matthew          Blue And Sentimental             CMGI Recorded Music Assets, LLC
     Gee, Sonny Stitt
     Bud Powell, Curly Russell, Max
2621                                        Strike Up The Band               CMGI Recorded Music Assets, LLC
     Roach, Sonny Stitt



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2622 Cal Tjader                          Bei Mir Bist Du Schoen           CMGI Recorded Music Assets, LLC
2623 Cal Tjader                          Yesterdays                       CMGI Recorded Music Assets, LLC
     Cal Tjader, Bayardo Velarde,
     Bayardo Velarde, Carlos Duran, Dick
2624                                     Mambo Macumba                    CMGI Recorded Music Assets, LLC
     Collins, Edgard Rosales, Edgard
     Rosales, Manuel "Manny" Duran
     Cal Tjader'S Modern Mambo
     Quintet, Bayardo Velarde, Bayardo
2625 Velarde, Cal Tjader, Carlos Duran,   Chloe                           CMGI Recorded Music Assets, LLC
     Edgard Rosales, Manuel "Manny"
     Duran
     Cal Tjader'S Modern Mambo
     Quintet, Bayardo Velarde, Bayardo
2626 Velarde, Cal Tjader, Carlos Duran,   Lucero                          CMGI Recorded Music Assets, LLC
     Edgard Rosales, Manuel "Manny"
     Duran
     Cal Tjader'S Modern Mambo
     Quintet, Bayardo Velarde, Bayardo
2627 Velarde, Cal Tjader, Carlos Duran,   Mamblues                        CMGI Recorded Music Assets, LLC
     Edgard Rosales, Manuel "Manny"
     Duran
     Cal Tjader'S Modern Mambo
     Quintet, Bayardo Velarde, Bayardo
2628 Velarde, Cal Tjader, Carlos Duran, Sonny Boy                         CMGI Recorded Music Assets, LLC
     Edgard Rosales, Manuel "Manny"
     Duran
     Chubby Jackson Big Band, Gerry
2629                                    Hot Dog                           CMGI Recorded Music Assets, LLC
     Mulligan
     Dave Brubeck & Paul Desmond, Dave
2630                                    My Heart Stood Still              CMGI Recorded Music Assets, LLC
     Brubeck
     Dave Brubeck & Paul Desmond, Dave
2631 Brubeck, Paul Desmond, Ron Crotty, Trolley Song                      CMGI Recorded Music Assets, LLC
     Joe Dodge
     Dave Brubeck & Paul Desmond, Dave
2632 Brubeck, Paul Desmond, Wyatt       This Can'T Be Love                CMGI Recorded Music Assets, LLC
     Ruther, Herb Barman
     Dave Brubeck & Paul Desmond, Dave
2633 Brubeck, Paul Desmond, Wyatt       I May Be Wrong                    CMGI Recorded Music Assets, LLC
     Ruther, Lloyd Davis
     Dave Brubeck & Paul Desmond, Dave
2634 Brubeck, Paul Desmond, Wyatt       On A Little Street In Singapore   CMGI Recorded Music Assets, LLC
     Ruther, Lloyd Davis
2635 Dave Brubeck Octet                 Fugue On Bop Themes               CMGI Recorded Music Assets, LLC
2636 Dave Brubeck Octet                 Let'S Fall In Love                CMGI Recorded Music Assets, LLC
2637 Dave Brubeck Octet                 Love Walked In                    CMGI Recorded Music Assets, LLC
2638 Dave Brubeck Octet                 September In The Rain             CMGI Recorded Music Assets, LLC
2639 Dave Brubeck Octet                 The Way You Look Tonight          CMGI Recorded Music Assets, LLC
2640 Dave Brubeck Octet                 What Is This Thing Called Love    CMGI Recorded Music Assets, LLC
2641 Dave Brubeck Quartet, Dave Brubeck My Romance                        CMGI Recorded Music Assets, LLC



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     Dave Brubeck Quartet, Dave
2642 Brubeck, Fred Dutton, Fred Dutton, Crazy Chris                       CMGI Recorded Music Assets, LLC
     Herb Barman, Paul Desmond
     Dave Brubeck Quartet, Dave
2643 Brubeck, Fred Dutton, Fred Dutton, Somebody Loves Me                 CMGI Recorded Music Assets, LLC
     Herb Barman, Paul Desmond
     Dave Brubeck Quartet, Dave
2644 Brubeck, Herb Barman, Paul          Lyons Busy                       CMGI Recorded Music Assets, LLC
     Desmond, Wyatt "Bull" Ruther
     Dave Brubeck Quartet, Dave
2645 Brubeck, Herb Barman, Paul          Me And My Shadow                 CMGI Recorded Music Assets, LLC
     Desmond, Wyatt "Bull" Ruther
     Dave Brubeck Quartet, Dave
2646 Brubeck, Lloyd Davis, Paul Desmond, Frenesi                          CMGI Recorded Music Assets, LLC
     Wyatt "Bull" Ruther
     Dave Brubeck Quartet, Dave
2647 Brubeck, Lloyd Davis, Paul Desmond, Just One Of Those Things         CMGI Recorded Music Assets, LLC
     Wyatt "Bull" Ruther
2648 Dave Brubeck Trio                   (Back Home Again In) Indiana     CMGI Recorded Music Assets, LLC
2649 Dave Brubeck Trio                   Always                           CMGI Recorded Music Assets, LLC
2650 Dave Brubeck Trio                   Avalon                           CMGI Recorded Music Assets, LLC
2651 Dave Brubeck Trio                   Body And Soul                    CMGI Recorded Music Assets, LLC
2652 Dave Brubeck Trio                   Heart And Soul                   CMGI Recorded Music Assets, LLC
2653 Dave Brubeck Trio                   How High The Moon                CMGI Recorded Music Assets, LLC
2654 Dave Brubeck Trio                   I Didn'T Know What Time It Was   CMGI Recorded Music Assets, LLC
2655 Dave Brubeck Trio                   I'Ll Remember April              CMGI Recorded Music Assets, LLC
2656 Dave Brubeck Trio                   Laura [Instrumental]             CMGI Recorded Music Assets, LLC
2657 Dave Brubeck Trio                   Let'S Fall In Love               CMGI Recorded Music Assets, LLC
2658 Dave Brubeck Trio                   Lullaby In Rhythm                CMGI Recorded Music Assets, LLC
2659 Dave Brubeck Trio                   Perfidia                         CMGI Recorded Music Assets, LLC
2660 Dave Brubeck Trio                   Singing In The Rain              CMGI Recorded Music Assets, LLC
2661 Dave Brubeck Trio                   Squeeze Me                       CMGI Recorded Music Assets, LLC
2662 Dave Brubeck Trio                   Too Marvelous For Words          CMGI Recorded Music Assets, LLC
2663 Dave Brubeck Trio                   You Stepped Out Of A Dream       CMGI Recorded Music Assets, LLC
     Dave Brubeck Trio, Cal Tjader, Dave
2664                                     'S Wonderful                     CMGI Recorded Music Assets, LLC
     Brubeck, Ron Crotty
     Dave Brubeck Trio, Cal Tjader, Dave
2665                                     Blue Moon                        CMGI Recorded Music Assets, LLC
     Brubeck, Ron Crotty
     Dave Brubeck Trio, Cal Tjader, Dave
2666                                     September Song                   CMGI Recorded Music Assets, LLC
     Brubeck, Ron Crotty
     Dave Brubeck Trio, Cal Tjader, Dave
2667                                     Spring Is Here                   CMGI Recorded Music Assets, LLC
     Brubeck, Ron Crotty
     Dave Brubeck Trio, Cal Tjader, Dave
2668                                     Sweet Georgia Brown              CMGI Recorded Music Assets, LLC
     Brubeck, Ron Crotty
     Dave Brubeck Trio, Cal Tjader, Dave
2669                                     Tea For Two                      CMGI Recorded Music Assets, LLC
     Brubeck, Ron Crotty
     Dave Brubeck Trio, Cal Tjader, Dave
2670                                     That Old Black Magic             CMGI Recorded Music Assets, LLC
     Brubeck, Ron Crotty
     Dave Brubeck Trio, Cal Tjader, Dave
2671                                     Undecided                        CMGI Recorded Music Assets, LLC
     Brubeck, Ron Crotty



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     Dave Brubeck, Dave Brubeck, Dave
2672 Brubeck Quartet, Fred Dutton, Fred A Foggy Day                           CMGI Recorded Music Assets, LLC
     Dutton, Herb Barman, Paul Desmond

     Dave Brubeck, Dave Brubeck, Dave
2673 Brubeck Quartet, Herb Barman, Paul Look For The Silver Lining            CMGI Recorded Music Assets, LLC
     Desmond, Wyatt "Bull" Ruther
     Dave Brubeck, Dave Brubeck, Dave
2674 Brubeck Quartet, Herb Barman, Paul Stardust [Instrumental]               CMGI Recorded Music Assets, LLC
     Desmond, Wyatt "Bull" Ruther
     Dave Brubeck, Dave Brubeck, Dave
2675 Brubeck Quartet, Lloyd Davis, Paul Alice In Wonderland                   CMGI Recorded Music Assets, LLC
     Desmond, Wyatt "Bull" Ruther
     Dave Brubeck, Dave Brubeck, Dave
2676 Brubeck Quartet, Lloyd Davis, Paul All The Things You Are                CMGI Recorded Music Assets, LLC
     Desmond, Wyatt "Bull" Ruther
     Dave Brubeck, Dave Brubeck, Dave
2677 Brubeck Quartet, Lloyd Davis, Paul Lulu'S Back In Town                   CMGI Recorded Music Assets, LLC
     Desmond, Wyatt "Bull" Ruther
     Dave Brubeck, Dave Brubeck, Dave
2678 Brubeck Quartet, Lloyd Davis, Paul Mam'Selle                             CMGI Recorded Music Assets, LLC
     Desmond, Wyatt "Bull" Ruther
     Dave Brubeck, Dave Brubeck, Dave
2679 Van Kriedt, Joe Morello, Norm      Prelude                               CMGI Recorded Music Assets, LLC
     Bates, Paul Desmond
2680 Gene Ammons                        Sock                                  CMGI Recorded Music Assets, LLC
     Gene Ammons, Art Blakey, Bennie
2681 Green, Bill Massey, Sonny Stitt,   Chabootie                             CMGI Recorded Music Assets, LLC
     Tommy Potter
     Gene Ammons, Bill Massey, Eugene
2682 Wright, Gene Ammons, Matthew       Sweet Jennie Lou                      CMGI Recorded Music Assets, LLC
     Gee, Sonny Stitt
     Gene Ammons, Bill Massey, Eugene
2683 Wright, Junior Mance, Matthew      Jug                                   CMGI Recorded Music Assets, LLC
     Gee, Sonny Stitt
     Gene Ammons, Bill Massey, Eugene
2684 Wright, Junior Mance, Matthew      Wow                                   CMGI Recorded Music Assets, LLC
     Gee, Sonny Stitt
       Gene Ammons, Bill Massey, Eugene
2685                                    Back In Your Own Backyard             CMGI Recorded Music Assets, LLC
       Wright, Matthew Gee, Sonny Stitt

       Gene Ammons, Bill Massey, Eugene
2686                                    Seven Eleven                          CMGI Recorded Music Assets, LLC
       Wright, Matthew Gee, Sonny Stitt

2687 Gene Ammons, Eugene Wright          I Can'T Give You Anything But Love   CMGI Recorded Music Assets, LLC
     Gene Ammons, Eugene Wright,
2688                                     Stringin' The Jug                    CMGI Recorded Music Assets, LLC
     Junior Mance, Sonny Stitt
     Gene Ammons, Eugene Wright,
2689                                     Stringin' The Jug                    CMGI Recorded Music Assets, LLC
     Junior Mance, Sonny Stitt
     Gene Ammons, Eugene Wright,
2690                                     When I Dream Of You                  CMGI Recorded Music Assets, LLC
     Junior Mance, Sonny Stitt


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2691 Gene Ammons, Gene Ammons              Blue Roller                         CMGI Recorded Music Assets, LLC
     Gene Ammons, Junior Mance, Sonny
2692                                       After You'Ve Gone                   CMGI Recorded Music Assets, LLC
     Stitt, Sonny Stitt, Sonny Stitt
     Gene Ammons, Junior Mance, Sonny
2693                                       Our Very Own                        CMGI Recorded Music Assets, LLC
     Stitt, Sonny Stitt, Sonny Stitt
     J.J. Johnson, John Lewis, Max Roach,
2694                                       Afternoon In Paris (Take 1)         CMGI Recorded Music Assets, LLC
     Sonny Stitt
2695 Jay And Kai Quintet, J.J. Johnson     Bags' Groove                        CMGI Recorded Music Assets, LLC
     Jimmy Raney, Stan Getz, Terry
2696                                       Michelle (Alternate Take)           CMGI Recorded Music Assets, LLC
     Gibbs
2697 Joe Holiday                           Blue Holiday                        CMGI Recorded Music Assets, LLC
2698 Joe Holiday                           Cotton Candy                        CMGI Recorded Music Assets, LLC
2699 Joe Holiday                           Donde                               CMGI Recorded Music Assets, LLC
2700 Joe Holiday                           Fiesta                              CMGI Recorded Music Assets, LLC
2701 Joe Holiday                           Hello To You                        CMGI Recorded Music Assets, LLC
2702 Joe Holiday                           I Don'T Want To Walk Without You    CMGI Recorded Music Assets, LLC
2703 Joe Holiday                           I Hadn'T Anyone Till You            CMGI Recorded Music Assets, LLC
2704 Joe Holiday                           Joe Black Mambo                     CMGI Recorded Music Assets, LLC
2705 Joe Holiday                           Like Someone In Love                CMGI Recorded Music Assets, LLC
2706 Joe Holiday                           Mambo Holiday                       CMGI Recorded Music Assets, LLC
2707 Joe Holiday                           Martha'S Harp                       CMGI Recorded Music Assets, LLC
2708 Joe Holiday                           My Funny Valentine                  CMGI Recorded Music Assets, LLC
2709 King Pleasure                         Don'T Get Scared                    CMGI Recorded Music Assets, LLC
2710 King Pleasure                         I'M Gone                            CMGI Recorded Music Assets, LLC
2711 King Pleasure                         Jumpin' With Symphony Sid [Vocal]   CMGI Recorded Music Assets, LLC
2712 King Pleasure                         Parker'S Mood                       CMGI Recorded Music Assets, LLC
2713 King Pleasure                         Red Top                             CMGI Recorded Music Assets, LLC
2714 King Pleasure                         Sometimes I'M Happy                 CMGI Recorded Music Assets, LLC
2715 King Pleasure                         This Is Always                      CMGI Recorded Music Assets, LLC
2716 Lee Konitz                            Duet For Saxophone And Guitar       CMGI Recorded Music Assets, LLC
2717 Lee Konitz, Miles Davis               Ezz-Thetic                          CMGI Recorded Music Assets, LLC
2718 Lee Konitz, Miles Davis               Yesterdays                          CMGI Recorded Music Assets, LLC
     Miles Davis, John Lewis, Sonny
2719                                       Blue Room [Take 1]                  CMGI Recorded Music Assets, LLC
     Rollins
     Miles Davis, John Lewis, Sonny
2720                                       Down                                CMGI Recorded Music Assets, LLC
     Rollins
     Miles Davis, John Lewis, Sonny
2721                                       Morpheus                            CMGI Recorded Music Assets, LLC
     Rollins
     Miles Davis, John Lewis, Sonny
2722                                       Whispering                          CMGI Recorded Music Assets, LLC
     Rollins
2723 Miles Davis, Sonny Rollins            Dig                                 CMGI Recorded Music Assets, LLC
2724 Miles Davis, Sonny Rollins            It'S Only A Paper Moon              CMGI Recorded Music Assets, LLC
2725 Miles Davis, Sonny Rollins            Out Of The Blue                     CMGI Recorded Music Assets, LLC
     Sonny Rollins, The Modern Jazz
2726                                       In A Sentimental Mood               CMGI Recorded Music Assets, LLC
     Quartet
     Sonny Rollins, The Modern Jazz
2727                                       The Stopper                         CMGI Recorded Music Assets, LLC
     Quartet
     Sonny Stitt, Bud Powell, Curly
2728                                       I Want To Be Happy                  CMGI Recorded Music Assets, LLC
     Russell, Max Roach, Sonny Stitt
2729 Sonny Stitt, Sonny Stitt, Sonny Stitt Blue Mambo                          CMGI Recorded Music Assets, LLC


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2730 Sonny Stitt, Sonny Stitt, Sonny Stitt   Can'T We Be Friends                  CMGI Recorded Music Assets, LLC
2731 Sonny Stitt, Sonny Stitt, Sonny Stitt   Cool Mambo                           CMGI Recorded Music Assets, LLC
2732 Sonny Stitt, Sonny Stitt, Sonny Stitt   Liza (All The Clouds'Ll Roll Away)   CMGI Recorded Music Assets, LLC
2733 Sonny Stitt, Sonny Stitt, Sonny Stitt   P.S. I Love You                      CMGI Recorded Music Assets, LLC
2734 Sonny Stitt, Sonny Stitt, Sonny Stitt   Stitt'S It                           CMGI Recorded Music Assets, LLC
2735 Sonny Stitt, Sonny Stitt, Sonny Stitt   This Can'T Be Love                   CMGI Recorded Music Assets, LLC
2736 The Modern Jazz Quartet                 All The Things You Are               CMGI Recorded Music Assets, LLC
2737 The Modern Jazz Quartet                 La Ronde                             CMGI Recorded Music Assets, LLC
2738 The Modern Jazz Quartet                 Rose Of The Rio Grande               CMGI Recorded Music Assets, LLC
2739 The Modern Jazz Quartet                 The Queen'S Fancy                    CMGI Recorded Music Assets, LLC
2740 The Modern Jazz Quartet                 Vendome                              CMGI Recorded Music Assets, LLC
2741 The Stan Getz Quartet                   Indian Summer                        CMGI Recorded Music Assets, LLC
2742 The Stan Getz Quartet                   My Old Flame                         CMGI Recorded Music Assets, LLC
2743 The Stan Getz Quartet                   The Lady In Red                      CMGI Recorded Music Assets, LLC
2744 The Stan Getz Quartet                   Too Marvelous For Words              CMGI Recorded Music Assets, LLC
2745 The Stan Getz Quartet                   What'S New?                          CMGI Recorded Music Assets, LLC
2746 The Stan Getz Quartet                   You Stepped Out Of A Dream           CMGI Recorded Music Assets, LLC
2747 Thelonious Monk Trio                    Little Rootie Tootie                 CMGI Recorded Music Assets, LLC
2748 Thelonious Monk Trio                    Monk'S Dream                         CMGI Recorded Music Assets, LLC
2749 Zoot Sims Quartet                       Jane-O                               CMGI Recorded Music Assets, LLC




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